         Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 1 of 154




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                            )
    In re:                                                  )    Chapter 11
                                                            )
    ZACHRY HOLDINGS, INC., et al.1                          )    Case No. 24-90377 (MI)
                                                            )
                                       Debtors.             )    (Jointly Administered)
                                                            )

                FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER
             (I) APPROVING THE DEBTORS’ DISCLOSURE STATEMENT ON
         A FINAL BASIS AND (II) CONFIRMING THE FURTHER MODIFIED FIRST
              AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
              OF ZACHRY HOLDINGS, INC. AND ITS DEBTOR AFFILIATES

             Zachry Holdings, Inc. and its debtor affiliates in the above-captioned Chapter 11 Cases

(collectively, the “Debtors”),2 having:

                    a.      commenced the Chapter 11 Cases by filing voluntary petitions for relief
                            under chapter 11 of title 11 of the United States Code (the “Bankruptcy
                            Code”) in the United States Bankruptcy Court for the Southern District of
                            Texas (the “Court”) on May 21, 2024 (the “Petition Date”);

                    b.      continued to operate their business and manage their properties as debtors-
                            in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
                            Code;

                    c.      Filed, on January 20, 2025, the Debtors’ Revised Emergency Motion for
                            Entry of an Order (I) Scheduling a Combined Disclosure Statement
                            Approval and Plan Confirmation Hearing, (II) Conditionally Approving the
                            Disclosure Statement, (III) Approving the Revised Confirmation Timeline,
                            Solicitation Procedures, Solicitation Package, and Notices; (IV)
                            Establishing Procedures for Objecting to the Disclosure Statement and



1
      The last four digits of Zachry Holdings, Inc.’s tax identification number are 6814. A complete list of each of the
      Debtors in these Chapter 11 Cases and the last four digits of their federal tax identification numbers may be
      obtained on the website of the Debtors’ Claims and Noticing Agent at www.veritaglobal.net/ZHI. The location
      of the Debtors’ service address in these Chapter 11 Cases is: P.O. Box 240130, San Antonio, Texas 78224.
2
      Unless otherwise noted, capitalized terms used but not otherwise defined in this order (the “Order”) shall have
      the meanings ascribed to them in the Plan, the Disclosure Statement, or the Bankruptcy Code (as defined herein),
      as applicable. The rules of interpretation set forth in Article I.B of the Plan shall apply to this Order.
Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 2 of 154




            First Amended Plan, and (V) Granting Related Relief [Docket No. 1956]
            (the “Solicitation Motion”);

       d.   Filed, on January 23 2025, the Modified First Amended Joint Chapter 11
            Plan of Reorganization for Zachry Holdings, Inc. and Its Debtor Affiliates
            [Docket No. 1978];

       e.   Filed, on January 23, 2025, the Disclosure Statement for the Modified First
            Amended Joint Chapter 11 Plan of Reorganization for Zachry Holdings,
            Inc. and Its Debtor Affiliates [Docket No. 1986] (the “Disclosure
            Statement”);

       f.   obtained, on January 24, 2025, entry of the Order (I) Scheduling a
            Combined Disclosure Statement Approval and Plan Confirmation Hearing,
            (II) Conditionally Approving the Disclosure Statement, (III) Approving the
            Revised Confirmation Timeline, Solicitation Procedures, Solicitation
            Package, and Notices, (IV) Establishing Procedures for Objecting to the
            Disclosure Statement and Modified First Amended Plan, and (V) Granting
            Related Relief [Docket No. 1991] (the “Disclosure Statement Order”);

       g.   caused the Combined Hearing Notice [Docket No. 1991, Ex. 6] to be served
            on or about January 24, 2025, in accordance with the terms of the
            Bankruptcy Code, the Federal Rules of Bankruptcy Procedure (the
            “Bankruptcy Rules”), and the Bankruptcy Local Rules of the United States
            Bankruptcy Court for the Southern District of Texas (the “Bankruptcy
            Local Rules”), the Procedures for Complex Cases in the Southern District
            of Texas (the “Complex Case Procedures”), and the Disclosure Statement
            Order, as evidenced by the certificate of service Filed on February 7, 2025
            [Docket No. 2100] (together with all the exhibits thereto, the “Solicitation
            Affidavit”);

       h.   commenced solicitation, on January 30, 2025, of (i) the Plan, (ii) the
            Disclosure Statement, (iii) ballots for voting on the Plan to Holders of Class
            3 Prepetition Credit Facility Claims [Docket No. 1991, Ex. 2] and Class 6
            General Unsecured Claims [Docket No. 1991, Ex. 3], (iv) the Cover Letter
            [Docket No. 1991, Ex. 12], and (v) the U.S. Trustee’s Statement [Docket
            No. 1991, Ex. 14], in each case in accordance with the terms of the
            Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules, the
            Complex Case Procedures, and the Disclosure Statement Order, as
            evidenced by the Solicitation Affidavit;

       i.   caused (i) the Notice of (A) Non-Voting Status to Holders or Potential
            Holders of (I) Unimpaired Claims or Equity Interests Conclusively
            Presumed to Accept the Plan and (II) Impaired Claims or Equity Interests
            Conclusively Deemed to Reject the Plan and (B) Opportunity for Holders
            of Claims and Equity Interests to Opt Out of the Third-Party Release
            [Docket No. 1991, Ex. 4] (the “Non-Voting Status Notice”) and (ii) the


                                      2
Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 3 of 154




            Third-Party Release Opt-Out Form [Docket No. 1991, Ex. 5] (the “Opt-
            Out Form”) to be served on or about January 30, 2025, in accordance with
            the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules,
            the Complex Case Procedures, and the Disclosure Statement Order, as
            evidenced by the Solicitation Affidavit;

       j.   caused (i) the Notice of Reclassification and Voting Status [Docket No.
            1991, Ex. 11] (the “Reclassification Notice”), (ii) the Notice of Non-Voting
            Status with Respect to Disputed Claims [Docket No. 1991, Ex. 10] (the
            “Disputed Claims Notice”); and (iii) the Opt-Out Form attached to each
            Reclassification Notice and Disputed Claims Notice to be served on or
            about January 30, 2025, in accordance with the Bankruptcy Code, the
            Bankruptcy Rules, the Bankruptcy Local Rules, the Complex Case
            Procedures, and the Disclosure Statement Order, as evidenced by the
            Solicitation Affidavit;

       k.   caused the Employee Letter [Docket No. 1991, Ex. 13] to be served on or
            about January 30, 2025, in accordance with the Disclosure Statement Order,
            as evidenced by the Solicitation Affidavit;

       l.   caused the Notice of (I) Combined Hearing to Consider (A) Final Approval
            of the Disclosure Statement, (B) Confirmation of the Modified First
            Amended Joint Chapter 11 Plan, and (C) Opportunity to Opt Out of Third-
            Party Releases, and (II) Related Voting and Objection Deadlines [Docket
            No. 1991, Ex. 7] (the “Publication Notice”) to be published in (i) The New
            York Times (National Edition), on January 28, 2025, (ii) USA Today
            (National Edition) and Beaumont Enterprise on January 29, 2025, and (iii)
            Port Arthur News on February 1, 2025 in accordance with the Disclosure
            Statement Order, as evidenced by the Affidavit of Publication of the Notice
            of (I) Combined Hearing to Consider (A) Final Approval of the Disclosure
            Statement, (B) Confirmation of the Modified First Amended Joint Chapter
            11 Plan, and (C) Opportunity to Opt Out of Third-Party Releases, and (II)
            Related Voting and Objection Deadlines in the New York Times, USA
            Today, Beaumont Enterprise and the Port Arthur News Filed on February
            6, 2025 [Docket No. 2085] (the “Publication Affidavit”);

       m.   Filed, on February 5, 2025, the Notice of Filing of the Plan Supplement
            [Docket No. 2080], containing the GUC Trust Agreement and the GUC
            Trust Note Term Sheet;

       n.   Filed, on February 11, 2025, the Notice of Filing of Amended GUC Note
            Term Sheet [Docket No. 2122];

       o.   caused the Statement of the Statutory Unsecured Claimholders’ Committee
            Regarding the Modified First Amended Joint Chapter 11 Plan of
            Reorganized of Zachry Holdings, Inc. and Its Debtor Affiliates [Docket No.
            2123], to be served on or about February 12, 2025, as evidenced by the


                                     3
Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 4 of 154




            Certificate of Service Filed on February 20, 2025 [Docket No. 2325] (the
            “Supplemental Affidavit”);

       p.   Filed, on February 13, 2025, the Notice of Filing of the Second Plan
            Supplement [Docket No. 2150];

       q.   caused the Notice of Filing of the Second Plan Supplement [Docket No.
            2150] to be served on or about February 13, 2025, as evidenced by the
            Supplemental Affidavit;

       r.   caused (i) the Notice of Assumption of Executory Contract or Unexpired
            Lease and Cure Amounts, if Any [Docket No. 1991, Ex. 8], (ii) the
            Assumption List [Docket No. 2150, Ex. B], (iii) the Notice of Rejection of
            Executory Contract or Unexpired Lease [Docket No. 1991, Ex. 9], (iv) the
            Rejection List [Docket No. 2150, Ex. C]; and (v) the GPX Excess Claims
            Stipulation [Docket No. 2150, Ex. G] to be served on affected
            counterparties on or about February 14, 2025, as evidenced by the
            Supplemental Affidavit;

       s.   Filed, on February 19, 2025, the Notice of Filing of the Third Plan
            Supplement [Docket No. 2316];

       t.   caused the Notice of Filing of the Third Plan Supplement to be served on or
            about February 19, 2025, as evidenced by the Supplemental Affidavit;

       u.   Filed, on February 23, 2025, the Debtors’ Memorandum of Law in Support
            of (I) Final Approval of the Disclosure Statement and (II) Confirmation of
            the Further Modified First Amended Joint Chapter 11 Plan of
            Reorganization of Zachry Holdings, Inc. and Its Debtor Affiliates [Docket
            No. 2361] (the “Confirmation Brief”); and

       v.   Filed, on February 23, 2025, the Further Modified First Amended Joint
            Chapter 11 Plan of Reorganization of Zachry Holdings, Inc. and Its Debtor
            Affiliates [Docket No. 2362] (as amended, supplemented, or otherwise
            modified from time to time, the “Plan”), attached hereto as Exhibit A;

       w.   Filed, on February 24, 2025, (i) the Declaration of Mohsin Y. Meghji, Chief
            Restructuring Officer of Zachry Holdings, Inc. in Support of (I) Approval of
            the Disclosure Statement on a Final Basis and (II) Confirmation of the
            Further Modified First Amended Joint Chapter 11 Plan of Reorganization
            of Zachry Holdings, Inc. and Its Debtor Affiliates [Docket No. 2380] (the
            “Meghji Declaration”) and (ii) the Declaration of Jason New in Support of
            (I) Approval of the Disclosure Statement on a Final Basis and
            (II) Confirmation of the Further Modified First Amended Joint Chapter 11
            Plan of Reorganization of Zachry Holdings, Inc. and Its Debtor Affiliates




                                     4
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 5 of 154




                    [Docket No. 2381] (the “New Declaration” and, together with the Meghji
                    Declaration, the “Confirmation Declarations”);

             x.     Filed, on February 25, 2025, the Declaration of P. Joseph Morrow IV with
                    Respect to the Tabulation of Votes on the Modified First Amended Joint
                    Chapter 11 Plan of Reorganization of Zachry Holdings, Inc. and Its Debtor
                    Affiliates [Docket No. 2399] (the “Voting Affidavit and Voting Report”
                    and, together with the Solicitation Affidavit, the Publication Affidavit, and
                    the Supplemental Affidavit, the “Affidavits”);

             y.     Filed, on February 25, 2025, the Notice of Filing of the Fourth Plan
                    Supplement [Docket No. 2406]; and

             z.     Filed, on February 26, 2025, the Notice of Filing of the Fifth Plan
                    Supplement [Docket No. 2417] (together, with the Notice of Filing of the
                    Plan Supplement, the Notice of Filing of Amended GUC Note Term Sheet,
                    the Notice of Filing of the Second Plan Supplement, the Notice of Filing of
                    the Third Plan Supplement, and the Notice of Filing of the Fourth Plan
                    Supplement as well as any amendments and supplements Filed prior to the
                    Effective Date, the “Plan Supplement”).

The Court having:

             a.     entered the Disclosure Statement Order on January 24, 2025;

             b.     set February 20, 2025 at 4:00 p.m. (prevailing Central Time) as the deadline
                    for voting on the Plan (the “Voting Deadline”);

             c.     set February 20, 2025 at 4:00 p.m. (prevailing Central Time) as the deadline
                    for opting out of the Third-Party Release (the “Opt-Out Deadline”);

             d.     set February 20, 2025 at 4:00 p.m. (prevailing Central Time) as the deadline
                    for filing objections to final approval of the Disclosure Statement and
                    Confirmation of the Plan (the “Objection Deadline”);

             e.     scheduled February 26, 2025 at 1:30 p.m. (prevailing Central Time) as the
                    date and time for the hearing to consider approval of the Disclosure
                    Statement on a final basis and Confirmation of the Plan pursuant to
                    sections 1125, 1126, 1128, and 1129 of the Bankruptcy Code and
                    Bankruptcy Rules 3017 and 3018, as set forth in the Disclosure Statement
                    Order (the “Combined Hearing”);

             f.     reviewed the Plan, the Disclosure Statement, the Solicitation Motion, the
                    Plan Supplement, the Confirmation Brief, the Confirmation Declarations,
                    the Affidavits, the Combined Hearing Notice, the Publication Notice, and
                    all Filed pleadings, exhibits, statements, and comments regarding approval



                                              5
      Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 6 of 154




                       of the Disclosure Statement on a final basis and Confirmation of the Plan,
                       including all objections, statements, and reservations of rights;

               g.      considered the Restructuring Transactions incorporated and described in the
                       Plan or Plan Supplement, as applicable;

               h.      held the Combined Hearing;

               i.      reviewed the discharge, compromises, settlements, releases, exculpation,
                       and injunctions set forth in the Plan;

               j.      heard the statements and arguments made by counsel in respect of approval
                       of the Disclosure Statement on a final basis and Confirmation of the Plan;

               k.      considered all oral representations, live testimony, proffered testimony,
                       documents, filings, exhibits, and other evidence regarding approval of the
                       Disclosure Statement on a final basis and Confirmation of the Plan;

               l.      overruled (i) any and all objections to approval of the Disclosure Statement
                       on a final basis and Confirmation of the Plan, except as otherwise stated or
                       indicated on the record, and/or (ii) all statements and reservations of rights
                       not consensually resolved, agreed to, or withdrawn, unless otherwise
                       indicated; and

               m.      taken judicial notice of all pleadings and other documents Filed, all orders
                       entered, and all evidence and arguments presented in these Chapter 11
                       Cases.

       NOW, THEREFORE, it appearing to the Court that notice of the Combined Hearing and

the opportunity for any party in interest to object to Confirmation of the Plan having been adequate

and appropriate as to all parties affected or to be affected by the Plan and the transactions

contemplated thereby, and the legal and factual bases set forth in the documents Filed in support

of approval of the Disclosure Statement on a final basis and Confirmation of the Plan and other

evidence presented at the Combined Hearing establish just cause for the relief granted herein; and

after due deliberation thereon and good cause appearing therefore, the Court makes and issues the

following findings of fact and conclusions of law, and orders:




                                                 6
      Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 7 of 154




                           Findings of Fact and Conclusions of Law

    IT IS HEREBY FOUND, DETERMINED, ADJUDGED, DECREED, AND
ORDERED THAT:

       A.      Findings and Conclusions.

       1.      The findings and conclusions set forth herein and in the record of the Combined

Hearing constitute the Court’s findings of fact and conclusions of law under Rule 52 of the Federal

Rules of Civil Procedure, as made applicable by Bankruptcy Rules 7052 and 9014. To the extent

any of the following conclusions of law constitute findings of fact, or vice versa, they are adopted

as such.

       B.      Jurisdiction, Venue, and Core Proceeding.

       2.      This Court has jurisdiction over this proceeding and the parties and property

affected hereby pursuant to 28 U.S.C. § 1334. The Court has exclusive jurisdiction to determine

whether the Disclosure Statement and the Plan comply with the applicable provisions of the

Bankruptcy Code and should be approved and confirmed, respectively. Consideration of whether

the Disclosure Statement and the Plan comply with the applicable provisions of the Bankruptcy

Code are core proceedings as defined in 28 U.S.C. § 157(b)(2). This Court may enter a final order

consistent with Article III of the United States Constitution. Venue is proper in this district

pursuant to sections 1408 and 1409 of title 28 of the United States Code.

       C.      Eligibility for Relief.

       3.      The Debtors were and are Entities eligible for relief under section 109 of the

Bankruptcy Code.      The Debtors are proper plan proponents under section 1121(a) of the

Bankruptcy Code.




                                                 7
      Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 8 of 154




       D.      Commencement and Joint Administration of These Chapter 11 Cases.

       4.      On the Petition Date, each of the Debtors commenced a voluntary case under

chapter 11 of the Bankruptcy Code.         In accordance with the Order (I) Directing Joint

Administration of Cases and (II) Waiving Requirements of Bankruptcy Code Section 345(c)(1) and

Bankruptcy Rules 1005 and 2002(n) [Docket No. 21], these Chapter 11 Cases have been

consolidated for procedural purposes only and are being jointly administered pursuant to

Bankruptcy Rule 1015. Since the Petition Date, the Debtors have operated their businesses as

debtors-in-possession pursuant to section 1107(a) and 1108 of the Bankruptcy Code. No trustee

or examiner has been appointed in these Chapter 11 Cases. On June 4, 2024, the U.S. Trustee

appointed the Statutory Unsecured Claimholders’ Committee (the “Committee”) pursuant to

section 1102 of the Bankruptcy Code [Docket No. 176] and reconstituted the Committee on

January 27, 2025 [Docket No. 2003].

       E.      Judicial Notice.

       5.      The Court takes judicial notice of the docket of the Chapter 11 Cases maintained

by the Clerk of the Court, including all pleadings and other documents Filed, all orders entered,

all hearing transcripts, and all evidence and arguments made, proffered, or adduced at the hearings

held before the Court during the pendency of the Chapter 11 Cases.

       F.      Plan Supplement.

       6.      The Plan Supplement complies with the Bankruptcy Code and the terms of the Plan,

and the Debtors provided good and proper notice of the Filing of the Plan Supplement in

accordance with the Disclosure Statement Order, the Bankruptcy Code, the Bankruptcy Rules, the

Bankruptcy Local Rules, and all other applicable rules, laws, and requirements. No other or further

notice will be required with respect to the Plan Supplement or any of the documents contained

therein or related thereto. All documents included in the Plan Supplement and all other documents


                                                8
      Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 9 of 154




necessary or appropriate to implement the Plan are integral to, part of, and incorporated by

reference into the Plan. Subject to the terms of the Plan, the Debtors reserve the right to alter,

amend, update, or modify the Plan Supplement and any of the documents contained therein or

related thereto or the Plan before the Effective Date.

       H.      Objections Overruled.

       7.      Any resolution or disposition of objections (whether formal or informal),

reservations of rights, statements, or joinders with respect to approval of the Disclosure Statement

on a final basis and Confirmation explained or otherwise ruled upon by the Court on the record at

the Combined Hearing is hereby incorporated by reference.              All unresolved objections,

reservations of rights, statements, and joinders are hereby overruled on the merits.

       I.      Modifications to the Plan.

       8.      Pursuant to section 1127 of the Bankruptcy Code, any modifications to the Plan or

Plan Supplement Filed after the commencement of solicitation or described or set forth in this

Order constitute technical or clarifying changes, changes with respect to particular Claims by

agreement with Holders of such Claims, or modifications that do not otherwise materially and

adversely affect or change the treatment of any other Claim or Interest under the Plan. These

modifications are consistent with the disclosures previously made in the Disclosure Statement and

notice of these modifications was adequate and appropriate under the facts and circumstances of

these Chapter 11 Cases. In accordance with Bankruptcy Rule 3019, these modifications do not

require additional disclosure under section 1125 of the Bankruptcy Code or the resolicitation of

votes under section 1126 of the Bankruptcy Code, and they do not require that Holders of Claims

or Interests be afforded an opportunity to change previously cast acceptances or rejections of the

Plan. Accordingly, the Plan is properly before this Court and all votes cast with respect to the Plan

prior to such modification shall be binding and shall apply with respect to the Plan.


                                                 9
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 10 of 154




       J.      Adequacy of the Disclosure Statement.

       9.      The Disclosure Statement contains “adequate information” as such term is defined

in section 1125(a) of the Bankruptcy Code and used in section 1126(b)(2) of the Bankruptcy Code

with respect to the Debtors, the Plan, and the transactions contemplated therein.

       K.      Disclosure Statement Order and Notice.

       10.     The Disclosure Statement Order conditionally approved the Disclosure Statement

and established the Voting Deadline, Objection Deadline, and Opt-Out Deadline. As evidenced

by the Affidavits, and the record in the Chapter 11 Cases, the Debtors provided due, adequate, and

sufficient notice of the Plan, the Disclosure Statement, the Disclosure Statement Order, the

Solicitation Materials, the Plan Supplement, the discharge, compromise, settlement, release,

exculpation, and injunction provisions contained in the Plan, the ability to opt-out of the Plan’s

Third-Party Release, the Combined Hearing, the Voting Deadline, the Objection Deadline, the

Opt-Out Deadline, and any other applicable dates described in the Disclosure Statement Order in

compliance with the Bankruptcy Code, the Bankruptcy Rules (including Bankruptcy Rules

2002(b), 3016, 3017, and 3020(b)), the Bankruptcy Local Rules, the Complex Case Procedures,

and the procedures set forth in the Disclosure Statement Order. Such notice was adequate and

sufficient under the facts and circumstances of these Chapter 11 Cases in compliance with the

Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and the Disclosure

Statement Order. No other or further notice is or shall be required.

       M.      Ballots.

       11.     The Classes of Claims entitled under the Plan to vote to accept or reject the Plan

(the “Voting Classes”) are set forth below:

                             Class              Designation
                               3                Prepetition Credit Facility Claims
                               6                General Unsecured Claims


                                                10
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 11 of 154




       12.        As determined in the Disclosure Statement Order, the ballots (the “Ballots”) the

Debtors used to solicit votes to accept or reject the Plan from Holders in the Voting Classes

adequately addressed the particular needs of these Chapter 11 Cases and were appropriate for

Holders in the Voting Classes to vote to accept or reject the Plan.

       N.         Solicitation.

       13.        As described in the Voting Affidavit and Voting Report, the solicitation of votes on

the Plan complied with the procedures set forth in the Disclosure Statement Order, was appropriate

and satisfactory based upon the circumstances of these Chapter 11 Cases and complied with the

provisions of the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and any

other applicable rules, laws, and regulations.

       14.        As described in the Voting Affidavit and Voting Report, as applicable, the

Solicitation Packages were transmitted and served on all Holders in the Voting Classes in

compliance with the Bankruptcy Code, including sections 1125 and 1126 thereof, the Bankruptcy

Rules, including Bankruptcy Rules 3017 and 3018, the Bankruptcy Local Rules, the Disclosure

Statement Order, and any applicable non-bankruptcy law. Transmission and service of the

Solicitation Packages was timely, adequate, and sufficient under the facts and circumstances of

these Chapter 11 Cases. No further notice is required.

       15.        As set forth in the Voting Affidavit and Voting Report, the Solicitation Packages

were distributed to Holders in the Voting Classes that held a Claim as of January 22, 2025 (the

“Voting Record Date”). The establishment and notice of the Voting Record Date was reasonable

and sufficient.




                                                   11
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 12 of 154




       16.     The period during which the Debtors solicited acceptances or rejections of the Plan

was a reasonable and sufficient period of time for each Holder in the Voting Classes to make an

informed decision to accept or reject the Plan.

       17.     Under section 1126(f) of the Bankruptcy Code, Holders of Claims in Class 1 (Other

Secured Claims), Class 2 (Other Priority Claims), Class 4 (Deferred Compensation Plan Claims),

Class 5 (Convenience Claims), and Class 9 (Zachry Interests) (collectively, the “Deemed

Accepting Classes”) are Unimpaired and conclusively presumed to have accepted the Plan. The

Debtors were therefore not required to, and did not, solicit votes from the Deemed Accepting

Classes. Holders of Claims in Class 7 (Intercompany Claims) and Holders of Interests in Class 8

(Intercompany Interests) are Unimpaired and conclusively presumed to have accepted the Plan (to

the extent Reinstated or converted to equity, as applicable) or are Impaired and deemed to reject

the Plan (to the extent set off, settled, addressed, distributed, contributed, merged, cancelled, or

released), and, in either event, are not entitled to vote to accept or reject the Plan. The Debtors

served Holders in the non-voting Classes with the Combined Hearing Notice and the Non-Voting

Status Notice, including the Opt-Out Form.

       18.     The Debtors served the Employee Letter via first class mail on all current

employees of the Debtors that do not hold Claims or Interests (the “Non-Creditor Employees”).

The Employee Letter provided adequate notice of the Combined Hearing, generally described the

Plan, explained that Non-Creditor Employees were specifically excluded from the Plan’s Third-

Party Release, and advised Non-Creditor Employees how they could request a Ballot or obtain

further information about the Chapter 11 Cases from the Claims and Noticing Agent.

       19.     The Debtors also served the Disputed Claims Notice and the Opt-Out Form on

certain Holders of Disputed Claims in these Chapter 11 Cases. The Disputed Claims Notice




                                                  12
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 13 of 154




provided adequate notice of the Combined Hearing, the Rule 3018 Motion Deadline, the

procedures for challenging the Debtors’ disallowance of Disputed Claims, and the release,

exculpation, and injunction provisions of the Plan.

           20.     The Debtors served the Combined Hearing Notice and/or the Non-Voting Status

Notice on the entire creditor matrix (except the Non-Creditor Employees served with the Employee

Letter).        The Combined Hearing Notice and/or the Non-Voting Status Notice adequately

summarized the material terms of the Plan, the classification and treatment of claims, and the

release, exculpation, and injunction provisions of the Plan. Further, because stakeholders were

able to opt out of the Third-Party Release through the Ballot or the Opt-Out Form, every known

stakeholder affected by the Third-Party Release (including Unimpaired creditors) was provided

with the means by which the stakeholders could opt out of the Third-Party Release.

           O.      Voting.

           21.     As evidenced by the Voting Affidavit and Voting Report, votes to accept or reject

the Plan have been solicited and tabulated fairly, in good faith, and in compliance with the

Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules, the Disclosure Statement,

the Disclosure Statement Order, and any applicable non-bankruptcy law, rule, or regulation. As

evidenced by the Voting Affidavit and Voting Report, Classes 3 and 6 have voted to accept the

Plan in accordance with the requirements of sections 1126 and 1129 of the Bankruptcy Code.

           P.      Plan Supplement.

           22.     The Plan Supplement complies with the Bankruptcy Code and the terms of the Plan,

and the filing and notice of such documents is good and proper in accordance with the Bankruptcy

Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and all other applicable rules, laws, and

requirements, and no other or further notice is required. All documents included in the Plan

Supplement are integral to, part of, and incorporated by reference into the Plan. Subject to the


                                                  13
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 14 of 154




terms of the Plan, the Debtors may alter, amend, update, or modify the Plan Supplement before

the Effective Date. Holders of Claims and Interests were provided, due, adequate, and sufficient

notice of the Plan Supplement.

       Q.      Bankruptcy Rule 3016.

       23.     The Plan and any modifications thereto are dated and identify the Entities

submitting them, thereby satisfying Bankruptcy Rule 3016(a). The Debtors appropriately Filed

the Disclosure Statement and Plan with the Court, thereby satisfying Bankruptcy Rule 3016(b).

The injunction, release, and exculpation provisions in the Disclosure Statement and Plan describe,

in bold font and with specific and conspicuous language, all acts to be enjoined by such injunction

and identify the Entities that will be subject to such injunction, thereby satisfying Bankruptcy Rule

3016(c).

       R.      Burden of Proof.

       24.     The Debtors, as proponents of the Plan, have met their burden of proving the

applicable elements of sections 1129(a) and 1129(b) of the Bankruptcy Code by a preponderance

of the evidence, which is the applicable evidentiary standard for Confirmation. In addition, and to

the extent applicable, the Plan is confirmable under the clear and convincing evidentiary standard.

Each witness who testified or submitted a declaration on behalf of the Debtors or any other party,

in support of the Disclosure Statement, Plan, and Confirmation in connection with the Combined

Hearing was credible, reliable, and qualified to testify as to the topics addressed in their testimony.

       S.      Compliance with Bankruptcy Code Requirements – 11 U.S.C. § 1129(a)(1).

       25.     The Plan complies with all applicable provisions of the Bankruptcy Code as

required by section 1129(a)(1) of the Bankruptcy Code.




                                                  14
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 15 of 154




               i.      Proper Classification – 11 U.S.C. §§ 1122 and 1123.

       26.     The classification of Claims under the Plan is proper and satisfies the requirements

of sections 1122(a) and 1123(a)(1) of the Bankruptcy Code. Article III of the Plan provides for

the separate classification of Claims and Interests into nine (9) Classes other than Administrative

Claims, Professional Fee Claims, Priority Tax Claims, and Claims for Restructuring Expenses,

which need not be classified. Valid business, factual, and legal reasons exist for the separate

classification of such Classes of Claims and Interests. The classifications reflect no improper

purpose and do not unfairly discriminate between, or among, Holders of Claims or Interests. Each

Class of Claims and Class of Interests contains only Claims or Interests that are substantially

similar to the other Claims or Interests within that Class.

               ii.     Specified Unimpaired Classes – 11 U.S.C. § 1123(a)(2).

       27.     The Plan satisfies the requirements of section 1123(a)(2) of the Bankruptcy Code.

Article III of the Plan specifies that Claims, as applicable, in the following Classes are Unimpaired

under the Plan within the meaning of section 1124 of the Bankruptcy Code:

                           Class             Claims
                             1               Other Secured Claims
                             2               Other Priority Claims
                             4               Deferred Compensation Plan Claims
                             5               Convenience Claims
                             9               Zachry Interests

Additionally, Article II of the Plan specifies that Allowed Administrative Claims, Professional

Fee Claims, Priority Tax Claims, and Claims for Restructuring Expenses will be paid in full in

accordance with the terms of the Plan, although these Claims are not classified under the Plan.

               iii.    Specified Treatment of Impaired Classes – 11 U.S.C. § 1123(a)(3).

       28.     The Plan satisfies the requirements of section 1123(a)(3) of the Bankruptcy Code.

Article III of the Plan specifies that Claims in the following Classes (the “Impaired Classes”)



                                                 15
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 16 of 154




are Impaired under the Plan within the meaning of section 1124 of the Bankruptcy Code, and

describes the treatment of such Classes:

                           Class            Claims
                             3              Prepetition Credit Facility Claims
                             6              General Unsecured Claims

               iv.     No Discrimination – 11 U.S.C. § 1123(a)(4).

       29.     The Plan satisfies the requirements of section 1123(a)(4) of the Bankruptcy Code.

The Plan provides for the same treatment by the Debtors for each Claim or Interest in each

respective Class unless the Holder of a particular Claim or Interest has agreed to less favorable

treatment on account of such Claim or Interest.

               v.      Adequate Means for Plan Implementation – 11 U.S.C. § 1123(a)(5).

       30.     The Plan satisfies the requirements of section 1123(a)(5) of the Bankruptcy Code.

The provisions in Article IV and elsewhere in the Plan, and in the exhibits and attachments to the

Plan (including the Plan Supplement) and the Disclosure Statement, provide, in detail, adequate

and proper means for the Plan’s implementation, including: (a) the general settlement of Claims

and Interests; (b) the GPX Settlement, previously approved by this Court and subject to the Plan

and the GPX Settlement Documents; (c) authorization for the Debtors and/or Reorganized Debtors

to take all actions necessary to effectuate the Plan, including those actions necessary or appropriate

to effectuate the Restructuring Transactions, and any restructuring transaction steps set forth in the

Plan Supplement, as the same may be modified or amended from time to time prior to the Effective

Date; (d) the entry into, delivery of, and implementation of the A&R Credit Facility Documents

and other transaction documents contemplated by the Plan; (e) the issuance of the Sunbelt

Promissory Note; (f) the entry into, delivery of, and implementation of the GUC Note Documents

and issuance of the GUC Promissory Notes; (g) the entry into, delivery of, and implementation of




                                                  16
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 17 of 154




the Exit Intercreditor Agreement; (h) the delivery and implementation of the Parent Capital

Contribution; (i) the funding and sources of consideration for the Plan distributions, including the

A&R Credit Facility, the Sunbelt Promissory Note, the GUC Promissory Notes, the Parent Capital

Contribution, and Cash on hand; (j) the preservation of the Debtors’ corporate existence following

the Effective Date (except as otherwise provided in the Plan); (k) the vesting of the Estates’ assets

in the respective Reorganized Debtors; (l) the cancellation of certain existing agreements as

provided in the Plan and this Order; (m) the authorization and approval of corporate actions under

the Plan; (n) the adoption and re-affirmation of the Organizational Documents; (o) the effectuation

and implementation of other documents and agreements contemplated by, or necessary to

effectuate, the transactions contemplated by the Plan; (p) the assumption of certain Employee

Obligations and Indemnification Obligations; (q) the preservation of Claims and Causes of Action

not released pursuant to the Plan, including as set forth in the Schedule of Retained Causes of

Action; and (r) the closing of the Chapter 11 Cases as provided in the Plan.

       31.     The precise terms governing the execution of these transactions are set forth in

greater detail in the Plan or form of agreements or other documents included in the Plan

Supplement or other documents related to the Plan, including the A&R Credit Facility Term Sheet,

the GUC Note Term Sheet, and the Sunbelt Term Sheet.

               vi.     Voting Power of Equity Securities – 11 U.S.C. § 1123(a)(6).

       32.     The Plan is consistent with the requirements of section 1123(a)(6) of the

Bankruptcy Code. To the extent required to comply with section 1123(a)(6) of the Bankruptcy

Code, the Reorganized Debtors are prohibited from issuing nonvoting equity securities,

notwithstanding anything to the contrary in the Plan or Plan Supplement.




                                                 17
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 18 of 154




               vii.    Directors and Officers – 11 U.S.C. § 1123(a)(7).

       33.     The Plan satisfies the requirements of section 1123(a)(7) of the Bankruptcy Code.

Article IV.K of the Plan provides that the directors and officers of each Reorganized Debtor shall

consist of the current directors and officers of each respective Debtor.

               viii.   Impairment / Unimpairment of Classes – 11 U.S.C. § 1123(b)(1).

       34.     The Plan is consistent with section 1123(b)(1) of the Bankruptcy Code. Article III

of the Plan impairs or leaves Unimpaired each Class of Claims and Interests.

               ix.     Assumption – 11 U.S.C. § 1123(b)(2).

       35.     The Plan is consistent with section 1123(b)(2) of the Bankruptcy Code. Article V

of the Plan provides for the assumption of all of the Debtors’ Executory Contracts and Unexpired

Leases, other than the Rejected Contracts and/or Unexpired Leases identified on the Rejection List

and as otherwise provided in Article V.A of the Plan, and the payment of Cure Claims, if any,

related thereto, not previously assumed, assumed and assigned, or rejected during these Chapter 11

Cases under section 365 of the Bankruptcy Code. The assumption of Executory Contracts and

Unexpired Leases may include the assignment of certain of such contracts to Affiliates.

       36.     The Debtors’ determinations regarding the assumption, assumption and

assignment, or rejection of Executory Contracts and Unexpired Leases are based on, and within,

the sound business judgment of the Debtors, are necessary to the implementation of the Plan, and

are in the best interests of the Debtors, their Estates, Holders of Claims and Interests, and other

parties-in-interest in the Chapter 11 Cases. Entry of this Order by the Court shall constitute

approval of such assumptions, assumption and assignments, and/or rejections, as applicable,

including the assumption of the Executory Contracts or Unexpired Leases as provided in the




                                                 18
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 19 of 154




Assumption List and Rejection List included in the Plan Supplement pursuant to sections 365(a)

and 1123 of the Bankruptcy Code.

               x.      Settlement, Releases, Exculpation, Injunction, and Preservation of
                       Claims and Causes of Action – 11 U.S.C. § 1123(b)(3).

       37.     General Compromise and Settlement of Claims and Interests. In accordance

with section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019, and in

consideration for the classification, distributions, releases, and other benefits provided pursuant to

the Plan, the provisions of the Plan constitute a good-faith compromise and settlement of all

Claims, Interests, and controversies resolved pursuant to the Plan, including all General Unsecured

Claims and GPX Claims and any challenge to the amount, validity, perfection, enforceability,

priority, or extent of the Prepetition Credit Facility Claims, whether under any provision of

chapter 5 of the Bankruptcy Code, based on any equitable theory, or otherwise. Entry of this Order

shall constitute the entry of an order approving the settlement of all such Claims, Interests, and

controversies under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019. The

compromise and settlement of such Claims and Interests embodied in the Plan and Reinstatement

and Unimpairment of other Classes identified in the Plan are in the best interests of the Debtors,

the Estates, and all Holders of Claims and Interests, and are fair, equitable, and reasonable.

       38.     GPX Settlement. The terms of the GPX Settlement, as set forth in the GPX

Settlement Documents, are incorporated into, and are an integral part of, the Plan. As set forth in

Article IV.B of the Plan, the GPX Interim Settlement Order, and the GPX Final Settlement Order,

the GPX Settlement is a good-faith compromise and settlement of all disputes, controversies,

claims, and causes of action among the GPX Settlement Parties arising out of or otherwise related

to the GPX Project and the matters described in the GPX Settlement Term Sheet; the GPX

Settlement is the product of extensive arm’s-length, good faith negotiations and represents a fair



                                                 19
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 20 of 154




and reasonable compromise among the GPX Settlement Parties; the GPX Settlement is reasonable,

fair, equitable, appropriate, and in the best interests of each of the Debtors, their estates, and all

vendors and subcontractors asserting Claims related to the GPX Project; and the Debtors’

reasonably exercised their business judgment when determining to enter into the GPX Settlement.

       39.     The GPX Excess Claims Stipulation sets forth an agreement by the Debtors and

Golden Pass on the amount of Excess Claims (as defined in the GPX Excess Claims Stipulation)

and related matters. Each term of the GPX Excess Claims Stipulation is incorporated into, and is

an integral part of, the Plan and this Order. In addition, for the avoidance of doubt, each of the

stipulated facts among the Debtors and Golden Pass set forth in the GPX Excess Claims

Stipulation, as well as Schedules 1 through 4 of the GPX Excess Claims Stipulation, are

incorporated by reference into this Order as if set forth fully herein.

       40.     The Debtors and Golden Pass engaged in good faith and diligent analysis, over

several months following this Court’s interim and final approval of the GPX Settlement, to identify

all GPX Claims, reconcile such GPX Claims, and determine the total amount of potential Excess

Claims, in each case in compliance with, and furtherance of, the terms of the GPX Settlement. The

Debtors and Golden Pass, among other things, reviewed the Proofs of Claim timely filed in these

Chapter 11 Cases to identify asserted GPX Claims; sent letters to GPX Project vendors and

subcontractors instructing them to submit all invoices for ZII’s share of Pool A and Pool B

obligations accruing through July 25, 2024, by September 16, 2024; reviewed all asserted Pool A

and Pool B obligations submitted by such vendors; shared their analyses of the potential GPX

Claims pool and direct cap payments calculation with each other; engaged in regular

communications regarding accounting, reconciliation, and payment issues arising in connection

with the GPX Settlement, and provided notice of the Excess Claim Stipulation and the Schedules




                                                 20
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 21 of 154




thereto to all known parties-in-interest. Based upon the Bar Date and the outreach by the Debtors

and Golden Pass to vendors potentially asserting Pool A and Pool B obligations, all vendors and

subcontractors in respect of the GPX Project have had a reasonable opportunity to identify and

assert GPX Claims payable under the GPX Settlement. The schedules to the GPX Excess Claims

Stipulation disclose all GPX Claims paid to date by Golden Pass, all GPX Claims to be paid by

Golden Pass, and the universe of potentially valid GPX Claims, in each case identified during the

Debtors’ and Golden Pass’s good faith reconciliation of GPX Claims that resulted in their

determination of Excess Claims. The determination of Excess Claims set forth in the GPX Excess

Claims Stipulation is reasonable under the circumstances and based on the good faith

reconciliation and review of all potential GPX Claims conducted by the Debtors and Golden Pass.

       41.     The GPX Excess Claims Stipulation is a good-faith compromise and settlement of

all disputes, controversies, claims, and causes of action among the Debtors and Golden Pass arising

out of or otherwise related to the reconciliation and determination of Excess Claims under the GPX

Settlement. The GPX Excess Claims Stipulation is the product of extensive arm’s-length, good

faith negotiations and represents a fair and reasonable compromise among the Debtors and Golden

Pass. The GPX Excess Claims Stipulation is reasonable, fair, equitable, appropriate, and in the

best interests of each of the Debtors, their estates, and all vendors and subcontractors asserting

Claims related to the GPX Project. Entry into the GPX Excess Claims Stipulation reflects a sound

exercise of the Debtors’ business judgment.

       42.     Debtor Release. Article VIII.C of the Plan describes certain releases granted by

the Debtors (the “Debtor Release”). The Debtors have satisfied the business judgment standard

under Bankruptcy Rule 9019 with respect to the propriety of the Debtor Release. The Debtor

Release is a necessary and integral element of the Plan, and is fair, reasonable, and in the best




                                                21
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 22 of 154




interests of the Debtors, the Estates, and Holders of Claims and Interests. The Debtor Release is:

(a) in exchange for the good and valuable consideration provided by the Released Parties,

including, without limitation, the Released Parties’ contributions to facilitating the Restructuring

Transactions and implementing the Plan; (b) a good faith settlement and compromise of the Claims

released by the Debtor Release; (c) in the best interests of the Debtors and all Holders of Claims

and Interests; (d) fair, equitable, and reasonable; (e) given and made after due notice and

opportunity for hearing; (f) narrowly tailored to the circumstances of the Chapter 11 Cases; and

(g) a bar to any of the Debtors, the Reorganized Debtors, or the Debtors’ Estates asserting any

Claim or Cause of Action released pursuant to the Debtor Release. The Debtor Release for the

Debtor Related Parties is appropriate because the Debtor Related Parties share an identity of

interest with the Debtors, supported the Plan and these Chapter 11 Cases, actively participated in

meetings, negotiations, and implementation during these Chapter 11 Cases, and have provided

other valuable consideration to the Debtors to facilitate the Debtors’ reorganization.

       43.     The Debtor Release appropriately offers protection to parties that constructively

participated in the Debtors’ chapter 11 efforts. Such protections from liability facilitated the

participation of the Debtors’ stakeholders in the negotiations and compromises that led to the Plan.

In addition, the Debtors are not aware of any (a) significant potential claims that are being released;

or (b) pending litigation that would be discontinued as a result of the Debtor Release. The scope

of the Debtor Release is appropriately tailored under the facts and circumstances of the Chapter

11 Cases. In light of, among other things, the critical nature of the Debtor Release to the Plan, the

Debtor Release is appropriate.




                                                  22
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 23 of 154




        44.     For the avoidance of doubt, and notwithstanding anything to the contrary herein or

in the Plan, no Claim or Cause of Action referenced on the Schedule of Retained Causes of Action

shall be released by the Debtors or a Debtor Related Party pursuant to the Debtor Release.

        45.     Third-Party Release. Article VIII.D of the Plan describes certain releases granted

by the Releasing Parties (the “Third-Party Release”). The Third-Party Release provides finality

for the Debtors, the Reorganized Debtors, and the Released Parties regarding the parties’

respective obligations under the Plan and with respect to the Reorganized Debtors. The Combined

Hearing Notice sent to Holders of Claims and Interests, the Non-Voting Status Notice sent to all

Holders of Claims and Interest not entitled to vote on the Plan, the Ballots sent to all Holders of

Claims entitled to vote on the Plan, the Publication Notice published in: (a) The New York Times

(National Edition) on January 28, 2025, (b) USA Today (National Edition) on January 29, 2025,

(c) Beaumont Enterprise, on January 29, 2025, and (d) Port Arthur News, on February 1, 2025, in

each case, unambiguously stated that the Plan contains the Third-Party Release. Such release is a

necessary and integral element of the Plan, and is fair, equitable, reasonable, and in the best

interests of the Debtors, the Estates, and all Holders of Claims and Interests. Also, the Third-Party

Release is: (a) consensual; (b) essential to the formulation, Confirmation, and implementation of

the Plan; (c) given in exchange for the good and valuable consideration provided by the Released

Parties, including the payment in full of all General Unsecured Claims pursuant to the terms of the

Plan; (d) a good-faith settlement and compromise of the Claims released by the Third-Party

Release; (e) in the best interests of the Debtors and their Estates; (f) fair, equitable, and reasonable;

(g) given and made after due notice and opportunity for hearing; (h) narrowly tailored to the

circumstances of the Chapter 11 Cases; and (i) a bar to any of the Releasing Parties asserting any

claim or Cause of Action released pursuant to the Third-Party Release. As set forth on the record




                                                   23
       Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 24 of 154




at the Combined Hearing and in Article I.A.128.n of the Plan, each Related Party of a Releasing

Party shall be a Releasing Party solely to the extent an applicable principal Releasing Party is

legally entitled to bind such Related Party to the releases contained in the Plan under applicable

law.

        46.    The Third-Party Release is consensual as to all relevant parties, including all

Releasing Parties, and such parties were provided notice of the Chapter 11 Cases, the Plan, and

the deadline to object to Confirmation of the Plan, received the Combined Hearing Notice, a

Ballot, and/or the Non-Voting Status Notice, and were properly informed that any Holder of a

Claim against or Interest in the Debtors that did not check the “Opt Out” box on the applicable

Ballot or Opt Out Form, returned in advance of the Voting Deadline, would be deemed to have

expressly, unconditionally, generally, individually, and collectively consented to the release

and discharge of all claims and Causes of Action against the Debtors and the Released Parties.

Additionally, the release provisions of the Plan were conspicuous, emphasized with boldface

type in the Plan, the Disclosure Statement, the Ballots, the Non-Voting Status Notice, the

Combined Hearing Notice, and the Opt-Out Form.

         37.   The Third-Party Release provides finality for the Debtors, the Reorganized

Debtors, and the Released Parties regarding the parties’ respective obligations under the Plan and

with respect to the Reorganized Debtors. The scope of the Third-Party Release is appropriately

tailored under the facts and circumstances of the Chapter 11 Cases, is consistent with applicable

law, including Harrington v. Purdue Pharma L. P., 144 S. Ct. 2071 (2024), and is approved. For

the avoidance of doubt, and notwithstanding anything to the contrary, any party who timely

opted-out of the Third-Party Release in connection with the solicitation permitted under this

Court’s Order [Docket No. 1392] or the Disclosure Statement Order [Docket No. 1191] is not




                                               24
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 25 of 154




bound by the Third-Party Release and also is not a Released Party under the Plan and this

Order.

         47.   Exculpation. The exculpation, described in Article VIII.E of the Plan (the

“Exculpation”), is appropriate under applicable law, including In re Highland Capital Mgmt.,

L.P., 48 F. 4th 419 (5th Cir. 2022), because it was proposed in good faith, was formulated

following extensive good-faith, arm’s-length negotiations with key constituents, and is

appropriately limited in scope. Without limiting anything in the Exculpation, each Exculpated

Party has participated in these Chapter 11 Cases in good faith and is appropriately released and

exculpated from any obligation, Cause of Action, or liability for any prepetition or postpetition act

taken or omitted to be taken in connection with, relating to, or arising out of the Debtors’

restructuring efforts, these Chapter 11 Cases, the formulation, preparation, dissemination,

negotiation, or filing of the Disclosure Statement or the Plan or any contract, instrument, release,

or other agreement or document created or entered into, in connection with, or pursuant to the

Disclosure Statement or the Plan, including the A&R Credit Facility, the Sunbelt Promissory Note,

the GUC Promissory Notes, the GUC Note Documents, the Parent Capital Contribution, the GPX

Settlement Documents, the Cash Collateral Order, the Disclosure Statement, the filing of these

Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration

and implementation of the Plan, or the distribution of property under the Plan. The Exculpated

Parties have, and upon Consummation of the Plan shall be deemed to have, participated in good

faith and in compliance with the applicable laws with regard to the solicitation of votes and

distribution of consideration pursuant to the Plan and, therefore, are not, and on account of such

distributions shall not be, liable at any time for the violation of any applicable law, rule, or

regulation governing the solicitation of acceptances or rejections of the Plan or such distributions




                                                 25
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 26 of 154




made pursuant to the Plan. Notwithstanding the foregoing, the Exculpation shall not release any

obligation or liability of any Entity for any post-Effective Date obligation under the Plan or any

document, instrument or agreement (including those set forth in the Plan Supplement) executed to

implement the Plan. The Exculpation, including its carveout for actual fraud, willful misconduct,

and gross negligence, is consistent with applicable law in this jurisdiction.

       48.      The Exculpated Parties shall not incur liability for any Cause of Action or Claim

related to any act or omission in connection with, relating to, or arising out of, in whole or in part,

the solicitation of acceptance or rejection of the Plan in good faith and in compliance with the

applicable provisions of the Bankruptcy Code.

       49.      Injunction. The injunction provision set forth in Article VIII.F of the Plan is

necessary to implement, preserve, and enforce the Debtors’ discharge, the Debtor Release, the

Third-Party Release, the Exculpation, and the GPX Settlement, and is narrowly tailored to achieve

this purpose.

       50.      Notwithstanding anything to the contrary in this Order, no Person or Entity may

commence or pursue a Claim or Cause of Action, as applicable, of any kind against the Debtors,

the Reorganized Debtors, the Released Parties, or the Exculpated Parties, as applicable, that relates

to or is reasonably likely to relate to any act or omission in connection with, relating to, or arising

out of a Claim or Cause of Action, as applicable, subject to Articles VIII.C, VIII.D, VIII.E, or

VIII.F of the Plan, without the Court (a) first determining, after notice and a hearing, that such

Claim or Cause of Action, as applicable, represents a colorable Claim of any kind, and (b)

specifically authorizing such Person or Entity to bring such Claim or Cause of Action, as

applicable, against any such Debtor, Reorganized Debtor, Exculpated Party, or Released Party, as

applicable.




                                                  26
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 27 of 154




        51.    Preservation of Causes of Action. The provisions set forth in Article IV.N of the

Plan regarding the preservation of Causes of Action in the Plan are appropriate and are in the best

interests of the Debtors, their Estates, and Holders of Claims and Interests. Each Reorganized

Debtor, as applicable, shall retain and may enforce all rights to commence and pursue, as

appropriate, any and all Causes of Action of the Debtors, whether arising before or after the

Petition Date, including any actions specifically enumerated in the Schedule of Retained Causes

of Action, and the Reorganized Debtors’ rights, as applicable, to commence, prosecute, or settle

such retained Causes of Action shall be preserved notwithstanding the occurrence of the Effective

Date.

        52.    Lien Release. The release and discharge of mortgages, deeds of trust, Liens,

pledges, bond claims, or other security interests against any property of the Estates described in

Article VIII.B of the Plan (the “Lien Release”) is essential to the Plan and necessary to implement

the Plan. The provisions of the Lien Release are appropriate, fair, equitable, and reasonable and

are in the best interests of the Debtors, the Estates, and Holders of Claims and Interests.

               xi.     Additional Plan Provisions – 11 U.S.C. § 1123(b)(6).

        53.    The other discretionary provisions of the Plan are appropriate and

consistent with the applicable provisions of the Bankruptcy Code, thereby satisfying

section 1123(b)(6) of the Bankruptcy Code.

        T.     Cure of Defaults – 11 U.S.C. § 1123(d).

        54.    Article V.C of the Plan provides for the satisfaction of Cure Claims associated with

each Executory Contract and Unexpired Lease to be assumed in accordance with section 365(b)(1)

of the Bankruptcy Code. The Debtors or the Reorganized Debtors, as applicable, shall pay the

Cure Claims, if any, on the Effective Date, or as soon as reasonably practicable thereafter, in the

ordinary course of the Debtors’ business if not yet due on the Effective Date, or on such other


                                                 27
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 28 of 154




terms as the parties to any Executory Contract or Unexpired Lease may agree. If there is any

dispute regarding any Cure Claim, the ability of the Reorganized Debtors or any assignee to

provide “adequate assurance of future performance” within the meaning of section 365 of the

Bankruptcy Code, or any objection to the assumption of any Executory Contract or Unexpired List

assumed pursuant to the Plan, then payment of the applicable Cure amount shall occur as soon as

reasonably practicable after entry of a Final Order resolving such dispute, approving such

assumption (and, if applicable, assignment), or as may be agreed upon by the Debtors or the

Reorganized Debtors, as applicable, and the counterparty to the Executory or Unexpired Lease.

As such, the Plan provides that the Debtors will cure, or provide adequate assurance that the

Debtors will promptly cure, defaults with respect to assumed Executory Contracts and Unexpired

Leases in accordance with section 365(b)(1) of the Bankruptcy Code.

       U.      Debtor Compliance with the Bankruptcy Code – 11 U.S.C. § 1129(a)(2).

       55.     The Debtors, as proponents of the Plan, have complied with all applicable

provisions of the Bankruptcy Code and, thus, have satisfied the requirements of section 1129(a)(2)

of the Bankruptcy Code, including sections 1122, 1123, 1124, 1125, 1126, 1128, and 1129, and

Bankruptcy Rules 2022, 3017, 3018, and 3019. The Debtors and their agents transmitted the

Solicitation Materials and related documents and solicited and tabulated votes with respect to the

Plan fairly, in good faith, and in compliance with the Disclosure Statement Order, the Bankruptcy

Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and the Complex Case Procedures,

including, but not limited to, sections 1125 and 1126(b) of the Bankruptcy Code.

       V.      Plan Proposed in Good Faith – 11 U.S.C. § 1129(a)(3).

       56.     The Debtors have proposed the Plan (including the Plan Supplement and all other

documents necessary or appropriate to effectuate the Plan) in good faith and not by any means

forbidden by law, thereby satisfying section 1129(a)(3) of the Bankruptcy Code. In determining


                                               28
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 29 of 154




that the Plan has been proposed in good faith, the Court has examined the totality of the

circumstances surrounding the filing of these Chapter 11 Cases, the Plan, the process leading to

Confirmation (including the overwhelming support of Holders of Claims for the Plan), and the

transactions to be implemented pursuant thereto. The Debtors’ good faith is evident from the facts

and record of the Chapter 11 Cases, the Plan, the Disclosure Statement, the hearing to conditionally

approve the Disclosure Statement, and the record of the Combined Hearing and other proceedings

held in the Chapter 11 Cases. These Chapter 11 Cases were Filed, and the Plan was proposed,

with the legitimate and honest purpose of maximizing the value of the Estates and allowing the

Debtors to implement the Restructuring Transactions, reorganize, and emerge from bankruptcy to

allow them to conduct their businesses and satisfy their obligations with sufficient liquidity and

capital resources. Further, the Plan’s classification, settlement, discharge, exculpation, release,

and injunction provisions have been negotiated in good faith and at arm’s-length, are consistent

with sections 105, 1122, 1123(b)(3)(A), 1123(b)(6), 1129, and 1142 of the Bankruptcy Code, and

each is integral to the Plan, supported by valuable consideration, and necessary to the Debtors’

successful reorganization. Accordingly, the requirements of section 1129(a)(3) of the Bankruptcy

Code are satisfied.

       W.      Payment for Services or Costs and Expenses – 11 U.S.C. § 1129(a)(4).

       57.     The procedures set forth in the Plan for the Court’s review and ultimate

determination of the fees and expenses to be paid by the Debtors in connection with these Chapter

11 Cases, or in connection with the Plan and incident to these Chapter 11 Cases, satisfy the

objectives of, and are in compliance with, section 1129(a)(4) of the Bankruptcy Code.

       X.      Directors, Officers, and Insiders – 11 U.S.C. § 1129(a)(5).

       58.     Article IV.K of the Plan sets forth that the directors and officer of each

Reorganized Debtor shall consist of the current directors and officers of each respective Debtor.


                                                29
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 30 of 154




Accordingly, the Debtors have satisfied the requirements of section 1129(a)(5) of the Bankruptcy

Code.

        Y.     No Rate Changes – 11 U.S.C. § 1129(a)(6).

        59.    Section 1129(a)(6) of the Bankruptcy Code is not applicable to these Chapter 11

Cases. Further, as the Plan proposes no rate change subject to the jurisdiction of any governmental

regulatory commission, section 1129(a)(6) of the Bankruptcy Code is satisfied.

        Z.     Best Interest of Creditors – 11 U.S.C. § 1129(a)(7).

        60.    The Plan satisfies section 1129(a)(7) of the Bankruptcy Code.          The Meghji

Declaration, the liquidation analysis attached as Exhibit C to the Disclosure Statement, and the

other evidence related thereto in support of the Plan that was proffered prior to, or in connection

with the Combined Hearing: (a) are reasonable, persuasive, credible, and accurate as of the dates

such analysis or evidence was prepared, presented, or proffered; (b) utilize reasonable and

appropriate methodologies and assumptions; (c) have not been controverted by other evidence;

and (d) establish that Holders of Allowed Claims in each Class will recover at least as much under

the Plan on account of such Claim, as of the Effective Date, as such Holder would receive if the

Debtors were liquidated under chapter 7 of the Bankruptcy Code. As a result, the Debtors have

demonstrated that the Plan is in the best interests of their creditors, and the Plan satisfies the

requirements of section 1129(a)(7) of the Bankruptcy Code.

        AA.    Acceptance by Certain Classes – 11 U.S.C. § 1129(a)(8).

        61.    Classes 1, 2, 4, 5, and 9 constitute the Unimpaired Classes, each of which is

conclusively presumed to have accepted the Plan in accordance with section 1126(f) of the

Bankruptcy Code. As evidenced by the Voting Affidavit and Voting Report, Classes 3 and 6 have

voted to accept the Plan. Holders of Claims and Interests in Classes 7 and 8 are Unimpaired and

conclusively presumed to have accepted the Plan (to the extent Reinstated or converted to equity,


                                                30
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 31 of 154




as applicable) or are Impaired and deemed to reject the Plan (to the extent set off, settled,

addressed, distributed, contributed, merged, cancelled, or released), and, in either event, are not

entitled to vote to accept or reject the Plan. Notwithstanding the foregoing, the Plan is confirmable

because it satisfies sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

       BB.     Treatment of Claims Entitled to Priority Under Section 507(a) of the
               Bankruptcy Code – 11 U.S.C. § 1129(a)(9).

       62.     The treatment of Administrative Claims, Professional Fee Claims, Priority Tax

Claims, and Claims for Restructuring Expenses under Article II of the Plan, and of Other Priority

Claims under Article III of the Plan, satisfies the requirements of, and complies in all respects

with, section 1129(a)(9) of the Bankruptcy Code.

       CC.     Acceptance by At Least One Impaired Class – 11 U.S.C. § 1129(a)(10).

       63.     The Plan satisfies the requirements of section 1129(a)(10) of the Bankruptcy Code.

As evidenced by the Voting Affidavit and Voting Report, Classes 3 and 6, which are Impaired,

voted to accept the Plan by the requisite number and amount of Claims, determined without

including any acceptance of the Plan by any insider (as such term is defined in section 101(31) of

the Bankruptcy Code), as specified under the Bankruptcy Code. Accordingly, the requirements of

section 1129(a)(10) of the Bankruptcy Code are satisfied.

       DD.     Feasibility – 11 U.S.C. § 1129(a)(11).

       64.     The Plan satisfies the requirements of section 1129(a)(11) of the Bankruptcy Code.

The Meghji Declaration, the financial projections attached as Exhibit B to the Disclosure

Statement, and the other evidence supporting Confirmation of the Plan proffered or adduced by

the Debtors at, prior to, or in connection with the Combined Hearing: (a) are reasonable,

persuasive, credible, and accurate as of the dates such analysis or evidence was prepared,

presented, or proffered; (b) utilize reasonable and appropriate methodologies and assumptions;



                                                 31
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 32 of 154




(c) have not been rebutted by other evidence; (d) establish that the Plan is feasible and

Confirmation of the Plan is not likely to be followed by the liquidation, or the need for further

financial reorganization, of the Reorganized Debtors or their successors under the Plan, except as

may be provided in the Plan; and (e) establish that the Reorganized Debtors will have sufficient

funds available to meet their obligations under the Plan, including on account of any contingent,

unliquidated, and other Disputed Claims that ultimately become Allowed after the Effective Date.

Accordingly, the Plan satisfies the requirements of section 1129(a)(11) of the Bankruptcy Code.

       EE.     Payment of Fees – 11 U.S.C. § 1129(a)(12).

       65.     Article XII.D of the Plan provides for the payment of all fees payable by the

Debtors under 28 U.S.C. § 1930(a). Accordingly, the Plan satisfies the requirements of section

1129(a)(12) of the Bankruptcy Code.

       FF.     Continuation of Employee Benefits – 11 U.S.C. § 1129(a)(13).

       66.     The Plan satisfies the requirements of section 1129(a)(13) of the Bankruptcy Code.

Article IV.L of the Plan provides that, as of the Effective Date, all obligations related to the

Deferred Compensation Plan are assumed and all retiree benefits (as such term is defined in

section 1114 of the Bankruptcy Code), if any, shall continue to be paid in accordance with

applicable law.

       GG.     Non-Applicability of Certain Sections – 11 U.S.C. § 1129(a)(14), (15), and (16).

       67.     Sections 1129(a)(14), 1129(a)(15), and 1129(a)(16) of the Bankruptcy Code do not

apply to these Chapter 11 Cases. The Debtors owe no domestic support obligations, are not

individuals, and are not non-profit corporations.

       HH.     “Cram Down” Requirements – 11 U.S.C. § 1129(b).

       68.     The Plan satisfies the requirements of section 1129(b) of the Bankruptcy Code.

Notwithstanding the fact that Classes 7 and 8 are deemed to reject the Plan (to the extent set off,


                                                32
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 33 of 154




settled, addressed, distributed, contributed, merged, cancelled, or released), the Plan may be

confirmed pursuant to section 1129(b)(1) of the Bankruptcy Code. First, all of the requirements

of section 1129(a) of the Bankruptcy Code other than section 1129(a)(8) have been met. Second,

the Plan does not discriminate unfairly with respect to Classes 7 and 8 because all similarly

situated creditors and interest holders will receive substantially similar treatment on account of

their Claims and Interests irrespective of Class. Third, the Plan has been proposed in good faith,

is reasonable, no Holder of a Claim or Interest in a Class senior to each such Class is receiving

more than 100% on account of its Claim or Interest, and the treatment provided to Classes 7 and

8 has no economic substance and is intended to allow the Debtors to modify their intercompany

structure and liabilities in order to implement the Restructuring Transactions under the Plan.

Fourth, no Holders of an Intercompany Claim or Intercompany Interest has objected to the

reinstatement of Zachry Interests under the Plan. Accordingly, the Plan is fair and equitable to

all Holders of Claims and Interests in Classes 7 and 8. Therefore, the Plan satisfies section

1129(b) of the Bankruptcy Code and can be confirmed.

       II.     Only One Plan – 11 U.S.C. § 1129(c).

       69.     The Plan (including previous versions thereof) is the only chapter 11 plan filed in

each of these Chapter 11 Cases and, accordingly, satisfies section 1129(c) of the Bankruptcy Code.

       JJ.     Principal Purpose of the Plan – 11 U.S.C. § 1129(d).

       70.     As evidenced by its terms, the principal purpose of the Plan is to reorganize the

Debtors, and not to avoid such obligations. Further, no Governmental Unit has requested that the

Court refuse to confirm the Plan on the grounds that the principal purpose of the Plan is the

avoidance of taxes or the avoidance of the application of section 5 of the Securities Act.

Accordingly, the requirements of section 1129(d) of the Bankruptcy Code have been satisfied.




                                               33
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 34 of 154




       KK.     Not Small Business Cases – 11 U.S.C. § 1129(e).

       71.     None of these Chapter 11 Cases is a “small business case,” as that term is defined

in the Bankruptcy Code, and accordingly, section 1129(e) of the Bankruptcy Code does not apply

to the Chapter 11 Cases.

       LL.     Good Faith Solicitation – 11 U.S.C. § 1125(e).

       72.     The Debtors and each of the Released Parties and Exculpated Parties have acted

fairly, in “good faith” within the meaning of section 1125(e) of the Bankruptcy Code, and in a

manner consistent with the Disclosure Statement, the Bankruptcy Code, the Bankruptcy Rules,

and all other applicable rules, laws, and regulations in connection with all of their respective

activities relating to support and Consummation of the Plan, including the negotiation, execution,

and delivery of the A&R Credit Facility Documents, the Sunbelt Promissory Note, the GUC

Promissory Notes, the GUC Note Documents, the Exit Intercreditor Agreement, and the Parent

Capital Contribution, the solicitation and tabulation of votes on the Plan, and the activities

described in section 1125 of the Bankruptcy Code, as applicable, and are entitled to the protections

afforded by section 1125(e) of the Bankruptcy Code, and solicitation of acceptances of the Plan,

as applicable, are entitled to the protections afforded by section 1125(e) of the Bankruptcy Code.

       73.     The Debtors and their Related Parties have acted in good faith and in compliance

with the applicable provisions of the Bankruptcy Code, including section 1125(g), with regard to

the distribution of recoveries under the Plan and therefore are not, and on account of such

distributions will not be, liable at any time for the violation of any applicable law, rule, or

regulation governing the solicitation of acceptances or rejections of the Plan or distributions made

pursuant to the Plan, so long as such distributions are made consistent with and pursuant to the

Plan and this Order.




                                                34
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 35 of 154




       MM. Satisfaction of Confirmation Requirements.

       74.     Based on the foregoing, the Plan satisfies the requirements for Confirmation set

forth in section 1129 of the Bankruptcy Code.

       NN.     Likelihood of Satisfaction of Conditions Precedent to the Effective Date.

       75.     Each of the conditions precedent to the Effective Date, as set forth in Article IX.A

of the Plan, has been or is reasonably likely to be satisfied or waived in accordance with

Article IX.B of the Plan.

       OO.     Implementation.

       76.     All documents and agreements necessary to implement the Plan, including the Plan

Supplement, and all other relevant and necessary or desirable documents have been negotiated in

good faith and at arm’s-length and shall, upon completion of documentation and execution, be

valid, binding, and enforceable agreements, not avoidable and not in conflict with any federal,

state, or foreign law. Consummation of the transactions contemplated by each such document or

agreement is in the best interest of the Debtors, their Estates, and Holders of Claims. The Debtors

have exercised reasonable business judgment in determining which documents and agreements to

enter into and have provided sufficient and adequate notice of such documents and agreements.

       PP.     Disclosure of Facts.

       77.     The Debtors have disclosed all material facts regarding the Plan, including with

respect to the Restructuring Transactions, and the fact that each Reorganized Debtor will emerge

from its Chapter 11 Case as a validly existing corporation, limited liability company, partnership,

or other form, as applicable, with separate assets, liabilities, and obligations.

       QQ.     Good Faith.

       78.     The Debtors, the Committee, the Released Parties, and the Exculpated Parties have

been, are, and will continue to be acting in good faith within the meaning of section 1125(e) of the


                                                  35
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 36 of 154




Bankruptcy Code if they proceed to: (a) consummate the Plan, the Restructuring Transactions, the

A&R Credit Facility, the Sunbelt Promissory Note, the GUC Promissory Notes, the GUC Note

Documents, the Exit Intercreditor Agreement, the Parent Capital Contribution, and the agreements,

settlements, transactions, transfers, and other actions contemplated thereby, regardless of whether

such agreements, settlements, transactions, transfers, and other actions are expressly authorized by

this Order; and (b) take any actions authorized and directed or contemplated by this Order.

       RR.       A&R Credit Facility.

       79.       The terms and conditions of the A&R Credit Facility and the Debtors’ entry into

the A&R Credit Facility Documents, including all actions, undertakings, and transactions

contemplated thereby, and payment of all fees, indemnities, and expenses provided for thereunder,

are essential elements of the Plan, necessary for Confirmation and Consummation of the Plan,

critical to the overall success and feasibility of the Plan, and in the best interests of the Debtors,

the Estates, and Holders of Claims and Interests. The Debtors have exercised reasonable business

judgment in determining to enter into the A&R Credit Facility and have provided adequate notice

thereof. The A&R Credit Facility was negotiated in good faith and at arm’s-length among the

Debtors, the A&R Credit Facility Agent, the A&R Credit Facility Lenders, and any credit extended

and loans made to the Reorganized Debtors by the A&R Credit Facility Lenders and any fees and

expenses paid thereunder are deemed to have been extended, issued, and made in good faith and

for legitimate business purposes. The execution, delivery, and performance by the Debtors or the

Reorganized Debtors, as applicable, of any of the A&R Credit Facility Documents, and any

agreements related thereto and compliance by the Debtors or the Reorganized Debtors, as

applicable, with the terms thereof, is authorized by, and will not conflict with, the terms of the Plan

or this Order.




                                                  36
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 37 of 154




       SS.     Sunbelt Promissory Note.

       80.     The terms and conditions of the Sunbelt Promissory Note and the Debtors’ entry

into the Sunbelt Promissory Note, including all actions, undertakings, and transactions

contemplated thereby, are essential elements of the Plan, necessary for Confirmation and

Consummation of the Plan, critical to the overall success and feasibility of the Plan, and in the best

interests of the Debtors, the Estates, and Holders of Claims and Interests. The Debtors have

exercised reasonable business judgment in determining to enter into the Sunbelt Promissory Note

and have provided adequate notice thereof. The Sunbelt Promissory Note was negotiated in good

faith and at arm’s-length among the Debtors and Sunbelt, and the Sunbelt Promissory Note is

deemed to have been extended, issued, and made in good faith and for legitimate business

purposes. The execution, delivery, and performance by the Debtors or the Reorganized Debtors,

as applicable, of the Sunbelt Promissory Note, and any agreements related thereto and compliance

by the Debtors or the Reorganized Debtors, as applicable, with the terms thereof, is authorized by,

and will not conflict with, the terms of the Plan or this Order.

       TT.     GUC Promissory Notes.

       81.     The terms and conditions of the GUC Promissory Notes and the Debtors’ entry into

the GUC Note Documents, including all actions, undertakings, and transactions contemplated

thereby, and payment of all fees, indemnities, and expenses provided for thereunder, are essential

elements of the Plan, necessary for Confirmation and Consummation of the Plan, critical to the

overall success and feasibility of the Plan, and in the best interests of the Debtors, the Estates, and

Holders of Claims and Interests. The Debtors have exercised reasonable business judgment in

determining to enter into the GUC Note Documents and have provided adequate notice thereof.

The GUC Note Documents were negotiated in good faith and at arm’s-length among the Debtors

and the Committee, and the GUC Promissory Notes and any fees and expenses paid thereunder


                                                  37
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 38 of 154




are deemed to have been extended, issued, and made in good faith and for legitimate business

purposes. The execution, delivery, and performance by the Debtors or the Reorganized Debtors,

as applicable, of any of the GUC Note Documents, and any agreements related thereto and

compliance by the Debtors or the Reorganized Debtors, as applicable, with the terms thereof, is

authorized by, and will not conflict with, the terms of the Plan or this Order.

        UU.     Exit Intercreditor Agreement

        82.     The terms and conditions of the Exit Intercreditor Agreement (which shall be

consistent in all material respects with the terms set forth in the term sheet attached hereto as

Exhibit B, the “Exit ICA Term Sheet”), and the Debtors’ entry into the Exit Intercreditor

Agreement, including all actions, undertakings, and transactions contemplated thereby, are

essential elements of the Plan, necessary for Confirmation and Consummation of the Plan, critical

to the overall success and feasibility of the Plan, and in the best interests of the Debtors, the Estates,

and Holders of Claims and Interests. The Debtors have exercised reasonable business judgment

in determining to enter into the Exit Intercreditor Agreement and have provided adequate notice

thereof. The Exit ICA Term Sheet setting forth the material terms of the Exit Intercreditor

Agreement was negotiated in good faith and at arm’s-length among the Debtor, the Committee,

the A&R Credit Facility Agent, and Sunbelt, and the Exit Intercreditor Agreement is deemed to

have been extended, issued, and made in good faith and for legitimate business purposes. The

execution, delivery, and performance by the Debtors or the Reorganized Debtors, as applicable, of

the Exit Intercreditor Agreement, and any agreements related thereto and compliance by the

Debtors or the Reorganized Debtors, as applicable, with the terms thereof, is authorized by, and

will not conflict with, the terms of the Plan or this Order.




                                                   38
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 39 of 154




                                               Order

     BASED ON THE FOREGOING FINDINGS OF FACT AND CONCLUSIONS OF
LAW, IT IS ORDERED, ADJUDGED, DECREED, AND DETERMINED THAT:

        83.     Findings of Fact and Conclusions of Law. The above findings of fact and

conclusions of law, as well as any additional findings of fact and conclusions of law announced

by the Court at the Combined Hearing, are hereby incorporated in this Order.

        84.     Approval of the Disclosure Statement. The Disclosure Statement is approved in

all respects on a final basis pursuant to section 1125 of the Bankruptcy Code.

        85.     Confirmation of the Plan. The Plan, including (a) all modifications to the Plan

Filed with the Court prior to or during the Combined Hearing and (b) all documents incorporated

into the Plan through the Plan Supplement is approved in its entirety and CONFIRMED under

section 1129 of the Bankruptcy Code. All terms of the Plan and the Plan Supplement are

incorporated herein by reference and are an integral part of this Order. The failure to specifically

include or refer to any particular article, section, or provision of the Plan, the Plan Supplement, or

any related document in this Order does not diminish or impair the effectiveness or enforceability

of such article, section, or provision.

        86.     This Order approves the Plan Supplement, including the documents contained

therein, as they may be amended through and including the Effective Date in accordance with and

as permitted by the Plan. The terms of the Plan, the Plan Supplement, and the exhibits thereto are

incorporated herein by reference and are an integral part of this Order; provided that if there is any

direct conflict between the terms of the Plan (including the Plan Supplement) and the terms of this

Order, the terms of this Order shall control solely to the extent of such conflict.

        87.     Objections Overruled. All parties have had a full and fair opportunity to be heard

on all issues raised by the objections to final approval of the Disclosure Statement and



                                                 39
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 40 of 154




Confirmation of the Plan, and the objections have been fully and fairly litigated or resolved,

including by agreed-upon provisions as set forth in this Order.          All objections, responses,

statements, reservations of rights, and comments in opposition, if any, to final approval of the

Disclosure Statement or Confirmation of the Plan that have not been withdrawn, waived, settled,

or resolved prior to the Combined Hearing or otherwise resolved on the record of the Combined

Hearing or in this Order are hereby OVERRULED and DENIED on the merits, with prejudice.

All objections to entry of this Order or to the relief granted herein that were not timely filed and

served prior to the Objection Deadline are deemed waived and forever barred. All withdrawn

objections are deemed withdrawn with prejudice.

       88.     Headings. Headings utilized herein are for convenience and reference only and do

not constitute a part of the Plan or this Order for any other purpose.

       89.     Plan Modifications. The Plan includes certain modifications made after the

Debtors solicited approval from Holders of Claims entitled to vote (the “Plan Modifications”).

The Plan Modifications do not materially adversely affect the treatment of any Claim or Interest

under the Plan. After giving effect to the Plan Modifications, the Plan continues to satisfy the

requirements of sections 1122 and 1123 of the Bankruptcy Code. The Debtors provided due and

sufficient notice of the Plan Modifications under the circumstances. Accordingly, pursuant to

section 1127(a) of the Bankruptcy Code and Bankruptcy Rule 3019, the Plan Modifications do not

require additional disclosure under section 1125 of the Bankruptcy Code or resolicitation of votes

under section 1126 of the Bankruptcy Code, nor do they require that Holders of Claims or Interests

be afforded an opportunity to change previously cast acceptances or rejections of the Plan.

       90.     Deemed Acceptance of Plan. In accordance with section 1127 of the Bankruptcy

Code and Bankruptcy Rule 3019, Holders of Claims who voted to accept the Plan or who are




                                                 40
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 41 of 154




conclusively presumed to accept the Plan are deemed to have accepted the Plan. No Holder of a

Claim shall be permitted to change its vote as a consequence of the Plan Modifications.

        91.     No Action Required. Under the provisions of the Delaware General Corporation

Law, including section 303 thereof, and the comparable provisions of the Delaware Limited

Liability Company Act, the Texas Business Organizations Code (including section 101.866

thereof), section 1142(b) of the Bankruptcy Code, and any other comparable provisions under

applicable law, no action of the respective directors, equity holders, managers, or members of the

Debtors is required to authorize the Debtors to enter into, execute, deliver, file, adopt, amend,

restate, consummate, or effectuate, as the case may be, the Plan, the Restructuring Transactions,

and any contract, assignment, certificate, instrument, or other document to be executed, delivered,

adopted, or amended in connection with the implementation of the Plan.

        92.     Binding Effect. Pursuant to Article XII.A of the Plan, and notwithstanding

Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the occurrence of the Effective

Date, the terms of the Plan, the Plan Supplement, and this Order shall be immediately effective

and enforceable and deemed binding upon the Debtors, the Reorganized Debtors, and any and all

Holders of Claims and Interests (irrespective of whether Holders of such Claims or Interests voted

or are deemed to have accepted the Plan, voted or are deemed to have rejected the Plan, or failed

to vote to accept or reject the Plan), all Entities that are parties to or are subject to the settlements,

compromises, releases, discharges, and injunctions described in the Plan, each Entity acquiring

property under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired

Leases with the Debtors or the Reorganized Debtors, as applicable. All Claims and Interests shall

be as fixed, adjusted, or compromised, as applicable, pursuant to the Plan and this Order, regardless

of whether any such Holder of a Claim or Interest has voted on the Plan. Pursuant to section




                                                   41
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 42 of 154




1142(a) of the Bankruptcy Code, the Plan, the Plan Supplement, and this Order shall apply and be

enforceable notwithstanding any otherwise applicable non-bankruptcy law.

        93.     Incorporation by Reference. The terms and provisions of the Plan, the Plan

Supplement, all other relevant and necessary documents, and each of the foregoing’s schedules

and exhibits are, on and after the Effective Date, incorporated herein by reference and are an

integral part of this Order.

        94.     Vesting of Assets in the Reorganized Debtors. Except as otherwise provided in

the Plan, this Order, or any agreement, instrument, or other document incorporated herein, on the

Effective Date, all property in each Estate, all Causes of Action, and any property acquired by any

of the Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor, free and clear

of all Liens, Claims, charges, Causes of Action, or other encumbrances. On and after the Effective

Date, except as otherwise provided in the Plan or this Order, each Reorganized Debtor may operate

its business and may use, acquire, or dispose of property and compromise or settle any Claims,

Interests, or Causes of Action without supervision or approval by the Court and free of any

restrictions of the Bankruptcy Code or Bankruptcy Rules.

        95.     Cancellation of Existing Agreements and Interests. On the Effective Date,

except with respect to the A&R Credit Facility, the Sunbelt Promissory Note, the GUC Promissory

Notes, the GUC Note Documents, the Parent Capital Contribution, the Zachry Interests, the

Prepetition Intercreditor Agreement, the Exit Intercreditor Agreement, the GPX Settlement

Documents, the GPX L/C (subject to Article IV.B of the Plan), the GPX Parent Guarantee (subject

to Article IV.B of the Plan), all Employee Obligations assumed pursuant to Article IV.L of the

Plan, all Indemnification Obligations assumed pursuant to Article IV.M of the Plan, and all

Executory Contracts and Unexpired Leases assumed pursuant to Article V.A of the Plan, or to the




                                                42
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 43 of 154




extent otherwise provided in the Plan or this Order, all notes, instruments, certificates, and other

documents evidencing Claims or Interests, including credit agreements and indentures, shall be

cancelled and the obligations of the Debtors and any non-Debtor Affiliate thereunder or in any

way related thereto shall be deemed satisfied in full, cancelled, discharged, and of no force or

effect. Holders of, or parties to, such cancelled instruments, securities, and other documentation

will have no rights arising from or relating to such instruments, securities, and other

documentation, or the cancellation thereof, except the rights, distributions, and treatment provided

for pursuant to the Plan.

       96.     Notwithstanding the preceding paragraph, any credit agreement or other instrument

that governs the rights, claims, and remedies of the Holder of a Claim shall continue in full force

and effect for the limited purposes of allowing Holders of Allowed Claims to receive distributions

under the Plan and permitting the Reorganized Debtors and any other distribution agent, as

applicable, to make distributions on account of the applicable Claims.

       97.     On the Effective Date, each holder of a certificate or instrument evidencing a Claim

or Interest that is discharged by the Plan shall be deemed to have surrendered such certificate or

instrument in accordance with the applicable indenture or agreement that governs the rights of

such holder of such Claim or Interest. Such surrendered certificate or instrument shall be deemed

cancelled as set forth in, and subject to the exceptions set forth in, Article IV.I of the Plan.

       98.     Organizational Documents. On the Effective Date, the Reorganized Debtors shall

be deemed to adopt and re-affirm the Organizational Documents without any further action, notice,

or approval. The Reorganized Debtors shall be authorized to adopt any agreements, documents,

and instruments, and to take any other action contemplated under the Plan as necessary to

consummate the Plan. To the extent any Organizational Document is modified in connection with




                                                  43
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 44 of 154




Consummation of the Plan, each Reorganized Debtor, as applicable, will file such Organizational

Document with the applicable Secretary of State and/or other applicable authorities in its

respective state, province, or country of incorporation in accordance with the corporate laws of the

respective state, province, or country of incorporation to the extent such filing is required for each

such document. The Organizational Documents shall prohibit the issuance of non-voting Equity

Securities to the extent required under section 1123(a)(6) of the Bankruptcy Code. After the

Effective Date, each Reorganized Debtor may amend and restate its constituent and governing

documents as permitted by the laws of its jurisdiction of formation and the terms of such

documents.

       99.     Effectiveness of All Actions. All actions contemplated by the Plan and the Plan

Supplement are hereby effective and authorized to be taken on, prior to, or after the Effective Date,

as applicable, under this Order, without further application to, or order of the Court, or further

action by the respective officers, directors, managers, members, or equity holders of the Debtors

or the Reorganized Debtors and with the effect that such actions had been taken by the unanimous

action, consent, approval and vote of each of such officers, directors, managers, members, or equity

holders.

       100.    Restructuring Transactions. The Restructuring Transactions set forth in the Plan

are hereby approved and authorized in all respects. After the Confirmation Date, the Debtors or

Reorganized Debtors, the GUC Note Administrative Agent, or the GUC Note Collateral Agent, as

applicable, are authorized to consummate the Restructuring Transactions and may take all actions

as may be necessary or appropriate to effect any transaction described in, approved by,

contemplated by, or necessary to effectuate the Plan that are consistent with and pursuant to the

terms and conditions of the Plan. Any transfers of assets or equity interests effected, or any




                                                 44
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 45 of 154




obligations incurred through the Restructuring Transactions are hereby approved and shall not

constitute fraudulent conveyances or fraudulent transfers or otherwise be subject to avoidance.

       101.    Distributions. The procedures governing distributions contained in Article VI of

the Plan shall be, and hereby are, approved in their entirety.

       102.    Contingent, Unliquidated, and Disputed Claims. The procedures for resolving

contingent, unliquidated, and disputed claims contained in Article VII of the Plan shall be, and

hereby are, approved in their entirety. For the avoidance of doubt, no distributions shall be made

on account of any Claim under the Plan, including any contingent, unliquidated, or other Disputed

Claim, unless and until such Claim becomes Allowed in accordance with Article VII of the Plan.

       103.    Claims Register. Any Claim or Interest or any Claim or Interest that has been

paid, satisfied, amended, compromised, settled, or superseded may be adjusted or expunged on the

Claims Register by the Debtors or the Reorganized Debtors without the Debtors or the

Reorganized Debtors having to file an application, motion, complaint, objection, or any other legal

proceeding seeking to object to such Claim or Interest without any further notice to or action,

order, or approval of the Court.

       104.    A&R Credit Facility. On the Effective Date, the Reorganized Debtors shall enter

into the A&R Credit Facility, the terms of which will be set forth in the A&R Credit Facility

Documents. Confirmation of the Plan pursuant to this Order shall be deemed final approval of

each of the A&R Credit Facility, the A&R Credit Facility Documents, all transactions

contemplated thereby, and all actions to be taken, undertakings to be made, and obligations to be

incurred by the Reorganized Debtors in connection therewith, including the payment of all fees,

indemnities, expenses, and other payments provided for therein and authorization for the

Reorganized Debtors to enter into and execute the A&R Credit Facility Documents, and such other




                                                 45
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 46 of 154




documents as may be required to effectuate the A&R Credit Facility. Effectiveness of the A&R

Credit Agreement shall be deemed to bind all Holders of Prepetition Credit Facility Claims and all

A&R Credit Facility Lenders as if each such Holder or A&R Credit Facility Lender had executed

the A&R Credit Facility Agreement with appropriate authorization.

         105.   Sunbelt Promissory Note. On the Effective Date, the Reorganized Debtors shall

issue the Sunbelt Promissory Note. Confirmation of the Plan pursuant to this Order shall be

deemed final approval of the Sunbelt Promissory Note, all transactions contemplated thereby, and

all actions to be taken, undertakings to be made, and obligations to be incurred by the Reorganized

Debtors in connection therewith, and authorization for the Reorganized Debtors to enter into and

execute the Sunbelt Promissory Note, and such other documents as may be required to effectuate

the Sunbelt Promissory Note.

         106.   GUC Promissory Notes. On the Effective Date, the Reorganized Debtors shall

enter into the GUC Note Documents and issue the GUC Promissory Notes. The Reorganized

Debtors shall issue additional GUC Promissory Notes from time to time after the Effective Date

for the benefit of Holders of General Unsecured Claims in accordance with the Plan as and to the

extent such Claims are Allowed. Confirmation of the Plan pursuant to this Order shall be deemed

final approval of each of the GUC Promissory Notes, the GUC Note Purchase Agreement, the

GUC Note Documents, all transactions contemplated thereby, and all actions to be taken,

undertakings to be made, and obligations to be incurred by the Reorganized Debtors in connection

therewith, including the payment of all fees, indemnities, expenses, and other payments provided

for therein and authorization for the Reorganized Debtors to enter into and execute the GUC Note

Documents, and such other documents as may be required to effectuate the GUC Promissory

Notes.




                                                46
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 47 of 154




       107.    Collateral. On the Effective Date, all of the Liens and security interests to be

granted in accordance with the A&R Credit Facility Documents, Sunbelt Promissory Note, and

GUC Note Documents shall: (a) be deemed to be granted; (b) be legal, binding, and enforceable

Liens on, and security interests in, the collateral granted thereunder in accordance with the terms

of the A&R Credit Facility Documents, the Sunbelt Promissory Note, the GUC Note Documents,

and the Exit Intercreditor Agreement, as applicable; (c) be deemed automatically perfected on the

Effective Date, subject only to such Liens and security interests as may be permitted under the

A&R Credit Facility Documents, the Sunbelt Promissory Note, the GUC Note Documents, and

the Exit Intercreditor Agreement, as applicable; and (d) not be subject to recharacterization or

equitable subordination for any purposes whatsoever and shall not constitute preferential transfers

or fraudulent conveyances under the Bankruptcy Code or any applicable non-bankruptcy law. The

Reorganized Debtors and the Persons and Entities granted such Liens and security interests shall

be authorized to make all filings and recordings, and to obtain all governmental approvals and

consents necessary to establish and perfect such Liens and security interests under the provisions

of the applicable state, federal, or other law that would be applicable in the absence of the Plan

and the Order (it being understood that perfection shall occur automatically by virtue of the entry

of the Order and any such filings, recordings, approvals, and consents shall not be required), and

will thereafter cooperate to make all other filings and recordings that otherwise would be necessary

under applicable law to give notice of such Liens and security interests to third parties.

       108.    Zachry Interests. On the Effective Date, Zachry Interests shall be Reinstated on

the Effective Date, and the legal, equitable, and contractual rights to which Holders of Zachry

Interests are entitled shall remain unaltered as provided in the Organizational Documents.




                                                 47
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 48 of 154




       109.    Effectuating Documents; Further Transactions. On and after the Effective Date,

the Reorganized Debtors, and their respective officers and boards of directors and managers, are

authorized to and may issue, execute, deliver, file, or record such contracts, Securities, instruments,

releases, and other agreements or documents and take such actions as may be necessary to

effectuate, implement, and further evidence the terms and conditions of the Plan the name of and

on behalf of the Reorganized Debtors without the need for any approvals, authorization, or

consents except for those expressly required pursuant to the Plan.

       110.    Non-Voting Equity Securities. The Debtors are not issuing new equity securities,

and all Interests are not impaired and are being Reinstated under the Plan, thereby satisfying

section 1123(a)(6) of the Bankruptcy Code.

       111.    Compromise of Controversies. In consideration for the distributions and other

benefits, including releases, provided under the Plan, the provisions of the Plan constitute a good

faith compromise and settlement of all Claims, Interests, and controversies resolved under the

Plan, including with respect to General Unsecured Claims and GPX Claims as set forth in the Plan,

and the entry of this Order constitutes approval of such compromises and settlements under section

1123 of the Bankruptcy Code and Bankruptcy Rule 9019.

       112.    GPX Settlement. This Court approved the GPX Settlement on a final basis in the

GPX Final Settlement Order. The terms of the GPX Settlement, as approved by the GPX Final

Settlement Order, are incorporated into, and are an integral part of, the Plan and this Order. The

GPX Settlement Parties shall comply with the terms of the GPX Settlement Documents through

and following the Effective Date, and the terms of the GPX Settlement and the GPX Settlement

Documents remain binding on the GPX Settlement Parties and, as applicable, the A&R Credit

Facility Agent and A&R Credit Facility Lenders.




                                                  48
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 49 of 154




       113.    GPX Excess Claims Stipulation. The terms of the GPX Excess Claims Stipulation

are fair, equitable, within the range of reasonableness, and in the best interests of the Debtors, their

Estates, and all vendors and subcontractors asserting Claims related to the GPX Project. Entry of

this Order shall constitute the entry of an order approving the GPX Excess Claims Stipulation, and

each term and agreement set forth therein in their entirety, under section 1123 of the Bankruptcy

Code and Bankruptcy Rule 9019. The GPX Excess Claims Stipulation, including each paragraph

therein, is incorporated by reference into this paragraph and Order as if set forth fully herein, and

is an integral part of the Plan and this Order.

       114.    For the avoidance of doubt, and as set forth in the GPX Excess Claims Stipulation,

(i) the Debtors and Golden Pass shall not seek recovery from each other on account of any potential

claims related to the GPX Project other than as set forth in the GPX Excess Claims Stipulation;

(ii) the Debtors have no payment obligations, liability, or any other responsibility with respect to

any GPX Claims identified on Schedule 1 to the GPX Excess Claims Stipulation or any Payable

GPX Claims (as defined in the GPX Excess Claims Stipulation) identified on Schedule 2,

Schedule 3, or Schedule 4 to the GPX Excess Claims Stipulation, except to the extent any GPX

Claim not listed on the Schedules to the GPX Excess Claims Stipulation becomes an Allowed

Claim or is Allowed in an amount higher than the amounts set forth on the Schedules through the

Debtors’ proof of claim resolution process in the Court, in which case the Debtors shall resolve

and satisfy such Claims (in the amount that is higher than the amount in the Schedules, if any)

pursuant to the terms of the Plan; (iii) Golden Pass has no further liability, obligation, or

responsibility whatsoever under the GPX Settlement or any applicable agreement or law with

respect to any Claims filed or scheduled in the Debtors’ bankruptcy cases, including without

limitation, any Allowed Claims, other than the Payable GPX Claims in the amounts identified on




                                                  49
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 50 of 154




Schedule 2, Schedule 3; and Schedule 4 to the GPX Excess Claims Stipulation; (iv) other than the

Payable GPX Claims, all GPX Claims have been resolved and satisfied as of entry of this Order

and are subject to each of the release, discharge, and injunctive relief provisions in the Plan,

including as set forth in Articles IV and VIII of the Plan, and Golden Pass shall have no further

liability, obligation, or responsibility whatsoever with respect to such claims; (v) upon Golden

Pass’s payment of the Payable GPX Claims in the amounts set forth in Schedule 2, Schedule 3,

and Schedule 4 to the GPX Excess Claims Stipulation, the Payable GPX Claims will be deemed

fully satisfied and subject to each of the release, discharge, and injunctive relief provisions in the

Plan, including as set forth in Articles IV and VIII of the Plan, and Golden Pass shall have no

further liability, obligation, or responsibility whatsoever with respect to such claims; (vi) Chiyoda,

CB&I, and the current Chiyoda-CB&I joint venture on the GPX Project (“CCJV-GPX”) shall

have no further liability, obligation, or responsibility whatsoever with respect to GPX Claims

satisfied by Golden Pass; and (vii) all release, discharge, and injunctive relief provisions in the

Plan related to GPX Claims are approved as set forth herein and the Plan for the benefit of the

Debtors, Golden Pass, and their Related Parties.

       115.    Consistent with the terms of the GPX Excess Claims Stipulation, upon entry of this

Order and occurrence of the Effective Date of the Plan that incorporates, approves, and implements

the stipulations and schedules of the GPX Excess Claims Stipulation, the GPX L/C and Parent

Guarantee (as defined in the GPX Settlement Term Sheet) shall be deemed automatically reduced

to the amount of the GPX L/C Scheduled Draws less the amount of the February 1, 2025 GPX L/C

Scheduled Draw already paid by the Debtors in Cash pursuant to that certain letter agreement dated

January 31, 2025, without any further notice to or action, order, or approval by any Entity or this

Court. The Reorganized Debtors may pay any future GPX L/C Scheduled Draws in Cash subject




                                                 50
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 51 of 154




to the terms of the GPX Excess Claims Stipulation. The Reorganized Debtors shall pay the Excess

Claims Amount (as defined in the GPX Excess Claims Stipulation) in Cash on or before August

1, 2026, which shall be an obligation solely of the Debtors (and their successors) and no other

party. The Reorganized Debtors, Golden Pass, and the Prepetition Credit Facility Agent are

authorized to execute all agreements and other documents, and to take any other ministerial

actions, as may be necessary to effectuate the terms of this paragraph. Notwithstanding anything

to the contrary herein or in any A&R Credit Facility Documents, the terms of the GPX Settlement

with respect to the GPX L/C are modified solely as expressly set forth in the GPX Excess Claims

Stipulation and incorporated in this paragraph.

       116.    Notwithstanding anything to the contrary in this Order, the Plan, the Plan

Supplement, the Disclosure Statement, the Restructuring Transactions, or other related Plan

documents (the “Plan Documents”), the terms of the GPX Excess Claims Stipulation shall not

impair or affect any rights of and between Golden Pass, Chiyoda, CB&I, or the CCJV-

GPX unrelated to GPX Claims satisfied, released, or otherwise resolved by the GPX Settlement,

the GPX Excess Claims Stipulation, or the Plan.

       117.    For the avoidance of doubt, Golden Pass is not a Releasing Party under the Plan

other than with respect to the Debtors and the Debtors’ Related Parties consistent with the GPX

Settlement.

       118.    Release, Exculpation, Discharge, Injunction, and Related Provisions. The

release, exculpation, discharge, injunction, and related provisions embodied in the Plan, including

those contained in Article VIII.A–H of the Plan shall be, and hereby are, approved and authorized

in their entirety and shall be effective and binding on all Persons and Entities, to the extent provided

in the Plan, without further order or action by the Court.




                                                  51
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 52 of 154




        119.    Debtor Release. Entry of this Order shall constitute the Court’s approval of the

Debtor Release, including by reference each of the related provisions and definitions contained in

the Plan, and, further, shall constitute the Court’s finding that the Debtor Release is: (a) consensual

on the part of the Releasing Parties; (b) essential to the Confirmation of the Plan; (c) given in

exchange for good and valuable consideration provided by the Released Parties, including the

payment in full of all General Unsecured Claims pursuant to the terms of the Plan; (d) a good-faith

settlement and compromise of the Claims and Causes of Action released by the Debtor Release;

(e) in the best interests of the Debtors and their Estates; (f) fair, equitable, and reasonable; (g) given

and made after due notice and opportunity for hearing; and (h) a bar to any of the Debtor Releasing

Parties asserting any Claim or Cause of Action released pursuant to the Debtor Release against a

Released Party.

        120.    Notwithstanding anything to the contrary in Article VIII.C of the Plan, the Debtors

shall maintain all rights to object to Filed Claims and shall not release any claims or Causes of

Action (i) identified on the Schedule of Retained Causes of Action, or (ii) related to the GPX

Settlement that are preserved by the GPX Settlement Documents, the GPX Settlement Dispute

Opinion, or the GPX Settlement Dispute Order. Upon entry of this Order, any and all such rights,

claims, and Causes of Action set forth in this paragraph 120 and Article VIII.C shall be fully

preserved and revest in the Reorganized Debtors pursuant to the Plan and this Order.

        121.    Third-Party Release. Entry of this Order shall constitute the Court’s approval of

the Third-Party Release, including by reference each of the related provisions and definitions

contained in the Plan, and, further, shall constitute the Court’s finding that the Third-Party Release

is: (a) consensual on the part of the Releasing Parties; (b) essential to the Confirmation of the Plan;

(c) given in exchange for good and valuable consideration provided by the Released Parties,




                                                   52
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 53 of 154




including the payment in full of all General Unsecured Claims pursuant to the terms of the Plan;

(d) a good-faith settlement and compromise of the Claims and Causes of Action released by the

Third-Party Release; (e) in the best interests of the Debtors and their Estates; (f) fair, equitable,

and reasonable; (g) given and made after due notice and opportunity for hearing; and (h) a bar to

any of the Releasing Parties asserting any Claim or Cause of Action against a Released Party. As

set forth on the record at the Combined Hearing and in Article I.A.128.n of the Plan, each Related

Party of a Releasing Party shall be a Releasing Party solely to the extent an applicable principal

Releasing Party is legally entitled to bind such Related Party to the releases contained in the Plan

under applicable law.

       122.    Treatment of Executory Contracts and Unexpired Leases.                   Pursuant to

sections 365 and 1123(b)(2) of the Bankruptcy Code, upon the occurrence of the Effective Date,

the Plan provides for the assumption or rejection of certain Executory Contracts and Unexpired

Leases. The provisions governing the treatment of Executory Contracts and Unexpired Leases set

forth in Article V of the Plan are hereby approved in their entirety. The Debtors’ determinations

regarding the assumption or rejection of Executory Contracts and Unexpired Leases are based on

and within the sound business judgment of the Debtors, are necessary to the implementation of the

Plan and are in the best interests of the Debtors, their Estates, Holders of Claims or Interests, and

other parties in interest in these Chapter 11 Cases.

       123.    Assumption and Assignment of Contracts and Leases. On the Effective Date,

each Executory Contract and Unexpired Lease shall be deemed assumed, unless such Executory

Contract and Unexpired Lease: (1) is identified on the Rejection List; (2) previously expired or

terminated pursuant to its own terms; (3) was previously assumed or rejected by the Debtors,

including pursuant to the GPX Settlement; (4) is the subject of a motion or notice to reject pending




                                                 53
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 54 of 154




as of the Effective Date; or (5) has an effective date of rejection that is after the Effective Date,

without the need for any further notice to or action, order, or approval of the Court, under section

365 of the Bankruptcy Code and the payment of Cure Claims, if any, shall be paid in accordance

with Article V.C of the Plan. The assumption of Executory Contracts and Unexpired Leases

hereunder may include the assignment of certain of such contracts to Affiliates. Except as

otherwise provided in the Plan or agreed to by the Debtors and the applicable counterparty, each

assumed Executory Contract or Unexpired Lease shall include all amendments, assignments,

attachments, change orders, confidentiality agreements, exhibits, extensions, guaranties, hold

harmless agreements, modifications, restatements, revisions, schedules, side letters, supplements,

or other agreements related thereto, and all rights related thereto, if any, including all easements,

licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other

interests. Amendments, assignments, attachments, change orders, confidentiality agreements,

exhibits, extensions, guaranties, hold harmless agreements, modifications, restatements, revisions,

schedules, side letters, and supplements to prepetition Executory Contracts and Unexpired Leases

that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter

the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority, or

amount of any Claims that may arise in connection therewith.

       124.    The provisions governing the treatment of Executory Contracts and Unexpired

Leases set forth in Article V of the Plan (including the procedures regarding the resolution of any

and all disputes concerning the assumption and assignment, as applicable, of such Executory

Contracts and Unexpired Leases) shall be, and hereby are, approved in their entirety. For the

avoidance of doubt, if there is any dispute regarding any Cure Claim, the ability of the Reorganized

Debtors or any assignee to provide “adequate assurance of future performance” within the meaning




                                                 54
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 55 of 154




of section 365 of the Bankruptcy Code, or any other matter pertaining to assumption, and if such

dispute is not resolved in a manner acceptable to the Reorganized Debtors in their sole discretion,

the Reorganized Debtors shall have the right to add the applicable Executory Contract or

Unexpired Lease to the Rejection List, in which case such Executory Contract or Unexpired Lease

shall be deemed rejected as of the Effective Date and no Cure Claim shall be owed in respect of

such Executory Contract or Unexpired Lease. The Reorganized Debtors may determine to add an

Executory Contract or Unexpired List to the Rejection List pursuant to this paragraph before or

after the Court rules on any dispute regarding any Cure Claim, the ability of the Reorganized

Debtors or any assignee to provide “adequate assurance of future performance” within the meaning

of section 365 of the Bankruptcy Code, or any other matter pertaining to assumption. Following

the resolution of any dispute regarding any Cure Claim, provided that the Reorganized Debtors do

not elect to add the applicable Executory Contract or Unexpired Lease to the Rejection List,

payment of the Cure Claim shall occur as soon as reasonably practicable after entry of a Final

Order resolving such dispute or as may be agreed by the Reorganized Debtors and the counterparty

to the Executory Contract or Unexpired Lease.

       125.    Nothing in this Order or in any notice or any other document is or shall be deemed

an admission by the Debtor or Reorganized Debtors that any assumed contract is an executory

contract or unexpired lease under section 365 of the Bankruptcy Code.

       126.    Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or

otherwise and full payment of any applicable Cure Claim pursuant to Article V.C of the Plan shall

result in the full release and satisfaction of any Cure Claims, Claims, or defaults, whether monetary

or nonmonetary, including defaults of provisions restricting the change in control or ownership

interest composition or other bankruptcy-related defaults, arising under any assumed Executory




                                                 55
        Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 56 of 154




Contract or Unexpired Lease at any time prior to the effective date of assumption. Any and all

Proofs of Claim based upon Executory Contracts or Unexpired Leases that have been assumed in

the Chapter 11 Cases, including pursuant to this Order, and for which any Cure Claim has been

fully paid pursuant to Article V.C of the Plan, shall be deemed Disallowed and expunged as of

the Effective Date without the need for any objection thereto or any further notice to or action,

order, or approval of the Court.

         127.   All Claims for damages resulting from the rejection of an Executory Contract or

Unexpired Lease shall be asserted in accordance with Article V.B of the Plan and shall be treated

as General Unsecured Claims pursuant to Article III.C of the Plan and may be objected to in

accordance with the provisions of Article VII of the Plan and the applicable provisions of the

Bankruptcy Code and Bankruptcy Rules. The Reorganized Debtors shall reconcile all Claims for

damages resulting from the rejection of an Executory Contract or Unexpired Lease after the

deadline to file such Claims has expired, and may object to any such Claims as set forth in the

Plan.

         128.   Deferred Compensation Plan and Other Employee Obligations. Subject to

Article V of the Plan, all written employment, confidentiality, non-competition agreements,

bonus, gainshare and incentive programs, discretionary bonus plans or variable incentive plans

regarding payment of a percentage of annual salary based on performance goals and financial

targets for certain employees, vacation, holiday pay, severance, retirement, retention, supplemental

retirement, executive retirement, pension, deferred compensation (including the Deferred

Compensation     Plan),   indemnification,   other   similar   employee-related    agreements    or

arrangements, retirement income plans, medical, dental, vision, life and disability insurance,

flexible spending account, and other health and welfare benefit plans, programs, and arrangements,




                                                56
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 57 of 154




and collective bargaining agreements that are in effect immediately prior to the Effective Date with

the Debtors, shall be assumed by the Debtors and shall remain in place as of the Effective Date,

and the Reorganized Debtors will continue to honor such agreements, arrangements, programs,

and plans as of the Effective Date, unless otherwise: (i) provided in the Plan or this Order, (ii)

specifically rejected pursuant to a separate order of this Court, (iii) specifically designated as a

contract or lease to be rejected on the Rejection List, or (iv) specifically identified in a separate

rejection motion Filed by the Debtors. For the avoidance of doubt, the Debtors’ assumption of all

obligations related to the Deferred Compensation Plan shall include any amounts due and owing

to participants that have accrued under the Deferred Compensation Plan following the Petition

Date.

        129.   The Debtors’ assumption of such compensation and benefits plans, including the

Deferred Compensation Plan, pursuant to the terms of this Plan shall be deemed not to trigger any

applicable change of control, immediate vesting, termination, or similar provisions in any

applicable plan or program, or an event of “Good Reason” (or a term of like import), in each case

as a result of the consummation of the Restructuring Transactions. No counterparty shall have

rights under a compensation and benefit plan or program, including the Deferred Compensation

Plan, assumed pursuant to the Plan other than those applicable immediately prior to such

assumption.

        130.   Nothing in the Plan or this Order shall limit, diminish, or otherwise alter the

Reorganized Debtors’ defenses, claims, Causes of Action, or other rights with respect to any such

contracts, agreements, policies, programs, and plans. For the avoidance of doubt, pursuant to

section 1129(a)(13) of the Bankruptcy Code, as of the Effective Date, all retiree benefits (as such




                                                 57
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 58 of 154




term is defined in section 1114 of the Bankruptcy Code), if any, shall continue to be paid in

accordance with applicable orders of this Court and applicable law.

       131.    Indemnification. All indemnification provisions in place as of the Effective Date

(whether in the bylaws, certificates of incorporation or formation, limited liability company

agreements, limited partnership agreements, other organizational documents, board resolutions,

indemnification agreements, employment contracts, or otherwise) for (each in their capacities as

such) the current and former members of any Governing Body, directors, officers, managers,

employees, attorneys, accountants, investment bankers, financial advisors, restructuring advisors,

consultants, other professionals of, or acting on behalf of, the Debtors, and the Sureties, as

applicable, shall be Reinstated and remain intact, irrevocable, and shall survive the Effective Date

on terms no less favorable to such current members of any Governing Body, directors, officers,

managers, employees, attorneys, accountants, investment bankers, other professionals of, or acting

on behalf of, the Debtors, and the Sureties, as provided under the indemnification obligations in

place prior to the Effective Date; provided, however, nothing in the Plan or this Order shall expand

any of the Debtors’ indemnification obligations in place as of the Petition Date.

       132.    Compliance with Tax Requirements. Each Holder of an Allowed Claim or

Interests that is to receive a distribution under the Plan shall have the sole and exclusive

responsibility for the satisfaction and payment of any tax obligations imposed by any

Governmental Unit, including income, withholding, and other tax obligations, on account of such

distribution. In connection with the Plan, to the extent applicable, the Debtors, the Reorganized

Debtors, the Distribution Agent, and any applicable withholding agent shall comply with all tax

withholding and reporting requirements imposed on them by any Governmental Unit, and all

distributions made pursuant to the Plan shall be subject to such withholding and reporting




                                                58
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 59 of 154




requirements. Notwithstanding any provision in the Plan to the contrary, the Debtors, the

Reorganized Debtors, the Distribution Agent, and any applicable withholding agent, as applicable,

are authorized to take all actions necessary or appropriate to comply with applicable withholding

and reporting requirements, including liquidating a portion of the distribution to be made under

the Plan to generate sufficient funds to pay applicable withholding taxes, withholding distributions

pending receipt of information necessary to facilitate such distributions, or establishing any other

mechanisms they believe are reasonable and appropriate. The Debtors and the Reorganized

Debtors reserve the right to allocate all distributions made under the Plan in compliance with all

applicable wage garnishments, alimony, child support, and similar spousal awards, Liens, and

encumbrances.

       133.     Exemption from Transfer Taxes and Recording Fees. To the fullest extent

permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a Debtor to a

Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the

issuance, reinstatement, distribution, transfer, or exchange of any debt, Equity Security, or other

interest in the Debtors or the Reorganized Debtors; (2) the Restructuring Transactions; (3) the

creation, modification, consolidation, termination, refinancing, and/or recording of any mortgage,

deed of trust, or other security interest, or the securing of additional indebtedness by such or other

means; (4) the making, assignment, or recording of any lease or sublease; (5) the grant of collateral

as security for any or all of the A&R Credit Facility, the Sunbelt Promissory Note, or the GUC

Promissory Notes; (6) the issuance of the GUC Promissory Notes; (7) the issuance of the Sunbelt

Promissory Note; or (8) the making, delivery, or recording of any deed or other instrument of

transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,

assignments, or other instrument of transfer executed in connection with any transaction arising




                                                  59
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 60 of 154




out of, contemplated by, or in any way related to the Plan, shall not be subject to any document

recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate

transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory

filing or recording fee, or other similar tax or governmental assessment, and upon entry of the

Order, the appropriate state or local governmental officials or agents shall forego the collection of

any such tax or governmental assessment and accept for filing and recordation any of the foregoing

instruments or other documents without the payment of any such tax, recordation fee, or

governmental assessment. All filing or recording officers (or any other Person with authority over

any of the foregoing), wherever located and by whomever appointed, shall comply with the

requirements of section 1146(c) of the Bankruptcy Code, shall forego the collection of any such

tax or governmental assessment, and shall accept for filing and recordation any of the foregoing

instruments or other documents without the payment of any such tax or governmental assessment.

       134.    Documents, Mortgages, and Instruments. Each federal, state, commonwealth,

local, foreign, or other governmental agency is authorized to accept any and all documents,

mortgages, and instruments necessary or appropriate to effectuate, implement, or consummate the

Plan, including the Restructuring Transactions, and this Order.

       135.    Plan Supplement. Without further order or authorization of this Court, the

Debtors, Reorganized Debtors, and their successors are authorized and empowered to make all

modifications to all documents included as part of the Plan Supplement that are consistent with

the Plan, unless such modifications require relief under section 1127 of the Bankruptcy Code;

provided, however, that the Debtors shall obtain the consent of the Committee (which consent shall

not be unreasonably withheld) for any alternations, amendments, supplements, or modifications to

the Plan Supplement impacting the treatment of Holders of General Unsecured Claims under the




                                                 60
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 61 of 154




Plan. Execution versions of the documents comprising or contemplated by the Plan Supplement

shall constitute legal, valid, binding, and authorized obligations of the respective parties thereto,

enforceable in accordance with their terms and, to the extent applicable, shall create, as of the

Effective Date, all mortgages, Liens, deeds of trust, pledges, and security interests purported to be

created thereby.

       136.    Professional Compensation. All requests for payment of Professional Fee Claims

for services rendered and reimbursement of expenses incurred prior to the Confirmation Date must

be Filed no later than forty-five (45) days after the Effective Date. The Court shall determine the

Allowed amounts of such Professional Fee Claims after notice and a hearing in accordance with

the procedures established by the Court. The Reorganized Debtors shall pay Professional Fee

Claims in Cash in the amount the Court allows as soon as practicable after such Professional Fee

Claims are Allowed.

       137.    Upon the Confirmation Date, any requirement that Professionals comply with

sections 327 through 331, 363, and 1103 of the Bankruptcy Code in seeking retention or

compensation for services rendered after such date shall terminate, and the Debtors may employ

and pay any Professional in the ordinary course of business without any further notice to or action,

order, or approval of the Court.

       138.    Exemption from Securities Laws. To the extent applicable, the offer, sale,

issuance, and distribution of the A&R Credit Facility, GUC Promissory Notes, and Sunbelt

Promissory Note shall be exempt pursuant to section 1145 of the Bankruptcy Code from

registration under the Securities Act, and the instruments shall be freely transferable and resaleable

by non-affiliates of the Debtors and Reorganized Debtors, subject to any contractual limitations or

restrictions under applicable non-bankruptcy law.




                                                 61
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 62 of 154




        139.    Restructuring Expenses. The Claims for Restructuring Expenses incurred, or

estimated to be incurred, up to and including the Effective Date (or, with respect to necessary post-

Effective Date matters, after the Effective Date), shall be paid in full in Cash on the Effective Date

(to the extent not previously paid during the course of the Chapter 11 Cases) in accordance with,

and subject to, the terms set forth herein, without any requirement to File a fee application with

the Court, without the need for itemized time detail, or without any requirement for Court review

or approval. All Claims for Restructuring Expenses to be paid on the Effective Date shall be

estimated prior to and as of the Effective Date and such estimates shall be delivered to the Debtors

at least three (3) Business Days before the anticipated Effective Date; provided, however, that such

estimates shall not be considered an admission or limitation with respect to such Restructuring

Expenses. On the Effective Date, invoices for all Restructuring Expenses incurred prior to and as

of the Effective Date shall be submitted to the Debtors. After the Effective Date, the Debtors and

Reorganized Debtors (as applicable) shall continue to pay when due and payable in the ordinary

course of their business any unpaid Restructuring Expenses that were incurred on, before, or after

the Effective Date.

        140.    Term of Injunctions or Stays. Unless otherwise provided in the Plan or in this

Order, all injunctions or stays arising under or entered during these Chapter 11 Cases under

sections 105 and 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation

Date, shall remain in full force and effect until the later of the Effective Date and the date indicated

in the order providing for such injunction or stay.

        141.    Nonseverability of Plan Provisions Upon Confirmation.                 Each term and

provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing,

is: (a) valid and enforceable pursuant to its terms; (b) integral to the Plan and may not be deleted




                                                  62
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 63 of 154




or modified without the Debtors’ or Reorganized Debtors’ consent, as applicable; and (c) non-

severable and mutually dependent.

       142.    Post-Confirmation Modifications.        Without the need for further order or

authorization of the Court, the Debtors or the Reorganized Debtors, as applicable, are authorized

and empowered to make any and all modifications to any and all documents that are necessary to

effectuate the Plan that do not materially modify the terms of such documents and are consistent

with the Plan. The Debtors and the Reorganized Debtors expressly reserve their respective rights

to revoke or withdraw, or to alter, amend, or modify materially the Plan with respect to such

Debtors or Reorganized Debtors, one or more times after Confirmation, and any such alteration,

amendment, or modification shall be considered a modification of the Plan and shall be made in

accordance with section 1127 of the Bankruptcy Code, Bankruptcy Rule 3019, and Article X.A

of the Plan; provided, however, that the Debtors shall also obtain the consent of the Committee

(which consent shall not be unreasonably withheld) for any alterations, amendments, supplements,

or modifications to the Plan (including the Plan Supplement) impacting the treatment of Holders

of General Unsecured Claims under the Plan.

       143.    Notice of Entry of Confirmation and Effective Date.            In accordance with

Bankruptcy Rules 2002 and 3020(c), no later than seven (7) Business Days after the Effective

Date, the Reorganized Debtors shall file with the Court and serve by email and first class mail or

overnight delivery service a notice of the entry of this Order and occurrence of the Effective Date

(the “Effective Date Notice”) on all Holders of Claims and/or Interests and to all parties on the

Master Service List maintained by the Claims and Noticing Agent. Notwithstanding the above, no

Effective Date Notice or service of any kind shall be required to be mailed or made upon any Entity

to whom the Debtors mailed notice of the Combined Hearing, but received such notice returned




                                                63
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 64 of 154




marked “undeliverable as addressed,” “moved, left no forwarding address,” or “forwarding order

expired,” or similar reason, unless the Debtors have been informed in writing by such Entity, or

are otherwise aware, of that Entity’s new address. Mailing of the Effective Date Notice in the time

and manner set forth in this paragraph shall be good, adequate, and sufficient notice under the

particular circumstances and in accordance with the requirements of Bankruptcy Rules 2002 and

3020(c). No further notice of Confirmation of the Plan and the occurrence of the Effective Date

will be necessary.

       144.    Applicable Non-Bankruptcy Law. The provisions of this Order, the Plan, and

related documents, or any amendments or modifications thereto, shall apply and be enforceable

notwithstanding any otherwise applicable non-bankruptcy law.

       145.    Governmental Approvals Not Required.               This Order shall constitute all

approvals and consents required, if any, by the laws, rules, or regulations of any state, federal, or

other governmental authority with respect to the dissemination, implementation, or Consummation

of the Plan and the Disclosure Statement, any certifications, documents, instruments, agreements,

amendments, or modifications related thereto, and any other acts referred to in, or contemplated

by, the Plan, Plan Supplement, or Disclosure Statement.

       146.    Reporting.      Except as otherwise required under the A&R Credit Facility

Documents, the Sunbelt Promissory Note, or the GUC Note Documents, after entry of this Order,

the Debtors or Reorganized Debtors, as applicable, shall have no obligation to file with the Court,

serve on any parties, or otherwise provide any party with any other report that the Debtors or

Reorganized Debtors, as applicable, were obligated to provide under the Bankruptcy Code or any

order of the Court, including obligations to provide (a) any reports to any parties otherwise required

under the “first” and “second” day orders entered in these Chapter 11 Cases and (b) monthly




                                                 64
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 65 of 154




operating reports (even for those periods for which a monthly operating report was not filed before

the Confirmation Date, if any); provided that the Debtors and Reorganized Debtors, as applicable,

shall comply with the U.S. Trustee’s post-confirmation quarterly reporting requirements prior to

the closure of the applicable Chapter 11 Case.

       147.    Termination of Challenge Period. The Challenge Period (as defined in the Cash

Collateral Order) for all parties in interest shall be terminated as of the Effective Date, and the

stipulations, admissions, findings, and releases contained in the Cash Collateral Order at that time

shall be binding on the Debtors’ estates and all parties in interest.

       148.    Authorization to Consummate. The Debtors and the Reorganized Debtors, as

applicable, are authorized to consummate the Plan after the entry of this Order subject to

satisfaction or waiver of the conditions precedent to Consummation set forth in Article IX of the

Plan; provided, however, that if the Debtors seek any waiver (in whole or in part) of the conditions

precedent in Article IX.A.1 or Article IX.A.6, the Debtors shall obtain the consent of the

Committee.

       149.    Substantial Consummation. Consummation of the Plan, as defined in 11 U.S.C.

§ 1101(2), shall be deemed to occur on the Effective Date.

       150.    Failure of Consummation. Notwithstanding entry of this Order, if Consummation

does not occur, the Plan shall be null and void in all respects and nothing contained in the Plan or

the Disclosure Statement shall: (1) constitute a waiver or release of any claims by the Debtors or

by Holders of Claims or Interests; (2) prejudice in any manner the rights of the Debtors, any

Holders of Claims or Interests, or any other Entity; or (3) constitute an admission,

acknowledgment, offer, or undertaking by the Debtors, any Holders of Claims or Interests, or any

other Entity, respectively.




                                                  65
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 66 of 154




        151.    Reservation of Rights. Except as expressly set forth in the Plan, the Plan shall

have no force or effect if the Effective Date does not occur. None of the Filing of the Plan, any

statement or provision contained in the Plan, or the taking of any action by any Debtor with respect

to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed to be an

admission or waiver of any rights of any Debtor with respect to any Entity unless and until the

Effective Date has occurred.

        152.    References to and Omissions of Plan Provisions. References to articles, sections,

and provisions of the Plan are inserted for convenience of reference only and are not intended to

be a part of or to affect the interpretation of the Plan. The failure to specifically include or to refer

to any particular article, section, or provision of the Plan in this Order shall not diminish or impair

the effectiveness of such article, section, or provision, it being the intent of the Court that the Plan

be confirmed in its entirety, except as expressly modified herein, and incorporated herein by

reference.

        153.    Provisions Regarding Committee and Cessation of Fees and Expense Payment.

Article X.E of the Plan shall be replaced in its entirety with the following:

                On the Effective Date, the Committee shall dissolve automatically
                and members thereof shall be released and discharged from all rights
                and duties from or related to the Chapter 11 Cases, except with
                respect to (i) final fee applications of the Professionals asserting
                Professional Fee Claims, including any appeals in connection
                therewith, and/or (ii) for purposes of participating in any appeals of
                the Confirmation Order. The Reorganized Debtors shall no longer
                be responsible for paying any fees or expenses incurred after the
                Effective Date by the members of or advisors to the Committee,
                other than such fees and expenses incurred in connection with any
                appeals of the Confirmation Order.             Any reasonable and
                documented fees or expenses of the Committee or its advisors
                incurred between the Confirmation Date and the Effective Date (or
                after the Effective Date with respect to any appeals of the
                Confirmation Order) shall be paid by the Debtors or Reorganized




                                                   66
        Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 67 of 154




                Debtors, as applicable, without the necessity of the filing of a fee
                application for such fees and expenses.

         154.   Provisions Regarding Governmental Units. Nothing in the Plan or this Order

discharges, releases, precludes, or enjoins: (a) any liability to any Governmental Unit that is not a

Claim; (b) any Claim of a Governmental Unit arising on or after the Confirmation Date; (c) any

police or regulatory liability to a Governmental Unit on the part of any Entity as the owner,

permittee, or operator of property after the Confirmation Date; (d) any valid right of setoff or

recoupment of any Governmental Unit against any of the Debtors or Reorganized Debtors; or (e)

any liability to a Governmental Unit on the part of any Person or Entity other than the Debtors or

Reorganized Debtors. Nor shall anything in the Plan or this Order: (a) enjoin or otherwise bar a

Governmental Unit from asserting or enforcing, outside this Court, any liability described in the

preceding sentence; (b) divest any court, commission, or tribunal of jurisdiction to resolve any

matters relating to the liabilities and/or Claims set forth in this paragraph; (c) confer in this Court

jurisdiction over any matter over which it would not have jurisdiction under 28 U.S.C. § 1334; or

(d) authorize the transfer or assignment of any Governmental Unit license, permit, registration,

authorization, or approval, or the discontinuation of any obligation thereunder, without compliance

with all applicable legal requirements and approvals under police or regulatory law. Nothing in

this Order or the Plan shall affect any setoff or recoupment rights of any Governmental Unit.

Nothing in this Order divests any tribunal of any jurisdiction it may have under police or regulatory

law to interpret this Order or the Plan or to adjudicate any defense asserted under this Order or the

Plan.    The Debtors’ and Reorganized Debtors’ rights and defenses under applicable non-

bankruptcy law with respect to the foregoing are fully preserved. For the avoidance of doubt, the

term “Governmental Unit” includes federally recognized Indian tribes and applicable state taxing

authorities.



                                                  67
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 68 of 154




        155.     Provisions Regarding Texas State Taxing Authorities.                           Notwithstanding

anything to the contrary in the Plan Documents:

                 a.       The Claims of the Texas Comptroller of Public Accounts, Revenue
                          Accounting Division and the Texas Workforce Commission (together, the
                          “Texas State Taxing Authorities”) shall be reconciled by the Reorganized
                          Debtors and the Texas State Taxing Authorities in the ordinary course of
                          business following the Effective Date. Once any Claim by the Texas State
                          Taxing Authorities becomes an Allowed Claim under the Plan, the
                          Reorganized Debtors shall pay such Allowed Claim as an Other Priority
                          Claim, along with all accrued state statutory post-petition interest to the
                          extent owed under applicable state law, within 10 days of such Allowance.

                 b.       The setoff or recoupment rights of the Texas State Taxing Authorities shall
                          not be affected by confirmation of the Plan to the extent that such rights
                          relate to (1) a tax refund claim asserted after the Petition Date by any of the
                          Debtors, or (2) a tax return amended after the Petition Date by any of the
                          Debtors. Any setoff or recoupment right of the Texas State Taxing
                          Authorities as of the Petition Date shall not be affected by confirmation if a
                          Proof of Claim or motion filed by the Texas State Taxing Authorities has
                          asserted such right.

                 c.       Should a Debtor or Reorganized Debtor, as applicable, default on a payment
                          to a Texas State Taxing Authority under the terms of the Plan or this Order,
                          the applicable Texas State Taxing Authority shall provide the Debtors or
                          Reorganized Debtors and counsel of record with written notice of default
                          mailed and emailed per Article XII.H of the Plan. The Debtors or
                          Reorganized Debtors, as applicable, shall have twenty-one (21) days from
                          the date of the notice of default to cure the default, with failure to do so to
                          result in the applicable Texas State Taxing Authority being free to pursue
                          its state law remedies under the Texas Property Tax Code to collect the full
                          amount of taxes, penalties, and interest owed without further order of the
                          Court or notice to parties.

        156.     Provisions Regarding Texas Local Taxing Authorities.                           Notwithstanding

anything to the contrary in the Plan Documents, the claims of the Texas Local Taxing Authorities3


3
    For purposes of this Order, the term “Texas Local Taxing Authorities” shall refer to: Randall County Tax Office,
    Parmer County Appraisal District, Pasadena Independent School District, West Harris County Municipal Utility
    District, Alief Independent School District, Brazoria County Tax Office, City of Houston, Channelview
    Independent School District, Harris County Municipal Utility District 285, Maverick County, Sabine Pass
    Independent School District, Brazos County, Medina County, Bexar County, Cypress-Fairbanks Independent
    School District, Deer Park Independent School District, Eagle Pass Independent School District, Fort Bend
    County, Harris County Emergency Service District #09, Harris County Emergency Service District #48, Harris
    County Emergency Service District #60, City of Houston (where represented by Linebarger), Houston


                                                        68
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 69 of 154




shall be paid in full, along with all accrued state statutory post-petition interest at the rate of twelve

percent (12%) per annum to the extent owed under applicable state law, within 10 days of the

Effective Date. The Debtors or Reorganized Debtors shall pay all post-petition ad valorem tax

liabilities (tax year 2025 and subsequent tax years) owing to the Texas Local Taxing Authorities

in the ordinary course of business as such tax debt comes due and prior to said ad valorem taxes

becoming delinquent without the need of the Texas Local Taxing Authorities to file an

administrative expense claim and/or request for payment. The Texas Local Taxing Authorities

shall retain all statutory tax liens against property of the Debtors or Reorganized Debtors, whether

pre- or post-petition, until such outstanding taxes secured by a particular lien are fully paid. The

Texas Local Taxing Authorities’ lien priority shall not be primed or subordinated by any exit

financing approved by the Court in conjunction with the confirmation of the Plan or otherwise. In

the event that collateral that secures the claim of one or more of the Texas Local Taxing Authorities

is sold or returned to a creditor holding a lien that is junior to that of the Texas Local Taxing

Authorities, the Debtors shall first pay all ad valorem property taxes that are secured by such

collateral, to the extent that the Debtors are liable for such ad valorem property taxes under

applicable non-bankruptcy law. The Distribution Agent shall pay any Allowed Texas Local

Taxing Authority claim regardless of whether it does not meet any minimum threshold established

pursuant to the Plan or this Order.

        157.    Should a Debtor or Reorganized Debtor default on a payment to a Texas Local

Taxing Authority under the terms of the Plan or this Order, the applicable Texas Local Taxing




    Community College System, Houston Independent School District, Jefferson County, Katy Independent School
    District, Kenedy County, Kleberg County, Lone Star College System, Orange County, Nueces County and City
    of Pasadena.




                                                    69
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 70 of 154




Authority shall provide the Debtors or Reorganized Debtors and counsel of record with written

notice of default mailed and emailed per Article XII.H of the Plan. The Debtors or Reorganized

Debtors shall have twenty-one (21) days from the date of the notice of default to cure the default,

with failure to do so shall allow the applicable Texas Local Taxing Authority being free to pursue

its state law remedies under the Texas Property Tax Code to collect the full amount of taxes,

penalties, and interest owed without further order of the Court or notice to parties.

       158.    Provisions Regarding CPChem. Notwithstanding anything to the contrary in the

Plan Documents: (i) on the Effective Date, the Reorganized Debtors shall be deemed to have

assumed: (a) the Master Agreement for Products and Services Maintenance Agreement, Contract

No. CW64524, by and between Zachry Maintenance Services LLC and Chevron Phillips Chemical

Company LP (“CPChem”), effective July 1, 2023 (as amended, modified or restated from time to

time, together with all attachments, exhibits, and ancillary documents, the “CPChem MSA”); (b)

the Blanket Contract for Engineering Design, Procurement and Construction Services, Contract

No. CPC-34116, by and between ZII (with other Zachry contractors also a party through

permissible affiliation with ZII) and CPChem, effective October 1, 2020; (c) the Modified Blanket

Services Agreement, Contract No. 4600006406, by and between JV Industrial Companies LLC

and CPChem, effective April 11, 2006; (d) the OSBL Engineering, Procurement, and Construction

Contract, Contract No. USGCII-CNCN-000E4, by and between GTPC, ZII, and Burns &

McDonnell Engineering Company, Inc. dated June 28, 2022, (as amended, modified or restated

from time to time, together with all attachments, exhibits, and ancillary documents); (e) the

Polyethylene Engineering, Procurement and Construction Contract, Contract No. USGCII-CNCN-

000E1, by and between GTPC, ZII, and DL USA, Inc., dated July 7, 2022 (as amended, modified,

or restated from time to time, together with all attachments, exhibits, and ancillary documents);




                                                 70
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 71 of 154




and (f) the Blanket Service Agreement, Contract No. 4600005747, effective October 23, 2008, to

the extent not superseded by the CPChem MSA; and (g) any active or open purchase order

submitted by CPChem to the Debtors under the foregoing agreements (collectively, (a)-(g), the

“CPChem Agreements”), pursuant to sections 105 and 365(a) of the Bankruptcy Code, without

the need for any further notice, action, order, or approval of the Court; (ii) no Cure Claim in Cash

shall be paid to CPChem by the Reorganized Debtors on the Effective Date; (iii) assumption of

the CPChem Agreements and Consummation of the Plan shall not alter, impair or otherwise

modify the rights and obligations of the parties to the CPChem Agreements, including in respect

of any claims of the Debtors, the Reorganized Debtors, CPChem, or their respective Affiliates, as

applicable, arising at any time under or in relation to the CPChem Agreements, whether such

claims are liquidated or unliquidated, fixed or contingent, matured or unmatured, known or

unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, now existing or

hereinafter arising; (iv) notwithstanding the commencement of the Chapter 11 Cases and

confirmation of the Plan, all obligations of the Debtors, the Reorganized Debtors, and CPChem

under the CPChem Agreements shall be satisfied by the Debtors, the Reorganized Debtors, and

CPChem, as applicable, in the normal course of business in accordance with the terms of the

CPChem Agreements, including, for the avoidance of doubt, any contingent and unliquidated

obligations of the Debtors and Reorganized Debtors validly owed to CPChem under the CPChem

Agreements; and (v) CPChem is hereby deemed, as of the Effective Date, to have affirmatively

opted out of the Third-Party Release provisions of the Plan. For the avoidance of doubt, references

to CPChem herein shall refer to both Chevron Phillips Chemical Company, LLC as well as

Chevron Phillips Chemical Company, LP.




                                                71
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 72 of 154




       159.    Provisions Regarding GTPC. Notwithstanding anything to the contrary in Plan

Documents, on the Effective Date: (i) the Reorganized Debtors shall be deemed to have assumed

(a) the Engineering, Procurement and Construction Contract dated June 28, 2022 (as amended,

modified or restated from time to time, together with all attachments, exhibits and ancillary

documents), between Golden Triangle Polymers Company LLC (“GTPC”), ZII, and Burns &

McDonnell Engineering Company, Inc.; (b) the Engineering, Procurement and Construction

Contract dated July 7, 2022 (as amended, modified or restated from time to time, together with all

attachments, exhibits and ancillary documents), between GTPC, ZII, and DL USA, Inc.; (c) the

Parent Guarantee dated as of June 28, 2022 made by ZHI in favor of GTPC; and (d) the Parent

Guarantee dated as of September 29, 2022 made by ZHI in favor of GTPC (collectively, (a)-(d),

the “GTPC EPC Contracts”), pursuant to sections 105 and 365(a) of the Bankruptcy Code,

without the need for any further notice, action, order, or approval of the Court; (ii) no Cure Claim

in Cash shall be paid to GTPC by the Reorganized Debtors on the Effective Date;

(iii) notwithstanding the forgoing, assumption of the GTPC EPC Contracts and Consummation of

the Plan shall not alter, impair or otherwise modify the rights and obligations of the parties to the

GTPC EPC Contracts, including in respect of any claims of the Debtors, the Reorganized Debtors,

GTPC, or their respective Affiliates, as applicable, arising at any time under or in relation to the

GTPC EPC Contracts, whether such claims are liquidated or unliquidated, fixed or contingent,

matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, accrued

or unaccrued, now existing or hereinafter arising; (iv) notwithstanding the commencement of the

Chapter 11 Cases and confirmation of the Plan, all obligations of the Debtors, the Reorganized

Debtors, and GTPC under the GTPC EPC Contracts shall be satisfied by the Debtors, the

Reorganized Debtors, and GTPC, as applicable, in the normal course of business in accordance




                                                 72
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 73 of 154




with the terms of the GTPC EPC Contracts, including, for the avoidance of doubt, any contingent

and unliquidated obligations of the Debtors and Reorganized Debtors validly owed to GTPC under

the GTPC EPC Contracts; and (v) as an administrative matter, GTPC is hereby deemed, as of the

Effective Date and without any further action, notice, or order by any party or this Court, to have

(x) withdrawn Claim Nos. 1284 and 1285 as duplicative of Claim Nos. 1242 and 1243 (which shall

remain pending) and (y) affirmatively opted out of the Third-Party Release provisions of the Plan.

       160.    Provisions Regarding VGPL. Notwithstanding any other provisions of the Plan,

the Plan Supplement, this Order, or any other order of this Court, on the Effective Date, all rights

and obligations that have arisen and/or may arise at law related to: (a) those certain guaranties

entered into by ZHI for the benefit of Venture Global Plaquemines LNG, LLC (“VGPL”), dated

as of April 21, 2021 and January 10, 2023 (together, the “VGPL Guaranties”), and any other

agreements setting forth the parties’ respective rights and obligations under the VGPL Guaranties,

(collectively, the “VGPL Guaranty Obligations”); (b) that certain standby letter of credit No.

777020221583-L, dated as of March 17, 2023, and that certain standby letter of credit No.

777020244050-L, dated as of March 20, 2023, each issued by Standard Chartered Bank on behalf

of KZJV LLC in favor of VGPL (together, the “VGPL Performance Bonds”); (c) that certain

payment bond No. 107261759 (Travelers), K40530423 (Pacific), 30108502 (Continental), dated

as of May 25, 2022, issued by Travelers Casualty and Surety Company, Pacific Indemnity

Company, and Continental Casualty Company, and that certain payment bond No. 107652660

(Travelers), K40530484 (Pacific), 30161481 (Western), dated as of March 13, 2023, issued by

Travelers Casualty and Surety Company, Pacific Indemnity Company, and Western Surety

Company, each on behalf of KZJV LLC in favor of VGPL (together, the “VGPL Payment

Bonds”); (d) any other agreements setting forth the parties’ respective rights and obligations with




                                                73
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 74 of 154




respect to the VGPL Performance Bonds and VGPL Payment Bonds (such agreements, together

with the VGPL Performance Bonds and the VGPL Payment Bonds, the “VGPL Surety Bond

Obligations”); and (e) that certain Second Amended and Restated Engineering, Procurement and

Construction Agreement, entered into as of January 7, 2022, and that certain Engineering,

Procurement and Construction Agreement, entered into as of January 10, 2023 (as amended

together, the “PLNG EPC Contracts”) with KZJV LLC, and any other agreements setting forth

the parties’ respective rights and obligations under the PLNG EPC Contracts (collectively, the

“PLNG EPC Contracts Obligations”), shall all continue in full force and effect in accordance

with the terms thereof and applicable non-bankruptcy law and are not discharged, enjoined,

impaired, released or otherwise modified in any way. For the avoidance of doubt, nothing in the

Plan or this Order, including, without limitation, any exculpation, release, injunction, exclusions,

and discharge provisions of the Plan contained in Article VIII of the Plan or otherwise, shall bar,

alter, limit, impair, release, modify, enlarge, or enjoin any VGPL Guaranty Obligations, any VGPL

Surety Bond Obligations, PLNG EPC Contracts Obligations and/or any rights, claims, actions or

defenses, or other matters to which VGPL is entitled under such VGPL Guaranty Obligations,

VGPL Surety Bond Obligations, or PLNG EPC Contracts Obligations at law, in equity, or

otherwise. The VGPL Guaranties, the VGPL Payment Bonds, the VGPL Performance Bonds, the

PLNG EPC Contracts, and all VGPL Guaranty Obligations, VGPL Surety Bond Obligations,

PLNG EPC Contracts Obligations, and any rights, claims, actions or defenses, or other matters to

which the Reorganized Debtors or VGPL are entitled under such agreements or obligations, at law,

in equity, or otherwise, shall be reinstated and/or retained by the Reorganized Debtors and VGPL,

as applicable, in the ordinary course of business as if the Chapter 11 Cases had not been

commenced. Nothing in the Plan or this paragraph shall affect in any way VGPL’s rights against




                                                74
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 75 of 154




any non-Debtor under the VGPL Guaranties, VGPL Payment Bonds, VGPL Performance Bonds,

PLNG EPC Contracts, or otherwise with regard to the VGPL Guaranty Obligations, VGPL Surety

Bond Obligations, and PLNG EPC Contracts Obligations. Subject to Article VIII of the Plan,

nothing in this paragraph shall affect in any way any non-Debtor’s rights against VGPL under the

VGPL Guaranties, VGPL Payment Bonds, VGPL Performance Bonds, PLNG EPC Contracts, or

otherwise with regard to the VGPL Guaranty Obligations, VGPL Surety Bond Obligations, and

PLNG EPC Contracts Obligations.

       161.    OPPD Reservation of Rights. Notwithstanding anything to the contrary in the

Plan Documents: (i) nothing contained in the Plan Documents shall operate to release, discharge,

impair, or enjoin any rights, obligations, Claims, Causes of Action, defenses, or remedies of

Omaha Public Power District (“OPPD”), the Debtors, or the Reorganized Debtors, as applicable,

against the Debtors, Reorganized Debtors, OPPD, or any Person, as applicable, accruing before,

on, or after the Effective Date as it relates to that certain Engineer, Procure, and Construct

Contract for Omaha Public Power District Standing Bear Lake and Turtle Creek Generating

Stations (Contract No. 263406) dated September 21, 2021, as amended by those certain

Amendment No. 1 and Amendment No. 2 to Engineer, Procure, and Construct Contract for Omaha

Public Power District Standing Bear Lake and Turtle Creek Generating Stations (Contract No.

263406) dated August 13, 2024 (together with all amendments, exhibits, schedules, and ancillary

agreements and documents thereto, the “OPPD Contract”), or the adversary proceeding, pending

before the Court at Adversary Number 25-03025; (ii) all parties’ rights, remedies, and obligations

under the OPPD Contract are explicitly preserved, and all terms of the OPPD Contract remain

fully enforceable after the Effective Date notwithstanding the Plan Injunction; and (iii) OPPD is

hereby deemed, as of the Effective Date, to have affirmatively opted out of the Third-Party Release




                                                75
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 76 of 154




provisions of the Plan and is not bound by the Third-Party Release or any other provision contained

in the Plan Documents purporting to release, discharge, impair, or enjoin OPPD’s rights, Claims,

Causes of Action, or remedies against any non-Debtor, including Travelers Casualty and Surety

Company and Pacific Indemnity Company, who issued performance and payment bond no.

107261753/82455022 (the “OPPD Surety Bonds”). All of OPPD’s rights (whatever such rights

may or may not be) are hereby explicitly preserved against the OPPD Surety Bonds.

       162.    Provisions Regarding Element Fleet. Notwithstanding anything to the contrary

set forth in the Plan or this Order, (i) on the Effective Date, the Reorganized Debtors shall be

deemed to have assumed (a) the Master Lease Agreement dated July 1, 2008, executed by Zachry

Industrial, Inc. (together with any and all amendments); (b) the Master Services Agreement dated

July 1, 2008, executed by Zachry Industrial, Inc. (together with any and all amendments, and

addenda); (c) the Vehicle Fleet Open-End Lease Agreement dated April 18, 2022, executed by

Zachry Maintenance Services, LLC (together with any and all amendments, and addenda); (d) the

Master Services Agreement dated April 18, 2022, executed by Zachry Maintenance Services, LLC

(together with any and all amendments, and addenda); (e) the Continuing Guaranty of Payment

dated June 23, 2008, executed by ZHI; and (f) the Continuing Guaranty of Payment dated March

28, 2022, executed by ZHI (collectively, (a)-(f), the “Element Contracts” and items (e) and (f),

collectively, the “Guaranty Agreements”); (ii) no Cure Claim in Cash shall be paid to Element

Fleet Corporation (“Element”) by the Reorganized Debtors on the Effective Date; (iii) to the extent

either or both of the Guaranty Agreements are not executory contracts capable of being assumed

under section 365 of the Bankruptcy Code they shall not be subject to the discharge (Article VIII),

re-vesting of assets (Article IV.E) or cancellation of instruments (Article IV.I) provisions of the

Plan and shall remain enforceable in accordance with their terms and applicable non-bankruptcy




                                                76
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 77 of 154




law following the Effective Date; (iv) following the Effective Date, any payments under the

Element Contracts shall be made in the ordinary course of business pursuant to the terms of the

Element Contracts and without regard to the discharge provisions of Article V.A of the Plan; (iv)

following the Effective Date, the Reorganized Debtors and Element may exercise any rights of set

off and/or recoupment under the Element Contracts in accordance with the terms of the Element

Contracts, and Element shall not be obligated to file a motion by the Confirmation Date under

Article VI.J of the Plan; (v) the retention of jurisdiction provision in Article XI.3 of the Plan shall

not apply to the Element Contracts after the Effective Date; and (vi) as an administrative matter,

Element is hereby deemed, as of the Effective Date and without any further action, notice, or order

by any party or this Court, to have withdrawn Claim Nos. 1238, 1239, and 1240.

       163.    Provisions Regarding Reynolds. Notwithstanding anything to the contrary in the

Plan Documents: (i) D. Reynolds Company, d/b/a The Reynolds Company (“Reynolds”) is hereby

deemed, as of the Effective Date, to have affirmatively opted out of the Third-Party Release

provisions of the Plan and is not bound by the Third-Party Release; (ii) confirmation of the Plan

shall not release, discharge, impair, or enjoin Reynolds’ rights, Claims, or remedies against any

non-Debtor, including BMZ Third Coast Partners (“BMZ”), Burns & McDonald Engineering

Company, Inc., and the Sureties (Travelers Casualty and Surety Company of America and Pacific

Indemnity Company), subject to the terms of this paragraph; (iii) as set forth in Article II.A of the

Plan, any Administrative Claims of Reynolds that accrued in the ordinary course of business after

the Petition Date may be paid by the Debtors or Reorganized Debtors, as applicable, in the ordinary

course of business, to the extent not otherwise paid as Cure Claims on the Effective Date; and (iv)

confirmation of the Plan shall not release, discharge, impair, or enjoin Reynolds’ rights, claims, or

remedies against any Person accruing on or after the Effective Date. On the Effective Date, as a




                                                  77
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 78 of 154




Cure Claim, the Debtors shall pay to Reynolds the sum of $9,459,022.55 which payment shall be

deemed to fully satisfy: (a) Proof of Claim No. 64 filed by Reynolds, and (b) any Claim which

Reynolds may have or assert against the Sureties, whether based on the Claim reflected in Proof

of Claim No. 64, any other Claim against the Debtors, or otherwise, and Reynolds shall not assert

against the Sureties any such Claims that are actually satisfied pursuant to this paragraph. Proof

of Claim No. 65 relating to BMZ shall be deemed as withdrawn based upon the terms of this

provision. Reynolds’s objections to confirmation of the Plan [Docket Nos. 1859, 2239, 2322] are

resolved by this paragraph.

       164.    Provisions Regarding Encina. Notwithstanding anything to the contrary in the

Plan Documents, including Article VII.E of the Plan, Claim No. 1753 filed by Encina

Development Group, LLC (“Encina”) shall be deemed timely filed if the Court grants Encina’s

Emergency Motion to Permit Filing Proof of Claim After Bar Date [Docket No. 2120] (the

“Encina Motion”). The hearing on the Encina Motion shall be adjourned to no earlier than April

1, 2025 at 3:00 p.m. (prevailing Central Time), or such other date and time agreed by the Debtors

and Encina or ordered by the Court. Encina Development Group LLC’s Objection to Confirmation

of the Modified First Amended Joint Chapter 11 Plan of Reorganization of Zachry Holdings, Inc.

and Its Debtor Affiliates [Docket No. 2315] shall be deemed withdrawn.

       165.    Provisions Regarding Consolidated Pipe and Supply. For the avoidance of

doubt, any rights of Consolidated Pipe and Supply Company, Inc. d/b/a High Country Fusion with

respect to the Claim Nos. 1453, 1478, 1649, whether against the Debtors, Golden Pass, or other

third-party, if any, are reserved pending satisfaction of such claims consistent with the terms of

the Plan.




                                               78
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 79 of 154




       166.    Provisions Regarding the Sureties. No provision of the Plan Documents shall

bar, release, impair, expand, alter, modify, amend, transfer, limit, enjoin, prime, or subordinate the

rights, claims, and defenses of Travelers Casualty & Surety Company of America, Pacific

Indemnity Company, or any of the foregoing’s parent companies, affiliates, and/or successors

(each a “Surety”, and collectively, the “Sureties”) under (1) any surety bonds by the Sureties

(collectively, the “Existing Surety Bonds”), (2) any indemnity agreements or other agreements

between any Surety and any Debtor in these bankruptcy cases related to the Existing Surety Bonds

(the “Prepetition Indemnity Agreements”), or (3) the terms, conditions, rights, claims, defenses,

and/or obligations of the Sureties or of the Debtors under the Existing Surety Bonds or the

Prepetition Indemnity Agreements. The Reorganized Debtors have and are hereby deemed to

assume cum onere the Existing Surety Bonds and Prepetition Indemnity Agreements, and any and

all obligations thereunder, without regard to and without the necessity of any determination as to

whether the Existing Surety Bonds or the Surety Indemnity Agreements are executory contracts

or whether such agreements are financial accommodations, as those terms are defined or used in

the Bankruptcy Code, and the Sureties are hereby deemed to have consented to the Debtors’

assumption of the Existing Surety Bonds and Prepetition Indemnity Agreements. All obligations

of the Debtors and the Sureties under the Existing Surety Bonds and Prepetition Indemnity

Agreements shall be satisfied by the Debtors and the Sureties, as applicable, in the normal course

of business in accordance with the terms of the applicable agreements. The Reorganized Debtors

shall execute new indemnity agreements in favor of, and in a form acceptable to, in their sole

discretion, each of the Sureties (the “Post-Confirmation Indemnity Agreements”) in forms

substantially the same as the Prepetition Indemnity Agreements; provided, however, that (1) the

execution of the Post-Confirmation Indemnity Agreements shall be deemed cumulative relief and




                                                 79
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 80 of 154




any failure to execute the same shall not impact the liability of the Reorganized Debtors under the

Existing Surety Bonds or the Prepetition Indemnity Agreements, and (2) nothing shall obligate the

Sureties to issue new surety bonds or renew any Existing Surety Bonds or bar, enjoin, or stay the

Sureties from demanding collateral or exercising any other of the Sureties’ rights, claims, and

defenses, in each case subject in all respects to the terms and conditions of the Existing Surety

Bonds, Prepetition Indemnity Agreements, and Post-Confirmation Indemnity Agreements, as

applicable. The Sureties shall be deemed to have opted out of the Third-Party Release provided

in Article VIII.D of the Plan, and such Third-Party Release shall not be applicable to the Sureties.

Notwithstanding any other provision of the Plan Documents, the Sureties shall not be enjoined

from enforcing any rights under the Existing Surety Bonds and the Prepetition Indemnity

Agreements. As an administrative matter and in consideration of the Reorganized Debtors’

assumption of the obligations as set forth in this paragraph, the Sureties are hereby deemed, as of

the Effective Date, to have withdrawn all proofs of claim filed in the Chapter 11 Cases, including,

for the avoidance of doubt, Claim Nos. 1210, 1216, 1217, 1218, 1219, 1220, 1222, 1223, 1224,

1247, 1367, 1371, 1374, 1376, 1378, 1385, 1388, 1389, 1394, 1398, 1402, 1403, 1405, 1406, 1408,

1412, 1414, 1416, 1417, 1418, and 1155, without any further action, notice, or order by any party

or this Court. For the avoidance of doubt, the Debtors and the Sureties reserve all rights, defenses,

and claims under the Existing Surety Bonds and Prepetition Indemnity Agreements, which are

preserved notwithstanding anything to the contrary in the Plan Documents.

       167.    Provisions Regarding Zurich and Chubb. Notwithstanding anything to the

contrary in the Plan Documents, any agreement or order related to post-petition or exit financing,

any bar date notice or claim objection, any notice of any cure amount or claim, any document

related to any of the foregoing, or any other order of the Court (including, without limitation, any




                                                 80
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 81 of 154




other provision that purports to be preemptory or supervening, confers Court jurisdiction, grants

an injunction, discharge or release, or requires a party to opt out of any releases):

               a.      nothing alters, modifies or otherwise amends the terms and conditions of
                       either of (i) the Zurich Insurance Program (including any agreement to
                       arbitrate disputes and any provisions regarding the provision, maintenance,
                       use, nature, and priority of the Zurich Collateral), or (ii) any insurance
                       policies issued by ACE American Insurance Company, Federal Insurance
                       Company or any of their U.S.-based affiliates and predecessors
                       (collectively, and together with ESIS, Inc., solely in their capacities as
                       insurers and third party administrators “Chubb”), to, or which provide
                       coverage to, any of the Debtors (or any of their predecessors) at any time
                       and for any line of coverage (collectively and together with any agreements,
                       documents or instruments related thereto and each as amended, modified or
                       supplemented and including any exhibit or addenda thereto, the “Chubb
                       Insurance Program”) (including any agreement to arbitrate disputes and
                       any provisions regarding the provision, maintenance, use, nature, and
                       priority of any letters of credit, loss funds, trusts, cash collateral, credits,
                       return premium, unearned premium and any and all other collateral and/or
                       security (including any proceeds of any of the foregoing) provided now or
                       at any time prior or after hereto, by or on behalf of the Debtors to Chubb,
                       the “Chubb Collateral”) except that as of the Effective Date, the
                       Reorganized Debtors jointly and severally shall assume the Zurich
                       Insurance Program and the Chubb Insurance Program in their entireties
                       pursuant to sections 105 and 365 of the Bankruptcy Code;

               b.      nothing therein releases or discharges (i) Zurich’s security interests and
                       liens on the Zurich Collateral or (ii) Chubb’s security interests and liens on
                       the Chubb Collateral;

               c.      nothing therein releases or discharges the Zurich Claims or the claims of
                       Chubb (including, without limitation any Cure Claim, claim for
                       reimbursement of any deductible or self-insured retention that Chubb pays
                       on behalf of the Debtors or Reorganized Debtors, as applicable, arising
                       under the Chubb Insurance Program (regardless of whether all or any part
                       of such claims arise or become liquidated before or after the Petition Date,
                       effectiveness of the Plan or conversion of one or more of the Chapter 11
                       Cases to cases under chapter 7 of the Bankruptcy Code, the “Chubb
                       Claims”)), and further, the Zurich Claims and the Chubb Claims are actual
                       and necessary expenses of the Debtors’ estates (or the Reorganized Debtors,
                       as applicable) and shall be paid in full in the ordinary course of business,
                       whether as an Allowed Administrative Claim under section 503(b)(1)(A) of
                       the Bankruptcy Code or otherwise, regardless of when such amounts are or
                       shall become liquidated, due or paid, without the need or requirement for
                       either Zurich or Chubb to file or serve a request, motion, or application for
                       payment of or proof of any Proof of Claim, Cure Claim (or any objection to


                                                 81
Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 82 of 154




             cure amounts/notices), or Administrative Claim (and further and for the
             avoidance of doubt, any claim bar date shall not be applicable to either
             Zurich or Chubb);

       d.    the Debtors or the Reorganized Debtors, as applicable, shall not sell, assign,
             or otherwise transfer the Zurich Insurance Program or any portion thereof,
             or the Chubb Insurance Program or any portion thereof and/or any of the
             rights, benefits, interests, and proceeds under the Zurich Insurance Program
             or the Chubb Insurance Program except with the express written permission
             of Zurich or Chubb, respectively;

       e.    the automatic stay of Bankruptcy Code section 362(a) and the injunctions
             set forth in Article VIII of the Plan, if and to the extent applicable, shall be
             deemed lifted without further order of the Court, solely to permit: (i)
             claimants with valid workers’ compensation claims or direct action claims
             against Zurich and/or Chubb under applicable non-bankruptcy law to
             proceed with their claims; (ii) Zurich and Chubb to administer, handle,
             defend, settle, and/or pay, in the ordinary course of business and without
             further order of this Court, (a) all workers’ compensation or direct action
             claims covered by the Zurich Insurance Program or the Chubb Insurance
             Program, (b) all claims where an order has been entered by the Court
             granting a claimant relief from the automatic stay or the injunctions set forth
             in Article VIII of the Plan to proceed with its claim, and (c) all costs in
             relation to each of the foregoing; (iii) Zurich or Chubb to draw against any
             or all of the Zurich Collateral or Chubb Collateral, as applicable, and to hold
             the proceeds thereof as security for the obligations of the Debtors (or the
             Reorganized Debtors, as applicable) to Zurich or Chubb, as applicable,
             and/or apply such proceeds to the obligations of the Debtors (or the
             Reorganized Debtors, as applicable) under the Zurich Insurance Program or
             Chubb Insurance Program, in such order as Zurich or Chubb, as applicable,
             may determine; and (iv) subject to the terms of the Zurich Insurance
             Program, the Chubb Insurance Program and/or applicable non-bankruptcy
             law, Zurich and Chubb to (a) cancel any policies under the Zurich Insurance
             Program or the Chubb Insurance Program, respectively, and (b) take other
             actions relating to the Zurich Insurance Program or the Chubb Insurance
             Program, respectively (including setoff);

       f.    neither Article VIII.F of the Plan nor any corresponding paragraph of this
             Order shall apply to any claims covered by and/or asserted under the Zurich
             Insurance Program or Chubb Insurance Program; and

       g.    without altering any of the foregoing, provided that there is no liquidated
             amount due to Zurich or Chubb as of the Effective Date, no Cure Claim in
             Cash shall be paid to Zurich or Chubb by the Reorganized Debtors.




                                       82
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 83 of 154




Terms used in this paragraph but not defined in the Plan shall have the meaning attributed to them

in that certain Order (I) Authorizing the Debtors to Enter into the New Insurance Program, (II)

Authorizing Assumption of the Existing Insurance Program, and (III) Granting Related Relief

entered by the Court on October 29, 2024 [Docket No. 1262] (the “Zurich Order”), except that

the term Zurich Insurance Program used in this paragraph shall have the meaning given to the term

“Insurance Program” in the Zurich Order.

        168.     Provisions Regarding Personal Injury Claims. Notwithstanding anything to the

contrary in Plan Documents, the Plan Documents shall not impair any right of the Adams

Plaintiffs,4 Andres Plaintiffs,5 or Martinez Plaintiffs6 to litigate any timely filed, personal injury

General Unsecured Claim to final judgment or settlement against the Debtors in name only, and,

if successful, to recover on such Claim from any third-party that provides insurance coverage or

indemnification to the Debtors, subject to applicable non-bankruptcy law and any applicable

agreements governing such insurance coverage or indemnification between such third-parties and

the Debtors; provided, however, the foregoing shall not apply to any Claim released pursuant to

the Third-Party Release set forth in the Plan to the extent any Holder of a Claim elects not to opt-

out of the Third-Party Release. To the extent any such insurance coverage or indemnification is

insufficient to provide the treatment to an Allowed Claim required by Article III of the Plan, the




4
    The “Adams Plaintiffs” means any plaintiffs in the litigation styled as Adams, et al. v. Zachry Industrial, Inc.,
    Case No. 5:23-cv-01437-XR in the United States District Court for the Western District of Texas.

5
    The “Andres Plaintiffs” means any plaintiffs in the litigation styled as Ursula Andres v. Zachry Industrial, Inc.,
    et al., Case No. E-0210871 in the 172nd Judicial District Court of Jefferson County, Texas.

6
    The “Martinez Plaintiffs” means any plaintiffs in the litigation styled as Yelina Martinez, Individually, and as
    the Estate Representative of Jaime Martinez, Deceased, et al, v. Zachry Industrial, Inc., et al., Case
    No. 23DCCV0129 in the 172nd Judicial District Court of Jefferson County, Texas.




                                                         83
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 84 of 154




Holder of such Allowed Claim shall have an Allowed General Unsecured Claim against the

applicable Debtor’s estate for the deficiency.

       169.    Provisions Regarding CB&I and Chiyoda. Notwithstanding anything to the

contrary in the Plan Documents:

               a.      Pursuant to section 365 of the Bankruptcy Code, the applicable
                       Reorganized Debtors shall assume: (a) that certain Joint Venture Agreement
                       for the Freeport Liquefaction Project dated December 10, 2013, by and
                       among ZII and CB&I LLC (“CB&I”) (the agreement, as amended, the
                       “CZJV-FLNG Agreement”), which formed a joint venture thereunder (the
                       “CZJV-FLNG”); (b) that certain Joint Venture Agreement dated March 24,
                       2015, by and among ZII, CB&I, and Chiyoda International Corporation
                       (“CIC,” and together with ZII and CB&I, the “FLNG JV Parties”) (such
                       agreement, as amended, the “CCZJV-FLNG Agreement”), which formed
                       a joint venture thereunder (the “CCZJV-FLNG,” and together with the
                       CZJV-FLNG, the “FLNG JVs”); and (c) any parent guarantees related to
                       the CZJV-FLNG Agreement or the CCZJV-FLNG Agreement
                       (collectively, (a) through (c), the “FLNG JV Agreements”). The Debtors
                       are deemed to have cured all monetary defaults (if any) existing under the
                       FLNG JV Agreements on account of any Cure Claim without the need for
                       any cash payment, either into escrow or directly to CB&I, CIC, or the FLNG
                       JVs on the Effective Date.

               b.      Upon assumption of the FLNG JV Agreements, the FLNG JV Parties shall
                       continue to abide and be bound by all terms of the FLNG JV Agreements
                       as if the Debtors had not filed any bankruptcy, without regard to whether
                       any payment obligations arising under the FLNG JV Agreements accrued
                       prepetition or postpetition, including, without limitation, any indemnities,
                       cost-sharing or risk-sharing provisions, or parent company guaranties
                       provided for under the FLNG JV Agreements, including with respect to any
                       liabilities adjudicated or settled, whether in the past, present, or future, in
                       accordance with the applicable FLNG JV Agreements, in connection with
                       the following actions and any appeals thereof: (a) FLNG Liquefaction, LLC,
                       et al. v. CB&I Inc., et al., Adv. Pro. No. 24-03195 (MI) (the “FLNG Motor
                       Defect Claim”); (b) FLNG Liquefaction, LLC, et al. v. Zachry Industrial,
                       Inc., et al., Adv. Pro. No. 24-03189 (MI) (the “FLNG Subrogation
                       Claim”); and (c) Allianz Global Risks US Insurance Co., et al. v. Zachry
                       Industrial, Inc., et al., Adv. Pro. No. 24-03190 (MI) (the “Allianz
                       Subrogation Claim,” and together with the FLNG Motor Defect Claim and
                       the FLNG Subrogation Claim, the “FLNG Litigation Claims”).

               c.      By assuming the FLNG JV Agreements, the Debtors retain all rights under
                       the FLNG JV Agreements, including with respect to the FLNG JVs’



                                                 84
    Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 85 of 154




                     property, and specifically, the FLNG JVs’ insurance policies and the
                     proceeds thereof, to the same extent as such rights existed prepetition.

              d.     Notwithstanding anything to the contrary in this Order, the Plan, the
                     Disclosure Statement, or any other order of this Court in these chapter 11
                     cases, upon assumption of the FLNG JV Agreements, the Claims that CB&I
                     (on behalf of itself and as successor to CB&I Inc.) [Claim Nos. 1524 and
                     1527] and CIC [Claim Nos. 1555 and 1559] have asserted against the
                     Debtors shall be deemed withdrawn in their entirety, as if CB&I and CIC
                     had not filed such Claims, and shall be discharged without any distributions
                     under the Plan.

              e.     Notwithstanding anything to the contrary in this Order, the Plan, the
                     Disclosure Statement, or any other order of this Court in these chapter 11
                     cases, the FLNG JV Parties acknowledge and agree that the applicable
                     governing law, jurisdiction, and venue provisions set forth in the FLNG JV
                     Agreements shall govern post-Effective Date and that any post-Effective
                     Date disputes under applicable non-bankruptcy law among CB&I, CIC, the
                     FLNG JVs, and the Debtors or the Reorganized Debtors, as applicable, shall
                     not be subject to the jurisdiction of the Court, regardless of when such
                     disputes first arose or accrued. For the avoidance of doubt, this paragraph
                     shall not affect this Court’s jurisdiction with respect to any pre-Effective
                     Date disputes, including with respect to the FLNG Litigation Claims, the
                     Plan, the Order, and the GPX Settlement.

              f.     For the avoidance of doubt, upon entry of the GPX Final Settlement Order,
                     the Debtors exited the MZJV-GPX and rejected all of their interests therein.

              g.     None of CIC, CB&I, the CCZJV-GPX, the MZJV-GPX, the CZJV-FLNG,
                     or the CCZJV-FLNG are Releasing Parties or Released Parties, and all such
                     parties are deemed to opt out of the Third-Party Release.

              h.     Nothing in this paragraph 169 modifies the terms of the GPX Settlement,
                     including the releases by the GPX Settlement Parties under the GPX
                     Settlement, or the terms of the GPX Settlement Dispute Opinion or GPX
                     Settlement Dispute Order. Notwithstanding anything to the contrary in this
                     Order, the Plan, the Disclosure Statement, or any other order of this Court
                     in these chapter 11 cases, to the extent there is any inconsistency between
                     this Order and the GPX Settlement Documents, or between the Plan and the
                     GPX Settlement Documents, with respect to the terms of the GPX
                     Settlement, the GPX Settlement Documents shall control.

       170.   Effect of Conflict. This Order supersedes any Court order issued prior to the

Confirmation Date that may be inconsistent with this Order. In the event of an inconsistency




                                              85
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 86 of 154




between this Order and the Plan, the Disclosure Statement, or the Plan Supplement, this Order

shall control.

        171.     Requests to Waive Stay of Order. The rights of the Debtors and Reorganized

Debtors, as applicable, are fully reserved and preserved to request, including on an emergency

basis, that the Court waive any stay of this Confirmation Order under any Bankruptcy Rule for

good cause shown.

        172.     Waiver or Estoppel. Upon the Effective Date, each Holder of a Claim or Interest

shall be deemed to have waived any right to assert any argument, including the right to argue that

its Claim or Interest should be Allowed in a certain amount, in a certain priority, secured or not

subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity,

if such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the

Court prior to the Confirmation Date.

        173.     Final Order. This Order is a Final Order, and the period in which an appeal must

be filed shall commence upon the entry hereof.

        174.     Retention of Jurisdiction. The Court may properly, and upon the Effective Date

shall, to the full extent set forth in the Plan, retain jurisdiction over all matters arising out of, and

relating to, the Chapter 11 Cases, this Order, and the Plan, including the matters set forth in Article

XII of the Plan and sections 105(a) and 1142 of the Bankruptcy Code.



 Dated: ____________, 2025
        Houston, Texas                                             THE HON. MARVIN ISGUR
                                                                   UNITED STATES
                                                                   BANKRUPTCY JUDGE




                                                   86
Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 87 of 154




                             Exhibit A

                                Plan
         Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 88 of 154



                                       IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION

                                                                         )
    In re:                                                               )       Chapter 11
                                                                         )
    ZACHRY HOLDINGS, INC., et al.1                                       )       Case No. 24-90377 (MI)
                                                                         )
                                          Debtors.                       )       (Jointly Administered)
                                                                         )

                 FURTHER MODIFIED FIRST AMENDED JOINT CHAPTER 11 PLAN OF
             REORGANIZATION OF ZACHRY HOLDINGS, INC. AND ITS DEBTOR AFFILIATES

    WHITE & CASE LLP                                                      WHITE & CASE LLP
    Charles R. Koster (Texas Bar No. 24128278)                            Bojan Guzina (admitted pro hac vice)
    609 Main Street, Suite 2900                                           Andrew F. O’Neill (admitted pro hac vice)
    Houston, Texas 77002                                                  William A. Guerrieri (admitted pro hac vice)
    Telephone: (713) 496-9700                                             Fan B. He (admitted pro hac vice)
    Facsimile: (713) 496-9701                                             Adam T. Swingle (admitted pro hac vice)
    Email: charles.koster@whitecase.com                                   Barrett Lingle (admitted pro hac vice)
                                                                          111 South Wacker Drive, Suite 5100
                                                                          Chicago, Illinois 60606
                                                                          Telephone: (312) 881-5400
                                                                          Email: bojan.guzina@whitecase.com
                                                                                   aoneill@whitecase.com
                                                                                   william.guerrieri@whitecase.com
                                                                                   fhe@whitecase.com
                                                                                   adam.swingle@whitecase.com
                                                                                   barrett.lingle@whitecase.com



                                        Counsel to the Debtors and Debtors in Possession

    Dated: February 23, 2025
    Houston, Texas




1
       The last four digits of Zachry Holdings, Inc.’s tax identification number are 6814. A complete list of each of the Debtors in these Chapter 11
       Cases and the last four digits of their federal tax identification numbers may be obtained on the website of the Debtors’ Claims and Noticing
       Agent at www.veritaglobal.net/ZHI. The location of the Debtors’ service address in these Chapter 11 Cases is: P.O. Box 240130, San Antonio,
       Texas 78224.
        Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 89 of 154



                                                              TABLE OF CONTENTS

ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME, AND
              GOVERNING LAW ......................................................................................................................... 1
           A.          Defined Terms. ................................................................................................................................. 1
           B.          Rules of Interpretation. ................................................................................................................... 12
           C.          Computation of Time. ..................................................................................................................... 13
           D.          Governing Law. .............................................................................................................................. 13
           E.          Reference to Monetary Figures. ...................................................................................................... 13
           F.          Controlling Document..................................................................................................................... 13
ARTICLE II. ADMINISTRATIVE AND PRIORITY CLAIMS ................................................................................ 14
           A.          Administrative Claims. ................................................................................................................... 14
           B.          Professional Fee Claims. ................................................................................................................. 14
           C.          Priority Tax Claims. ........................................................................................................................ 15
           D.          Restructuring Expenses. .................................................................................................................. 15
ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ..................................... 15
           A.          Classification of Claims and Interests. ............................................................................................ 15
           B.          Formation of Debtor Groups for Convenience Only....................................................................... 16
           C.          Treatment of Claims and Interests. ................................................................................................. 16
           D.          Special Provision Governing Unimpaired Claims. ......................................................................... 19
           E.          Elimination of Vacant Classes. ....................................................................................................... 19
           F.          Acceptance by Impaired Classes. .................................................................................................... 19
           G.          Voting Classes, Presumed Acceptance by Non-Voting Classes. .................................................... 19
           H.          Intercompany Interests. ................................................................................................................... 19
           I.          Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code. ................. 19
           J.          No Substantive Consolidation. ........................................................................................................ 20
           K.          Controversy Concerning Impairment. ............................................................................................. 20
           L.          Subordinated Claims. ...................................................................................................................... 20
ARTICLE IV. MEANS FOR IMPLEMENTATION OF THIS PLAN ....................................................................... 20
           A.          General Settlement of Claims and Interests. ................................................................................... 20
           B.          GPX Settlement. ............................................................................................................................. 20
           C.          Restructuring Transactions.............................................................................................................. 21
           D.          The Reorganized Debtors................................................................................................................ 22
           E.          Vesting of Assets in the Reorganized Debtors. ............................................................................... 22
           F.          Sunbelt Promissory Note. ............................................................................................................... 22
           G.          GUC Promissory Notes. .................................................................................................................. 22
           H.          Sources of Consideration for Plan Distributions. ............................................................................ 23
           I.          Cancellation of Existing Agreements and Interests. ....................................................................... 24
           J.          Corporate Action. ............................................................................................................................ 25
           K.          Directors and Officers of the Reorganized Debtors. ....................................................................... 25
           L.          Deferred Compensation Plan and Other Employee Obligations. .................................................... 25
           M.          Indemnification Obligations............................................................................................................ 25
           N.          Preservation of Causes of Action. ................................................................................................... 26
           O.          Effectuating Documents; Further Transactions............................................................................... 26
           P.          Certain Securities Law Matters. ...................................................................................................... 27
           Q.          Transferability of GUC Promissory Notes. ..................................................................................... 27
           R.          Section 1146 Exemption. ................................................................................................................ 27
           S.          Dissolution of Certain Debtors........................................................................................................ 28
ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES .............................. 28
           A.          Assumption and Rejection of Executory Contracts and Unexpired Leases. ................................... 28
           B.          Claims Based on Rejection of Executory Contracts or Unexpired Leases. ..................................... 29



                                                                                 ii
        Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 90 of 154



            C.          Cure of Defaults for Assumed Executory Contracts and Unexpired Leases. .................................. 29
            D.          Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases. .......... 30
            E.          Insurance Policies. .......................................................................................................................... 30
            F.          Workers’ Compensation Program. .................................................................................................. 30
            G.          Reservation of Rights. ..................................................................................................................... 31
            H.          Contracts and Leases Entered Into After the Petition Date. ............................................................ 31
ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS .............................................................................. 31
            A.          Timing and Calculation of Amounts to Be Distributed................................................................... 31
            B.          Distributions to Holders of Disputed Claims and Interests. ............................................................ 31
            C.          Distribution Agent........................................................................................................................... 31
            D.          GUC Note Administrative Agent and GUC Note Collateral Agent. ............................................... 32
            E.          Delivery of Distributions and Undeliverable or Unclaimed Distributions. ..................................... 32
            F.          Compliance with Tax Requirements. .............................................................................................. 33
            G.          No Postpetition or Default Interest on Claims. ............................................................................... 33
            H.          Allocations. ..................................................................................................................................... 33
            I.          Foreign Currency Exchange Rate. .................................................................................................. 33
            J.          Setoffs and Recoupment. ................................................................................................................ 34
            K.          Claims Paid or Payable by Third Parties. ........................................................................................ 34
ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND DISPUTED
              CLAIMS ......................................................................................................................................... 35
            A.          Claims Administration Responsibilities. ......................................................................................... 35
            B.          Allowance of Claims. ...................................................................................................................... 36
            C.          Estimation of Claims. ...................................................................................................................... 36
            D.          Adjustment to Claims Register Without Objection. ........................................................................ 37
            E.          Disallowance of Claims or Interests................................................................................................ 37
            F.          Reimbursement or Contribution. ..................................................................................................... 37
            G.          Amendments to Proofs of Claim. .................................................................................................... 37
            H.          No Distributions Pending Allowance.............................................................................................. 38
            I.          Distributions After Allowance. ....................................................................................................... 38
            J.          Single Satisfaction of Claims. ......................................................................................................... 38
ARTICLE VIII. SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS .............................. 38
            A.          Discharge of Claims and Termination of Interests. ......................................................................... 38
            B.          Release of Liens. ............................................................................................................................. 38
            C.          Releases by the Debtors. ................................................................................................................. 39
            D.          Releases by Third Parties. ............................................................................................................... 40
            E.          Exculpation. .................................................................................................................................... 41
            F.          Injunction. ....................................................................................................................................... 41
            G.          Limitation of Liability of Officers, Directors, and Agents. ............................................................. 43
            H.          Waiver of Statutory Limitations on Releases. ................................................................................. 43
            I.          Special Provision Regarding the United States Government. ......................................................... 43
            J.          Protections Against Discriminatory Treatment. .............................................................................. 44
            K.          Document Retention. ...................................................................................................................... 44
ARTICLE IX. CONDITIONS PRECEDENT TO CONSUMMATION OF THIS PLAN ......................................... 44
            A.          Conditions Precedent to the Effective Date. ................................................................................... 44
            B.          Waiver of Conditions. ..................................................................................................................... 45
            C.          Substantial Consummation.............................................................................................................. 45
            D.          Effect of Failure of Conditions. ...................................................................................................... 45
ARTICLE X. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS PLAN ...................................... 45
            A.          Modification and Amendments. ...................................................................................................... 45
            B.          Effect of Confirmation on Modifications. ....................................................................................... 46
            C.          Revocation or Withdrawal of Plan. ................................................................................................. 46


                                                                                   iii
       Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 91 of 154



ARTICLE XI. RETENTION OF JURISDICTION ..................................................................................................... 46
ARTICLE XII. MISCELLANEOUS PROVISIONS .................................................................................................. 48
          A.         Immediate Binding Effect. .............................................................................................................. 48
          B.         Waiver of Stay. ............................................................................................................................... 49
          C.         Additional Documents. ................................................................................................................... 49
          D.         Payment of Statutory Fees. ............................................................................................................. 49
          E.         Statutory Committee and Cessation of Fee and Expense Payment. ................................................ 49
          F.         Reservation of Rights. ..................................................................................................................... 49
          G.         Successors and Assigns. .................................................................................................................. 50
          H.         Notices. ........................................................................................................................................... 50
          I.         Term of Injunctions or Stays. .......................................................................................................... 51
          J.         Entire Agreement. ........................................................................................................................... 51
          K.         Exhibits. .......................................................................................................................................... 52
          L.         Deemed Acts. .................................................................................................................................. 52
          M.         Nonseverability of Plan Provisions. ................................................................................................ 52
          N.         Votes Solicited in Good Faith. ........................................................................................................ 52
          O.         Request for Expedited Determination of Taxes. ............................................................................. 52
          P.         Closing of Chapter 11 Cases. .......................................................................................................... 52
          Q.         Waiver or Estoppel.......................................................................................................................... 53
          R.         Creditor Default. ............................................................................................................................. 53




                                                                                 iv
      Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 92 of 154




                                                 INTRODUCTION

         Zachry Holdings, Inc. and the other above-captioned debtors and debtors in possession (collectively, the
“Debtors”) propose this Plan for the resolution of the outstanding Claims against and Interests in the Debtors pursuant
to chapter 11 of the Bankruptcy Code. Capitalized terms used herein and not otherwise defined have the meanings
ascribed to such terms in Article I.A of this Plan. Although proposed jointly for administrative purposes, this Plan
constitutes a separate Plan for each Debtor for the resolution of outstanding Claims and Interests pursuant to the
Bankruptcy Code. Holders of Claims against or Interests in the Debtors may refer to the Disclosure Statement for a
discussion of the Debtors’ history, businesses, assets, results of operations, historical financial information, and
projections of future operations, as well as a summary and description of this Plan, the Restructuring Transactions,
and certain related matters. The Debtors are the proponents of this Plan within the meaning of section 1129 of the
Bankruptcy Code.

       ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THIS PLAN ARE ENCOURAGED TO READ
THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT
OR REJECT THIS PLAN.

                                            ARTICLE I.
                             DEFINED TERMS, RULES OF INTERPRETATION,
                            COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

         1.       “A&R Credit Facility” means the Prepetition Credit Facility as amended and restated in accordance
with the terms of this Plan and the A&R Credit Facility Documents.

        2.        “A&R Credit Facility Agent” means the Prepetition Credit Facility Agent, in its capacity as
administrative agent under the A&R Credit Facility.

         3.       “A&R Credit Facility Documents” means any documents governing the A&R Credit Facility,
including the A&R Credit Facility Term Sheet, the Exit Intercreditor Agreement, and any amendments, modifications,
and supplements thereto, and together with any related commitments, notes, certificates, agreements, security
agreements, documents, and instruments (including any amendments, restatements, supplements, or modifications of
any of the foregoing) related to or executed in connection therewith.

         4.       “A&R Credit Facility Lenders” means, collectively, the lenders under the A&R Credit Facility.

         5.         “A&R Credit Facility Term Sheet” means the term sheet describing the material terms of the A&R
Credit Facility, attached as Schedule 1 to Exhibit A of the Notice of Filing of the Third Plan Supplement [Docket No.
2316].

         6.       “Administrative Claim” means a Claim for costs and expenses of administration of the Estates under
sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs
and expenses incurred on or after the Petition Date of preserving the Estates and operating the businesses of the
Debtors; (b) Allowed Professional Fee Claims in the Chapter 11 Cases; (c) all fees and charges assessed against the
Estates under chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1911-1930; and (d) Adequate Protection
Superpriority Claims (as defined in the Cash Collateral Order).

        7.       “Affiliate” means, with respect to any Entity, all Entities that would fall within the definition
assigned to such term in section 101(2) of the Bankruptcy Code if such Entity was a debtor in a case under the
Bankruptcy Code.
      Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 93 of 154



         8.       “Allowed” means, with respect to any Claim or Interest, a Claim or an Interest expressly allowed
under the Plan, under the Bankruptcy Code, or by a Final Order, as applicable.

       9.       “Assumption List” means the list of Executory Contracts and Unexpired Leases that shall be
assumed by the Debtors pursuant to the Plan attached as Exhibit B to the Notice of Filing of the Second Plan
Supplement [Docket No. 2150] and as may be amended from time to time.

         10.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

         11.       “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         12.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court.

        13.       “Bar Date” means the applicable deadline set by the Bankruptcy Court pursuant to this Plan, the Bar
Date Order, or other Final Order by which Proofs of Claim must be filed with respect to a Claim.

        14.      “Bar Date Order” means the Order (I) Setting Bar Dates for Filing Proofs of Claim, Including
Requests for Payment Under Section 503(B)(9), (II) Establishing Amended Schedules Bar Date and Rejection
Damages Bar Date, (III) Approving the Form and Manner for Filing Proofs of Claim, Including Section 503(B)(9)
Requests, (IV) Approving Notice of Bar Dates, and (V) Granting Related Relief [Docket No. 636].

         15.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as such term is
defined in Bankruptcy Rule 9006(a)).

          16.      “Cash” means cash and cash equivalents, including bank deposits, checks, and other similar items
in legal tender of the United States of America.

         17.       “Cash Collateral” has the meaning set forth in section 363(a) of the Bankruptcy Code.

         18.      “Cash Collateral Order” means either a further interim or final cash collateral order, based upon the
Seventh Interim Order (I) Authorizing Postpetition Use of Cash Collateral, (II) Granting Adequate Protection to the
Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
Related Relief [Docket No. 2135].

          19.      “Cause of Action” means, without limitation, any Claim, Interest, claim, damage, remedy, cause of
action, controversy, demand, right, right of setoff, action, cross claim, counterclaim, recoupment, claim for breach of
duty imposed by law or in equity, action, Lien, indemnity, contribution, reimbursement, guaranty, debt, suit, class
action, third-party claim, obligation, liability, damage, judgment, account, defense, offset, power, privilege, license,
or franchise of any kind or character whatsoever, whether known or unknown, foreseen or unforeseen, existing or
hereinafter arising, contingent or non-contingent, matured or unmatured, direct or indirect, choate or inchoate,
liquidated or unliquidated, suspected or unsuspected, disputed or undisputed, secured or unsecured, assertable or
existing directly or derivatively, whether arising before, on, or after the Petition Date, in contract or in tort, in law or
in equity, statutory or otherwise, under the Bankruptcy Code or applicable non-bankruptcy law, or pursuant to any
other theory of law. For the avoidance of doubt, Causes of Action include: (a) all rights of setoff, counterclaim, or
recoupment and claims on contracts or for breaches of duties imposed by law; (b) the right to object to or otherwise
contest Claims or Interests; (c) claims pursuant to sections 362, 510, 542, 543, 544, 545, 546, 547, 548, 549, 550, or
553 of the Bankruptcy Code or similar non-U.S. or state law; and (d) such claims and defenses as fraud, mistake,
duress, and usury and any other defenses set forth in section 558 of the Bankruptcy Code.

         20.       “CB&I” means CB&I LLC, a wholly owned subsidiary of McDermott International, Inc.

       21.         “CCZJV-GPX” means the hybrid joint venture between ZII, CB&I, and Chiyoda with respect to the
GPX Project.




                                                             2
      Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 94 of 154



         22.      “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending for
that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference to all
the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

           23.   “Chiyoda” means Chiyoda International Corporation.

           24.   “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the
Debtors.

        25.     “Claims and Noticing Agent” means Verita Global, LLC, formerly known as Kurtzman Carson
Consultants, LLC, as claims, noticing, and solicitation agent retained by the Debtors in the Chapter 11 Cases by
Bankruptcy Court order.

         26.       “Claims Objection Deadline” means ninety (90) calendar days after the Effective Date, subject to
extension as set forth in Article VII.A hereof.

        27.      “Claims Register” means the official register of Claims against and Interests in the Debtors
maintained by the Claims and Noticing Agent.

         28.     “Class” means a class of Claims or Interests as set forth in Article III hereof pursuant to
sections 1122 and 1123(a)(1) of the Bankruptcy Code.

           29.   “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

         30.      “Committee” means the Statutory Unsecured Claimholders’ Committee, appointed by the U.S.
Trustee pursuant to section 1102 of the Bankruptcy Code on June 4, 2024 [Docket No. 176] and reconstituted by the
U.S. Trustee on January 27, 2025 [Docket No. 2003].

        31.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

         32.      “Confirmation Date” means the date upon which the Bankruptcy Court confirms this Plan pursuant
to section 1129 of the Bankruptcy Code.

         33.      “Confirmation Hearing” means the hearing held by the Bankruptcy Court on the confirmation of
this Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such
hearing may be continued from time to time.

         34.      “Confirmation Order” means the order of the Bankruptcy Court confirming this Plan pursuant to
section 1129 of the Bankruptcy Code, which shall be in form and substance reasonably satisfactory to the Debtors and
the Committee and consistent in all material respects with the terms and conditions of the Plan.

           35.   “Consummation” means the occurrence of the Effective Date.

          36.      “Convenience Claim” means any Claim that would otherwise be a General Unsecured Claim that is
(a) Allowed in the Convenience Claim Amount or less, or (b) irrevocably reduced to the Convenience Claim Amount
at the election of the Holder of an Allowed General Unsecured Claim as evidenced on the ballot timely and validly
submitted by such Holder, pursuant to the solicitation procedures approved under the Disclosure Statement Order;
provided, however, that General Unsecured Claims may not be subdivided into multiple Claims of the Convenience
Claim Amount or less for purposes of receiving treatment as a Convenience Claim.

           37.   “Convenience Claim Amount” means $25,000.00.

        38.       “Cure Claim” means a Claim (unless waived or modified by the applicable counterparty) based upon
a Debtor’s defaults under an Executory Contract or an Unexpired Lease assumed by such Debtor under section 365



                                                         3
      Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 95 of 154



of the Bankruptcy Code, other than a default that is not required to be cured pursuant to section 365(b)(2) of the
Bankruptcy Code.

         39.      “Debtor Release” means the release set forth in Article VIII.C of this Plan.

         40.      “Debtors” has the meaning set forth in the introduction hereof.

        41.       “Deferred Compensation Plan” means the supplemental non-qualified deferred compensation plan
providing tax deferred income for certain employees of the Debtors.

         42.      “Deferred Compensation Plan Claims” means any Claim against any Debtor derived from, based
upon, or arising under the Deferred Compensation Plan.

          43.      “Disallowed” means, with respect to any Claim or Interest or portion thereof, any Claim against or
Interest in the Debtors which: (i) has been disallowed, in whole or in part, by a Final Order; (ii) has been withdrawn
by agreement of the Holder thereof and the Debtors or Reorganized Debtors in whole or in part; (iii) has been
withdrawn, in whole or in part, by the Holder thereof; (iv) if listed in the Schedules as zero or as Disputed, contingent,
or unliquidated and in respect of which a Proof of Claim or a proof of Interest, as applicable, has not been timely filed
or deemed timely filed pursuant to this Plan, the Bankruptcy Code, any Final Order, or other applicable law; (v) has
been reclassified, expunged, subordinated, or estimated to the extent that such reclassification, expungement,
subordination, or estimation results in a reduction in the filed amount of any Proof of Claim or proof of Interest; (vi) is
evidenced by a Proof of Claim or a proof of Interest which has been filed, or which has been deemed to be filed under
applicable law or order of the Bankruptcy Court, or which is required to be filed by order of the Bankruptcy Court,
but as to which such Proof of Claim or proof of Interest was not timely or properly filed; (vii) is unenforceable to the
extent provided in sections 502(b) or 502(e) of the Bankruptcy Code, including because such Claim asserts a right of
reimbursement or contribution that is contingent as of the Effective Date; or (viii) subject to the Debtor Release, where
the holder of a Claim is a Person or Entity from which property is recoverable under sections 542, 543, 550, or 553 of
the Bankruptcy Code or that is a transferee of a transfer avoidable under sections 522(f), 522(h), 544, 545, 547, 548,
549, or 724(a) of the Bankruptcy Code, unless such Person, Entity or transferee has paid the amount, or turned over
any such property, for which such Person, Entity, or transferee is liable under sections 522(i), 542, 543, 550, or 553
of the Bankruptcy Code. In each case a Disallowed Claim or a Disallowed Interest is disallowed only to the extent of
disallowance, withdrawal, reclassification, expungement, subordination, or estimation.

        44.      “Disclosure Statement” means the disclosure statement in respect of this Plan, including all exhibits
and schedules thereto, as approved or ratified by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy
Code.

          45.      “Disclosure Statement Order” means one or more orders entered by the Bankruptcy Court:
(i) finding that the Disclosure Statement (including any amendment, supplement, or modification thereto) contains
adequate information pursuant to section 1125 of the Bankruptcy Code and Bankruptcy Rule 3017, and (ii) authorizing
the use of the Disclosure Statement for soliciting votes on the Plan.

          46.      “Disputed” means, as to a Claim or an Interest, a Claim or an Interest that is (a) neither Allowed nor
Disallowed under this Plan or a Final Order, nor deemed Allowed under sections 502, 503, or 1111 of the Bankruptcy
Code; (b) subject to an objection or a request for estimation Filed by the Claims Objection Deadline by any party in
interest, and such objection or request for estimation has not been withdrawn or determined by a Final Order; or (c) is
contingent or unliquidated and not otherwise Allowed by a Final Order.

        47.      “Distribution Agent” means the Reorganized Debtors or the Entity or Entities selected by the
Debtors or the Reorganized Debtors, as applicable, to make or facilitate distributions pursuant to this Plan for all
Claims other than General Unsecured Claims.

         48.     “Distribution Record Date” means the record date for purposes of making distributions under this
Plan on account of Allowed Claims, which shall be the Effective Date.




                                                            4
      Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 96 of 154



          49.      “Effective Date” means the date that is the first Business Day after the Confirmation Date on which
(a) no stay of the Confirmation Order is in effect and (b) all conditions precedent to the occurrence of the Effective
Date set forth in Article IX.A of this Plan have been satisfied or waived in accordance with Article IX.B of this Plan.
Any action to be taken on the Effective Date may be taken on the Effective Date or as soon as reasonably practicable
thereafter.

          50.     “Employee Obligations” means any existing obligations to employees, independent contractors, and
retirees of the Debtors to be assumed, Reinstated, or honored, as applicable, in accordance with Article IV.L of this
Plan, including the Deferred Compensation Plan.

         51.      “Entity” means any entity, as defined in section 101(15) of the Bankruptcy Code.

         52.      “Equity Security” means any equity security, as defined in section 101(16) of the Bankruptcy Code,
in a Debtor.

         53.       “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code.

       54.      “Exculpated Parties” means, collectively, and in each case in its capacity as such, the Debtors, the
Committee, and each member of the Committee.

         55.     “Executory Contract” means a contract to which one or more of the Debtors are a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

         56.        “Exit Intercreditor Agreement” means that certain junior lien intercreditor agreement (which shall
be consistent in all material respects with the terms set forth in the term sheet attached as Exhibit B to the Confirmation
Order), by and among the A&R Credit Facility Agent, as agent under the A&R Credit Facility, Sunbelt, as lender
under the Sunbelt Promissory Note and the GUC Note Collateral Agent, as collateral agent under the GUC Note, as
amended, restated, amended and restated, supplemented or otherwise modified from time to time.

         57.      “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

        58.      “File” means file, filed, or filing with the Bankruptcy Court or its authorized designee in the Chapter
11 Cases. “Filed” and “Filing” shall have correlative meanings.

         59.       “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court, or other court of
competent jurisdiction with respect to the relevant subject matter, that has not been reversed, stayed, modified, or
amended and as to which the time to appeal, seek certiorari, or move for a new trial, reargument, or rehearing has
expired and as to which no appeal, petition for certiorari, or other proceedings for a new trial, reargument, or rehearing
has been timely taken, or as to which any appeal that has been taken or any petition for certiorari that has been or may
be timely filed has been withdrawn or resolved by the highest court to which the order or judgment was appealed or
from which certiorari was sought or the new trial, reargument, or rehearing has been denied, resulted in no
modification of such order, or has otherwise been dismissed with prejudice; provided, however, for the avoidance of
any doubt, an order or judgment that is subject to appeal shall not constitute a Final Order even if a stay of such order
or judgment pending resolution of the appeal has not been obtained; provided, further, that the possibility that a motion
under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be
filed with respect to such order will not preclude such order from being a Final Order.

         60.      “General Unsecured Claim” means any Unsecured Claim against the Debtors that is not: (a) an
Administrative Claim; (b) a Professional Fee Claim; (c) a Priority Tax Claim; (d) a Restructuring Expense; (e) an
Other Priority Claim; (f) a Deferred Compensation Plan Claim; (g) a Convenience Claim; or (h) an Intercompany
Claim. For the avoidance of doubt, General Unsecured Claims include (x) Claims resulting from the rejection of
Executory Contracts and Unexpired Leases, and (y) Claims resulting from litigation against one or more of the
Debtors, arising prior to the Petition Date.




                                                            5
        Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 97 of 154



         61.     “Golden Pass” means Golden Pass LNG Terminal LLC, f/k/a Golden Pass Products LLC.

        62.     “Governing Body” means, in each case in its capacity as such, the board of directors, board of
managers, manager, managing member, general partner, investment committee, special committee, or such similar
governing body of any of the Debtors or the Reorganized Debtors, as applicable.

         63.     “Governmental Unit” means any governmental unit, as defined in section 101(27) of the Bankruptcy
Code.

         64.      “GPX Administrative Claims” means GPX Claims for amounts due in connection with the GPX
Project incurred by ZII between May 21, 2024 and July 25, 2024 that constitute Administrative Claims.

         65.        “GPX Claims” means Claims for ZII’s obligations to vendors and subcontractors (including ZII’s
share of Pool A and Pool B obligations of CCZJV-GPX and MZJV-GPX, respectively, but excluding obligations to
ZII and its affiliates) for amounts validly due for goods and/or services in respect of the GPX Project.

      66.        “GPX Direct Payment Cap” means the Direct Payment Cap (as defined in the GPX Settlement
Documents).

         67.      “GPX Excess Claims Stipulation” means the joint stipulation of facts and agreed determination
between the Debtors and Golden Pass determining the amount of Excess Claims (as defined in the GPX Settlement
Term Sheet, attached as Exhibit A to the GPX Interim Settlement Order) under the GPX Settlement, attached as
Exhibit G to the Notice of Filing of the Second Plan Supplement [Docket No. 2150].

         68.       “GPX Final Settlement Order” means the Final Order (I) Approving the Settlement By and Among
the Debtors, Golden Pass LNG Terminal LLC, CB&I LLC, Chiyoda International Corporation, and CCZJV
(II) Authorizing the Parties to Perform Any and All Obligations Contemplated By the Settlement, and (III) Granting
Related Relief [Docket No. 744].

         69.       “GPX Interim Settlement Order” means the Interim Order (I) Approving the Settlement By and
Among the Debtors, Golden Pass LNG Terminal LLC, CB&I LLC, Chiyoda International Corporation, and CCZJV
(II) Authorizing the Parties to Perform Any and All Obligations Contemplated By the Settlement, (III) Scheduling a
Final Hearing, and (IV) Granting Related Relief [Docket Nos. 610 (Sealed); 625 (Redacted)].

        70.      “GPX L/C” means the Irrevocable Standby Letter of Credit, No. 3139428, dated February 25, 2019,
as amended, issued by the GPX L/C Issuer.

         71.     “GPX L/C Issuer” means the Prepetition Credit Facility Agent.

         72.      “GPX L/C Permitted Draws” means Golden Pass’s right, pursuant to the terms of the GPX
Settlement, to make the GPX L/C Scheduled Draws; provided, however, that pursuant to Article IV.B hereof and the
GPX Excess Claims Stipulation, the Debtors may wire Cash to Golden Pass in the amount of each Scheduled Draw
on or before the date each Scheduled Draw is due under the GPX Settlement, in lieu of Golden Pass making each
Scheduled Draw against the GPX L/C.

         73.     “GPX L/C Scheduled Draws” means Golden Pass’s right to draw on the GPX L/C in specified
amounts on specified dates in accordance with the GPX Settlement; provided, however, that pursuant to Article IV.B
hereof and the GPX Excess Claims Stipulation, the Debtors may wire Cash to Golden Pass in the amount of each
Scheduled Draw on the date each Scheduled Draw is due under the GPX Settlement, in lieu of Golden Pass making
each Scheduled Draw against the GPX L/C.

       74.      “GPX Parent Guarantee” means that certain guarantee executed by ZHI in favor of Golden Pass (as
amended, supplemented, or otherwise modified), related to the GPX Project.




                                                        6
      Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 98 of 154



         75.      “GPX Project” means the Golden Pass liquefied natural gas project under construction in Sabine
Pass, Texas.

          76.    “GPX Settlement” means the settlement among the GPX Settlement Parties resolving disputes
related to the GPX Project, as set forth in the GPX Settlement Documents, and approved on a final basis under the
GPX Final Settlement Order.

        77.      “GPX Settlement Dispute Opinion” means the Memorandum Opinion [Docket No. 1266], dated
October 29, 2024.

         78.      “GPX Settlement Dispute Order” means the Order [Docket No. 1267], dated October 29, 2024.

         79.     “GPX Settlement Documents” means, collectively, the GPX Final Settlement Order, the GPX
Interim Settlement Order, the GPX Settlement Term Sheet (attached as Exhibit A to the GPX Interim Settlement
Order), the Confidential Settlement Agreement and Release in Connection with the Settlement Term Sheet [Docket
No. 739], the GPX Excess Claims Stipulation, and all ancillary documents contemplated by and related to the
foregoing documents.

         80.      “GPX Settlement Parties” means the Debtors, Golden Pass, CCZJV-GPX, CB&I, and Chiyoda.

        81.      “GUC Note Administrative Agent” means, solely in its capacity as such, an Entity selected by the
Committee, reasonably acceptable to the Debtors, to serve as the administrative agent of the GUC Promissory Notes,
and any successor thereto, on behalf of the Holders of Allowed General Unsecured Claims in accordance with the
GUC Note Documents. The identity of the initial GUC Note Administrative Agent shall be disclosed at or prior to
the Confirmation Hearing.

        82.     “GUC Note Collateral Agent” means, solely in its capacity as such, an Entity selected by the
Committee and reasonably acceptable to the Debtors, to serve as the collateral agent of the GUC Promissory Notes,
and any successor thereto, on behalf of the Holders of Allowed General Unsecured Claims in accordance with the
GUC Note Documents. The identity of the initial GUC Note Collateral Agent shall be disclosed at or prior to the
Confirmation Hearing.

          83.    “GUC Note Purchase Agreement” means that certain note purchase agreement to be entered into,
on or before the Effective Date, by the Debtors and the GUC Note Administrative Agent on behalf of Holders of
Allowed General Unsecured Claims, pursuant to which ZHI shall issue the GUC Promissory Notes on the terms set
forth in the GUC Note Term Sheet.

         84.      “GUC Note Documents” means any documents governing the GUC Promissory Notes, including
the GUC Note Term Sheet, GUC Note Purchase Agreement, the Exit Intercreditor Agreement, and any amendments,
modifications, and supplements thereto, and together with any related commitments, notes, certificates, agreements,
security agreements, documents, and instruments (including any amendments, restatements, supplements, or
modifications of any of the foregoing) related to or executed in connection therewith.

         85.      “GUC Note Term Sheet” means the term sheet describing the material terms of the GUC Promissory
Notes, attached as Exhibit F to the Notice of Filing of the Second Plan Supplement [Docket No. 2150], and shall be
acceptable to the Committee.

         86.      “GUC Promissory Notes” means the secured promissory notes to be issued pursuant to the GUC
Note Purchase Agreement and this Plan in a face amount equal to the aggregate Allowed amount of General Unsecured
Claims (inclusive of postpetition interest accrued at the Federal Judgment Rate) and on the terms set forth in the GUC
Note Term Sheet.

         87.      “Holder” means a Person or an Entity holding a Claim against, or an Interest in, any Debtor, as
applicable, including any Person or Entity that is the record or beneficial owner, nominee, investment advisor, sub-
advisor, or manager of discretionary accounts that hold any Claim against or Interest in any Debtor.



                                                          7
        Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 99 of 154



         88.      “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests that
is impaired within the meaning of section 1124 of the Bankruptcy Code.

         89.      “Indemnification Obligation” means any existing indemnification obligations to be assumed,
Reinstated, or honored, as applicable, in accordance with Article IV.K of this Plan.

          90.     “Intercompany Claim” means any Claim against a Debtor held by another Debtor or a non-Debtor
Affiliate.

         91.      “Intercompany Interest” means any Interest in a Debtor held by another Debtor.

          92.      “Interest” means, collectively, (a) any Equity Security in any Debtor and (b) any other rights,
options, warrants, stock appreciation rights, phantom stock rights, restricted stock units, redemption rights, repurchase
rights, convertible, exercisable or exchangeable securities or other agreements, arrangements, or commitments of any
character relating to, or whose value is related to, any such interest or other ownership interest in any Debtor that
existed immediately before the Effective Date.

         93.      “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1-4001.

         94.      “Lien” means any lien, as defined in section 101(37) of the Bankruptcy Code.

         95.      “MZJV-GPX” means the joint venture between ZII and CB&I with respect to the GPX Project.

       96.     “Order” means any judgment, order, award, injunction, writ, permit, license, or decree of any
Governmental Body or arbitrator of applicable jurisdiction.

         97.      “Organizational Documents” means the organizational and governance documents for the Debtors,
as may be amended to give effect to the Restructuring Transactions as contemplated by the Plan, including, without
limitation, any applicable certificates of incorporation, certificates of formation, or certificates of limited partnership
(or equivalent organizational documents), bylaws, and limited liability company agreements.

          98.       “Other Priority Claim” means any Claim, other than an Administrative Claim or Priority Tax Claim,
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         99.      “Other Secured Claim” means any Secured Claim against the Debtors other than the Prepetition
Credit Facility Claims.

         100.     “Parent Capital Contribution” means a capital contribution to be made on or prior to the Effective
Date to ZHI by the immediate parent company of ZHI, totaling $53 million and comprised of (x) $30 million in Cash
and (y) the cancellation of intercompany liabilities owed by the Debtors in an amount equal to $23 million.

         101.     “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         102.     “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases, May 21,
2024.

          103.    “Plan” means this joint plan of reorganization under chapter 11 of the Bankruptcy Code, either in
its present form or as it may be altered, amended, supplemented, or otherwise modified from time to time, including
all exhibits, schedules, supplements, appendices, annexes, and attachments hereto, as may be altered, amended,
supplemented, or otherwise modified from time to time in accordance with Article IX.A hereof, including the Plan
Supplement (as altered, amended, supplemented, or otherwise modified from time to time), which is incorporated by
reference herein and made part of the Plan as if set forth herein; provided, however, that the Debtors shall obtain the
consent of the Committee (which consent shall not be unreasonably withheld) for any alterations, amendments,
supplements, or modifications to the Plan impacting the treatment of Holders of General Unsecured Claims under the
Plan.



                                                            8
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 100 of 154



          104.      “Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to this Plan (in each case, as may be altered, amended, modified, or supplemented from time
to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and the Bankruptcy Rules),
the initial drafts of certain of such documents to be Filed by the Debtors no later than seven (7) calendar days before
the deadline to object to confirmation of this Plan to the extent available, or such later date as may be approved by the
Bankruptcy Court, including the following, as applicable: (a) the Organizational Documents (solely to the extent that
the Debtors determine, in their sole discretion, that any amendments to such Organizational Documents are necessary
to effectuate the Restructuring Transactions on the Effective Date); (b) the Assumption List; (c) the Rejection List;
(d) the Schedule of Retained Causes of Action; (e) the A&R Credit Facility Term Sheet; (f) the GUC Note Term
Sheet; and (g) the GPX Excess Claims Stipulation; provided, however, that the Debtors shall obtain the consent of the
Committee (which consent shall not be unreasonably withheld) for any alterations, amendments, supplements, or
modifications to the Plan Supplement impacting the treatment of Holders of General Unsecured Claims under the
Plan.

        105.      “Prepetition Credit Agreement” means the Third Amendment to Second Amended and Restated
Credit Agreement, dated as of May 2, 2023 (as amended, amended and restated, supplemented, or otherwise modified
from time to time), among the Prepetition Loan Parties, the Prepetition Lenders, the Prepetition Credit Facility Agent,
and each other party thereto.

        106.     “Prepetition Credit Facility” means the senior secured credit facility, including the Prepetition
Revolving Facility, Prepetition L/C Facility, and Prepetition Term Loan Facility, governed by the Prepetition Credit
Agreement.

        107.      “Prepetition Credit Facility Agent” means Bank of America, N.A., in its capacity as the
administrative agent under the Prepetition Credit Agreement.

         108.     “Prepetition Credit Facility Claims” means any Claim against any Debtor derived from, based upon,
or arising under the Prepetition Credit Facility, including the Prepetition Revolver Claims, Prepetition L/C Claims,
and Prepetition Term Loan Claims.

        107.     “Prepetition Intercreditor Agreement” means that certain intercreditor agreement executed on
January 25, 2013 by and between the Prepetition Credit Facility Agent and the Sureties.

         109.     “Prepetition L/C Claims” means any Claim against any Debtor derived from, based upon, or arising
under the Prepetition L/C Facility.

         110.    “Prepetition L/C Facility” means the senior secured letter of credit facility provided under the
Prepetition Revolving Facility.

         111.     “Prepetition Lenders” means, collectively, the lenders under the Prepetition Credit Facility.

        112.     “Prepetition Loan Parties” means ZHI, Zachry EPC Holdings, LLC, and Zachry Plan Services
Holdings, Inc., as borrowers, and the guarantors party to that certain Third Amended and Restated Continuing
Guaranty, dated as of May 2, 2023.

         113.     “Prepetition Revolver Claims” means any Claim against any Debtor derived from, based upon, or
arising under the Prepetition Revolving Facility.

         114.      “Prepetition Revolving Facility” means the senior secured revolving credit facility, including a
swing line facility and the Prepetition L/C Facility, provided under the Prepetition Credit Facility.

         115.    “Prepetition Secured Parties” means, collectively, the Prepetition Credit Facility Agent and the
Prepetition Lenders.




                                                           9
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 101 of 154



         116.     “Prepetition Term Loan Claims” means any Claim against any Debtor derived from, based upon, or
arising under the Prepetition Term Loan Facility.

         117.     “Prepetition Term Loan Facility” means the senior secured term loan facility provided under the
Prepetition Credit Facility.

         118.     “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

         119.    “Professional” means any Entity: (a) employed pursuant to a Bankruptcy Court order in accordance
with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on
the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

        120.    “Professional Fee Claim” means any Claim by a Professional seeking an award by the Bankruptcy
Court of compensation for services rendered or reimbursement of expenses incurred through and including the
Confirmation Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

         121.     “Proof of Claim” means a written proof of Claim Filed against any of the Debtors in the Chapter 11
Cases.

         122.     “Reinstatement” means, with respect to a Claim or Interest, that the Claim or Interest shall be
rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code. “Reinstated” and “Reinstate” shall
have correlative meanings.

        123.    “Rejection List” means the list of Executory Contracts and Unexpired Leases that shall be rejected
by the Debtors pursuant to the Plan attached as Exhibit C to the Notice of Filing of the Second Plan Supplement
[Docket No. 2150] and as may be amended from time to time.

          124.     “Related Party” means with respect to an Entity, collectively, (a) such Entity’s current and former
Affiliates and (b) such Entity’s current and former Affiliates’ respective directors, managers, officers, shareholders,
equity holders (regardless of whether such interests are held directly or indirectly), affiliated investment funds or
investment vehicles, predecessors, participants, successors, assigns (whether by operation of law or otherwise),
subsidiaries, current, former, and future associated entities, managed or advised entities, accounts or funds, partners,
limited partners, general partners, principals, members, management companies, fund advisors, managers, fiduciaries,
trustees, employees, agents (including any disbursing agent), advisory board members, financial advisors, attorneys,
accountants, investment bankers, consultants, other representatives, and other professionals, representatives, advisors,
predecessors, successors, and assigns, each solely in their capacities as such (including any other attorneys or
professionals retained by any current or former director or manager in his or her capacity as director or manager of an
Entity), and the respective heirs, executors, estates, and nominees of the foregoing.

          125.      “Released Avoidance Actions” means any and all avoidance, recovery, subordination, or other
Claims and Causes of Action that may be brought by or on behalf of the Debtors or their Estates or other authorized
parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including actions or remedies under
sections 510, 542, 544, 545, and 547 through and including 553 of the Bankruptcy Code, or other similar or related
state, federal, or foreign statutes, common law, or other applicable law.

          126.     “Released Party” means, collectively, the following Entities, in each case in their capacities as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) each member of the Committee; (d) the Prepetition Credit Facility
Agent; (e) the A&R Credit Facility Agent; (f) the Released Prepetition Lenders; (g) Golden Pass, but solely with
respect to the Debtors, the Debtors’ Related Parties, and Holders of Claims related to the GPX Project, consistent with
the GPX Settlement; (h) the Sureties; (i) all Releasing Parties; and (j) each Related Party of each Entity in clause (a)
through (i); provided, however, in each case, an Entity shall not be a Released Party if it: (i) elects to opt out of the
Third-Party Release or (ii) Files with the Bankruptcy Court an objection to the Plan, including with respect to the




                                                           10
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 102 of 154



Third-Party Release, that is not consensually resolved before Confirmation or otherwise supports any such objection
or objector.

          127.     “Released Prepetition Lenders” means, collectively, the Prepetition Lenders that do not elect to opt-
out of, or that do not object to, the Third-Party Release.

         128.      “Releasing Party” means, collectively, the following Entities, in each case in their capacities as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) each member of the Committee; (d) the Prepetition Credit Facility
Agent; (e) the A&R Credit Facility Agent; (f) the Released Prepetition Lenders; (g) Golden Pass, but solely with
respect to the Debtors and the Debtors’ Related Parties consistent with the GPX Settlement; (h) the Sureties; (i) all
Holders of Claims who vote to accept the Plan and who do not affirmatively opt out of the Third-Party Release
provided by the Plan by checking the box on the applicable ballot indicating that they opt not to grant the Third-Party
Release provided in the Plan; (j) all Holders of Claims or Interests who are deemed to accept the Plan and who do not
affirmatively opt out of the Third-Party Release provided by the Plan by checking the box on the applicable notice of
non-voting status indicating that they opt not to grant the Third-Party Release provided in the Plan; (k) all Holders of
Claims or Interests who are deemed to reject the Plan and who do not affirmatively opt out of the Third-Party Release
provided by the Plan by checking the box on the applicable notice of non-voting status indicating that they opt not to
grant the Third-Party Release provided in the Plan; (l) all Holders of Claims who abstain from voting on the Plan and
who do not affirmatively opt out of the Third-Party Release provided by the Plan by checking the box on the applicable
ballot indicating that they opt not to grant the Third-Party Release provided in the Plan; (m) all Holders of Claims
who vote to reject the Plan and who do not affirmatively opt out of the Third-Party Release provided by the Plan by
checking the box on the applicable ballot indicating that they opt not to grant the Third-Party Release provided in the
Plan; and (n) each Related Party of each Entity in clause (a) through (m) for which such Entity is legally entitled to
bind such Related Party to the releases contained in the Plan under applicable law; provided, however, notwithstanding
anything to the contrary in this Plan, current employees of the Debtors as of the Voting Record Date shall not be
Releasing Parties under this Plan.

         129.     “Reorganized Debtor” means a Debtor, or any successor or assign thereto, by merger, consolidation,
reorganization, or otherwise, in the form of a corporation, limited liability company, partnership, or other form, as the
case may be, on and after the Effective Date, unless otherwise dissolved pursuant to this Plan.

         130.    “Restructuring Expenses” means the actual, reasonable, and documented fees and expenses of the
Prepetition Lenders, subject to the terms of the Prepetition Credit Facility or any applicable fee reimbursement letter
between any Entity and the Debtors, as the case may be.

         131.     “Restructuring Transactions” means the transactions described in Article IV.C of this Plan.

         132.    “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors (attached as Exhibit D to the Notice of Filing of the Second Plan Supplement [Docket No. 2150]) that,
notwithstanding anything to the contrary in the Plan, are not released, waived, or transferred pursuant to this Plan, as
the same may be amended, modified, or supplemented from time to time.

          133.     “Schedules” means, collectively, the schedules of assets and liabilities and statements of financial
affairs Filed by the Debtors on July 16, 2024 [Docket Nos. 511-52] pursuant to section 521 of the Bankruptcy Code
and in substantial accordance with the Official Bankruptcy Forms, as amended on August 30, 2024 [Docket Nos. 855-
64], on December 2, 2024 [Docket No. 1564], and on December 20, 2024 [Docket Nos. 1770-75], and as the same
may be further amended, modified, or supplemented from time to time.

          134.      “Secured Claim” means a Claim: (a) secured by a valid, perfected, and enforceable Lien on collateral
to the extent of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code
or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.




                                                            11
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 103 of 154



          135.     “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a-77aa, or any
similar federal, state, or local Law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         136.     “SIR” means any self-insured retention under the Debtors’ insurance policies.

          137.    “Sunbelt” means Sunbelt Rentals, Inc. or its duly authorized agent on behalf of itself and its
affiliates.

        138.      “Sunbelt Promissory Note” means that certain secured promissory note to be issued by Zachry
Holdings, Inc. to Sunbelt on the terms set forth in the Sunbelt Term Sheet.

         139.    “Sunbelt Term Sheet” means Exhibit A attached to the Stipulation and Agreed Order Regarding
Sunbelt Claims [Docket No. 2284].

      140.        “Sureties” means Travelers Casualty & Surety Company of America and Pacific Indemnity
Company.

         141.     “Third-Party Release” means the release set forth in Article VIII.D of this Plan.

        142.      “Unexpired Lease” means a lease to which one or more of the Debtors are a party and that is subject
to assumption or rejection under section 365 of the Bankruptcy Code.

          143.    “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         144.     “Unsecured Claim” means any Claim that is not a Secured Claim.

         145.     “U.S. Trustee” means the Office of the United States Trustee.

         146.      “Voting Record Date” means the record date for determining whether any Holder of an Impaired
Claim is entitled to vote to accept or reject the Plan, as established pursuant to the Disclosure Statement Order.

         148.      “Workers’ Compensation Program” means the Debtors’ (a) written contracts, agreements, and
agreements of indemnity, in each case relating to workers’ compensation, (b) self-insured workers’ compensation
bonds, policies, programs, and plans for workers’ compensation, and (c) workers’ compensation insurance issued to
or entered into at any time by any of the Debtors.

         149.     “Zachry Interests” means the Interests in ZHI.

         150.     “ZHI” means Zachry Holdings, Inc.

         151.     “ZII” means Zachry Industrial, Inc.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit, whether or not Filed, having been Filed, or to be Filed shall mean that document, schedule, or exhibit, as it
may thereafter be amended, modified, or supplemented in accordance with this Plan or the Confirmation Order, as
applicable; (4) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s successors and



                                                           12
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 104 of 154



assigns; (5) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(6) unless otherwise specified, all references herein to exhibits are references to exhibits contained in the Plan
Supplement; (7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to this Plan in its entirety
rather than to a particular portion of this Plan; (8) unless otherwise specified, the words “include” and “including,”
and variations thereof, shall not be deemed to be terms of limitation, and shall be deemed to be followed by the words
“without limitation”; (9) captions and headings to Articles are inserted for convenience of reference only and are not
intended to be a part of or to affect the interpretation of this Plan; (10) unless otherwise specified herein, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; (11) any term used in capitalized form herein
that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning
assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; (12) all references to docket
numbers of documents Filed in the Chapter 11 Cases are references to the docket numbers under the Bankruptcy
Court’s CM/ECF system; (13) all references to statutes, regulations, orders, rules of courts, and the like shall mean as
amended from time to time, and as applicable to the Chapter 11 Cases, unless otherwise stated; (14) any immaterial
effectuating provisions may be interpreted by the Reorganized Debtors in such a manner that is consistent with the
overall purpose and intent of this Plan, all without further notice to or action, order, or approval of the Bankruptcy
Court or any other Entity; and (15) unless otherwise specified, any action to be taken on the Effective Date may be
taken on the Effective Date or as soon as reasonably practicable thereafter.

C.       Computation of Time.

         Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If any payment, distribution, act, or deadline under this
Plan is required to be made or performed or occurs on a day that is not a Business Day, then the making of such
payment or distribution, the performance of such act, or the occurrence of such deadline shall be deemed to be on the
next succeeding Business Day, but shall be deemed to have been completed or to have occurred as of the required
date.

D.       Governing Law.

          Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of Texas, without giving effect to the principles of
conflict of laws, shall govern the rights, obligations, construction, and implementation of this Plan, any agreements,
documents, instruments, or contracts executed or entered into in connection with this Plan, and the Confirmation Order
(except as otherwise set forth in those agreements, in which case the governing law of such agreement shall control);
provided, however, corporate or limited liability company governance matters relating to the Debtors or the
Reorganized Debtors, shall be governed by the laws of the state of incorporation or formation (as applicable) of the
applicable Debtor or the Reorganized Debtor.

E.       Reference to Monetary Figures.

         All references in this Plan to monetary figures shall refer to the legal tender of the United States of America,
unless otherwise expressly provided herein.

F.       Controlling Document.

          In the event of an inconsistency between this Plan and the Disclosure Statement, the terms of this Plan shall
control in all respects. In the event of an inconsistency between this Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of any inconsistency between the Plan and the GPX Settlement Documents
with respect to the terms of the GPX Settlement, the GPX Settlement Documents shall control. In the event of an
inconsistency between the Confirmation Order and this Plan, the Confirmation Order shall control.




                                                            13
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 105 of 154



                                              ARTICLE II.
                                  ADMINISTRATIVE AND PRIORITY CLAIMS

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Fee
Claims, Priority Tax Claims, and Restructuring Expenses have not been classified and, thus, are excluded from the
Classes of Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

         Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors or the
Reorganized Debtors, as applicable, or otherwise provided for under the Plan, to the extent an Allowed Administrative
Claim has not already been paid in full or otherwise satisfied during the Chapter 11 Cases, each Holder of an Allowed
Administrative Claim (other than Holders of Professional Fee Claims, Claims for fees and expenses pursuant to
section 1930 of chapter 123 of the Judicial Code, and Restructuring Expenses) shall be paid in full an amount of Cash
equal to the amount of the unpaid portion of such Allowed Administrative Claim in full and final satisfaction,
compromise, settlement, release, and discharge of such Administrative Claim in accordance with the following: (1) if
such Administrative Claim is Allowed on or prior to the Effective Date, on the Effective Date, or as soon as reasonably
practicable thereafter (or, if not then due, when such Allowed Administrative Claim is due or as soon as reasonably
practicable thereafter); (2) if such Administrative Claim is not Allowed on or prior to the Effective Date, the first
Business Day after the date that is thirty (30) days after the date such Administrative Claim is Allowed, or as soon as
reasonably practicable thereafter; (3) if such Allowed Administrative Claim is based on liabilities incurred by the
Debtors in the ordinary course of their business, in accordance with the terms and conditions of the particular
transaction or course of business giving rise to such Allowed Administrative Claim; (4) at such time and upon such
terms as may be agreed upon by the Holder of such Allowed Administrative Claim and the Debtors or the Reorganized
Debtors, as applicable; or (5) at such time and upon such terms as set forth in a Final Order of the Bankruptcy Court.
Nothing in the foregoing or otherwise in this Plan shall prejudice the Debtors’ or the Reorganized Debtors’ rights and
defenses regarding any asserted Administrative Claim.

         For the avoidance of doubt, and notwithstanding anything to the contrary in the Plan, any Allowed
Administrative Claims that are GPX Administrative Claims to the extent not satisfied prior to the Effective Date, if
any, shall be paid by Golden Pass in accordance with the terms of the GPX Settlement Documents and this Plan.

B.       Professional Fee Claims.

         1.       Final Fee Applications and Payment of Professional Fee Claims.

         All requests for payment of Professional Fee Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than forty-five (45) days after the Effective Date. The
Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice and a hearing in
accordance with the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional
Fee Claims in Cash as soon as practicable after such Professional Fee Claims are Allowed.

         2.       Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in this Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of this Plan and Consummation incurred by the Debtors (including for the avoidance of doubt the
Committee’s Professional fees and expenses). Upon the Confirmation Date, any requirement that Professionals
comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in seeking retention or compensation
for services rendered after such date shall terminate, and the Debtors may employ and pay any Professional in the
ordinary course of business without any further notice to or action, order, or approval of the Bankruptcy Court.




                                                          14
         Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 106 of 154



C.         Priority Tax Claims.

         Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to less favorable treatment, in full
and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim, each
Holder of such Allowed Priority Tax Claim shall receive Cash equal to the full amount of its Claim or such other
treatment in accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

D.         Restructuring Expenses.

         The Restructuring Expenses incurred, or estimated to be incurred, up to and including the Effective Date (or,
with respect to necessary post-Effective Date matters, after the Effective Date), shall be paid in full in Cash on the
Effective Date (to the extent not previously paid during the course of the Chapter 11 Cases) in accordance with, and
subject to, the terms set forth herein, without any requirement to File a fee application with the Bankruptcy Court,
without the need for itemized time detail, or without any requirement for Bankruptcy Court review or approval. All
Restructuring Expenses to be paid on the Effective Date shall be estimated prior to and as of the Effective Date and
such estimates shall be delivered to the Debtors at least three (3) Business Days before the anticipated Effective Date;
provided, however, that such estimates shall not be considered an admission or limitation with respect to such
Restructuring Expenses. On the Effective Date, invoices for all Restructuring Expenses incurred prior to and as of
the Effective Date shall be submitted to the Debtors. After the Effective Date, the Debtors and Reorganized Debtors
(as applicable) shall continue to pay when due and payable in the ordinary course of their business any unpaid
Restructuring Expenses that were incurred on, before, or after the Effective Date.

                                         ARTICLE III.
                    CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.         Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
of this Plan (or as otherwise set forth herein), all Claims and Interests are classified in the Classes set forth below in
accordance with sections 1122 and 1123(a)(1) of the Bankruptcy Code. In accordance with section 1123(a)(1) of the
Bankruptcy Code, the Debtors have not classified Administrative Claims, Professional Fee Claims, Priority Tax
Claims, or Restructuring Expenses, as described in Article II.

          A Claim or an Interest, or any portion thereof, is classified in a particular Class only to the extent that any
portion of such Claim or Interest qualifies within the description of that Class and is classified in other Classes to the
extent that any portion of such Claim or Interest qualifies within the description of such other Classes. A Claim or an
Interest also is classified in a particular Class for the purpose of receiving distributions under this Plan only to the
extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not been paid, released, or
otherwise satisfied prior to the Effective Date.

           The classification of Claims against and Interests in the Debtors pursuant to this Plan is as follows:

 Class            Claim or Interest                    Status                             Voting Rights
     1          Other Secured Claims                 Unimpaired             Presumed to Accept; Not Entitled to Vote
     2          Other Priority Claims                Unimpaired             Presumed to Accept; Not Entitled to Vote
                  Prepetition Credit
     3                                                Impaired                           Entitled to Vote
                   Facility Claims
               Deferred Compensation
     4                                               Unimpaired             Presumed to Accept; Not Entitled to Vote
                    Plan Claims
     5           Convenience Claims                  Unimpaired             Presumed to Accept; Not Entitled to Vote
     6        General Unsecured Claims                Impaired                           Entitled to Vote



                                                            15
         Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 107 of 154




 Class            Claim or Interest                   Status                            Voting Rights
                                                                          Presumed to Accept / Presumed to Reject;
     7          Intercompany Claims             Impaired/Unimpaired
                                                                                    Not Entitled to Vote
                                                                          Presumed to Accept / Presumed to Reject;
     8          Intercompany Interests          Impaired/Unimpaired
                                                                                    Not Entitled to Vote
     9             Zachry Interests                 Unimpaired            Presumed to Accept; Not Entitled to Vote

B.         Formation of Debtor Groups for Convenience Only.

          This Plan is a separate plan of reorganization for each Debtor. This Plan groups the Debtors together solely
for the purpose of describing treatment under the Plan, Confirmation of this Plan, and making distributions in respect
of Claims against and Interests in the Debtors under this Plan. Such groupings shall not affect any Debtor’s status as
a separate legal entity, change the organizational structure of the Debtors’ business enterprise, constitute a change of
control of any Debtor for any purpose, cause a merger or consolidation of any legal entities, or cause the transfer of
any assets. Except as otherwise provided by or permitted under this Plan, all Debtors shall continue to exist as separate
legal entities. The Plan is not premised on, and does not provide for, the substantive consolidation of the Debtors with
respect to the Classes of Claims or Interests set forth in the Plan, or otherwise.

C.         Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under this Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such
Holder’s Allowed Claim or Allowed Interest, except to the extent less favorable treatment is agreed to by the
Reorganized Debtors and the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise
indicated, the Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the
Effective Date or as soon as reasonably practicable thereafter.

           1.      Class 1 – Other Secured Claims.

                   a.   Classification: Class 1 consists of all Other Secured Claims.

                   b.   Treatment: In full and final satisfaction, settlement, release, and discharge of and in exchange
                        for each Allowed Other Secured Claim, each Holder of such Allowed Other Secured Claim
                        shall receive, at the option of the applicable Debtor or Reorganized Debtor, either:

                            i.   payment in full in Cash of its Allowed Other Secured Claim;

                           ii.   the collateral securing its Allowed Other Secured Claim;

                          iii.   Reinstatement of its Allowed Other Secured Claim; or

                          iv.    such other treatment rendering its Allowed Other Secured Claim Unimpaired in
                                 accordance with section 1124 of the Bankruptcy Code.

                        For the avoidance of doubt, and notwithstanding anything to the contrary in this Plan, the
                        treatment provided to any Allowed Other Secured Claim that is a GPX Claim that has not been
                        satisfied prior to the Effective Date, if any, shall be provided by Golden Pass in accordance
                        with the terms of the GPX Settlement Documents and this Plan.

                   c.   Voting: Allowed Other Secured Claims in Class 1 are Unimpaired. Each Holder of an Allowed
                        Other Secured Claim shall be conclusively presumed to have accepted this Plan pursuant to
                        section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to vote to accept or
                        reject this Plan.



                                                           16
Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 108 of 154



  2.    Class 2 – Other Priority Claims.

        a.   Classification: Class 2 consists of all Other Priority Claims.

        b.   Treatment: In full and final satisfaction, settlement, release, and discharge of and in exchange
             for each Allowed Other Priority Claim, each Holder of an Allowed Other Priority Claim shall
             receive Cash in an amount equal to such Allowed Other Priority Claim or such other treatment
             consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code.

        c.   Voting: Allowed Other Priority Claims in Class 2 are Unimpaired. Each Holder of an Allowed
             Other Priority Claim shall be conclusively presumed to have accepted this Plan pursuant to
             section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to vote to accept or
             reject this Plan.

  3.    Class 3 – Prepetition Credit Facility Claims.

        a.   Classification: Class 3 consists of all Prepetition Credit Facility Claims.

        b.   Allowance: On the Effective Date, all Prepetition Credit Facility Claims shall be deemed
             Allowed, and not subject to any counterclaim, defense, offset, or reduction of any kind, in an
             aggregate amount not less than $281,250,000, plus any obligations, unpaid fees, unpaid
             premiums, and accrued and unpaid interest as of the Petition Date due and owing to Holders of
             Prepetition Credit Facility Claims under the Prepetition Credit Facility.

        c.   Treatment: In exchange for full and final satisfaction, settlement, release, and discharge of
             (including any Liens related thereto) each Allowed Prepetition Credit Facility Claim, each
             Holder of an Allowed Prepetition Credit Facility Claim shall, on the Effective Date, become
             party to, and bound by, the A&R Credit Facility on account of such Holder’s Allowed
             Prepetition Credit Facility Claim, on the terms set forth in the A&R Credit Facility Documents.

        d.   Voting: Allowed Prepetition Credit Facility Claims in Class 3 are Impaired. Each Holder of an
             Allowed Prepetition Credit Facility Claim shall be entitled to vote to accept or reject this Plan.

  4.    Class 4 – Deferred Compensation Plan Claims.

        a.   Classification: Class 4 consists of all Deferred Compensation Plan Claims.

        b.   Treatment: Except to the extent that a Holder of an Allowed Deferred Compensation Plan Claim
             agrees to less favorable treatment, each Allowed Deferred Compensation Plan Claim shall be
             Reinstated pursuant to section 1124 of the Bankruptcy Code, and each such Holder’s rights
             under the Deferred Compensation Plan shall be honored by the Reorganized Debtors in
             accordance with the terms of the Deferred Compensation Plan.

        c.   Voting: Allowed Deferred Compensation Plan Claims in Class 4 are Unimpaired. Each Holder
             of an Allowed Deferred Compensation Plan Claim shall be conclusively presumed to have
             accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not
             be entitled to vote to accept or reject this Plan.

  5.    Class 5 – Convenience Claims.

        a.   Classification: Class 5 consists of all Convenience Claims.

        b.   Treatment: Except to the extent that a Holder of an Allowed Convenience Claim agrees to less
             favorable treatment, each Holder of an Allowed Convenience Claim shall receive, in full and
             final satisfaction, settlement, release, and discharge of such Allowed Convenience Claim, on



                                                 17
Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 109 of 154



             the Effective Date or as soon as practicable thereafter, Cash in an amount equal to such Holder’s
             Allowed Convenience Claim (excluding any interest that may be owed on such Claim), but in
             no event shall distributions on account of any Allowed Convenience Claim exceed the
             Convenience Claim Amount.

        c.   Voting: Allowed Convenience Claims in Class 5 are Unimpaired. Each Holder of an Allowed
             Convenience Claim shall be conclusively presumed to have accepted this Plan pursuant to
             section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to vote to accept or
             reject this Plan.

  6.    Class 6 – General Unsecured Claims.

        a.   Classification: Class 6 consists of all General Unsecured Claims.

        b.   Treatment: Except to the extent that a Holder of an Allowed General Unsecured Claim agrees
             to less favorable treatment, each Holder of an Allowed General Unsecured Claim shall receive,
             in exchange for full and final satisfaction, settlement, release, and discharge of such Claim, a
             GUC Promissory Note in the principal amount of its Allowed General Unsecured Claim,
             inclusive of postpetition interest accrued at the Federal Judgment Rate from the Petition Date
             through the Effective Date; provided, however, notwithstanding anything to the contrary in this
             Plan, all Allowed General Unsecured Claims that are GPX Claims, to the extent not satisfied
             prior to the Effective Date shall be paid by Golden Pass in accordance with the terms of the
             GPX Settlement Documents and this Plan.

        c.   Voting: Allowed General Unsecured Claims in Class 6 are Impaired. Each Holder of an
             Allowed General Unsecured Claim shall be entitled to vote to accept or reject this Plan.

  7.    Class 7 – Intercompany Claims.

        a.   Classification: Class 7 consists of all Intercompany Claims.

        b.   Treatment: On the Effective Date, or as soon as reasonably practicable thereafter, Allowed
             Intercompany Claims shall be, at the option of the applicable Debtor, Reinstated, converted to
             equity, or otherwise set off, settled, distributed, contributed, canceled, or released to the extent
             reasonably determined to be appropriate by the Debtors or Reorganized Debtors, as applicable.

        c.   Voting: Allowed Intercompany Claims in Class 7 are either (i) Unimpaired and are conclusively
             deemed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code, or
             (ii) Impaired and are conclusively deemed to have rejected this Plan pursuant to section 1126(g)
             of the Bankruptcy Code. Therefore, such Holders of Intercompany Claims are not entitled to
             vote to accept or reject this Plan.

  8.    Class 8 – Intercompany Interests.

        a.   Classification: Class 8 consists of all Intercompany Interests.

        b.   Treatment: On the Effective Date, Intercompany Interests shall, at the option of the applicable
             Debtor, be:

                i.    Reinstated; or

               ii.    set off, settled, addressed, distributed, contributed, merged, cancelled, or released.

        c.   Voting: Allowed Intercompany Interests in Class 8 are either (i) Unimpaired and are
             conclusively deemed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy



                                                 18
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 110 of 154



                       Code, or (ii) Impaired and are conclusively deemed to have rejected this Plan pursuant to
                       section 1126(g) of the Bankruptcy Code. Therefore, such Holders of Intercompany Interests
                       are not entitled to vote to accept or reject this Plan.

         9.       Class 9 – Zachry Interests.

                  a.   Classification: Class 9 consists of all Zachry Interests.

                  b.   Treatment: Zachry Interests shall be Reinstated on the Effective Date, and the legal, equitable,
                       and contractual rights to which Holders of Zachry Interests are entitled shall remain unaltered.

                  c.   Voting: Allowed Zachry Interests in Class 9 are Unimpaired. Holders of Zachry Interests shall
                       be conclusively presumed to have accepted this Plan pursuant to section 1126(f) of the
                       Bankruptcy Code and therefore shall not be entitled to vote to accept or reject this Plan.

D.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in this Plan, nothing under this Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claims, including, all rights regarding legal and equitable defenses to, or
setoffs or recoupments against, any such Unimpaired Claims.

E.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from this Plan for purposes of voting to accept or reject this Plan and for purposes of determining
acceptance or rejection of this Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

F.       Acceptance by Impaired Classes.

         An Impaired Class of Claims shall have accepted this Plan, if not counting the vote of any Holder designated
under section 1126(e) of the Bankruptcy Code, (i) the Holders of at least two-thirds in amount of the Allowed Claims
actually voting in the Class have voted to accept this Plan, and (ii) the Holders of more than one-half in number of the
Allowed Claims actually voting in the Class have voted to accept this Plan.

G.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims eligible to vote and no Holders of Claims eligible to vote in such Class vote to
accept or reject this Plan, the Holders of such Claims in such Class shall be deemed to have accepted this Plan.

H.       Intercompany Interests.

         To the extent Reinstated under this Plan, distributions on account of Intercompany Interests are not being
received by Holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience, for the ultimate benefit of the Holders of Zachry Interests, and in exchange for the
Debtors’ and Reorganized Debtors’ agreement under this Plan to make certain distributions to the Holders of Allowed
Claims.

I.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of this Plan by one or more of the Classes entitled to vote pursuant to Article III.C of this Plan. The Debtors shall
seek Confirmation of this Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting Class
of Claims or Interests. The Debtors reserve the right to modify this Plan in accordance with Article X of this Plan to
the extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification,



                                                           19
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 111 of 154



including by modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or
Interests Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

J.       No Substantive Consolidation.

          Although this Plan is presented as a joint plan of reorganization for administrative purposes, this Plan does
not provide for the substantive consolidation of the Debtors’ Estates, and on the Effective Date, the Debtors’ Estates
shall not be deemed to be substantively consolidated for any reason. Except as expressly provided herein, nothing in
this Plan, the Confirmation Order, or the Disclosure Statement shall constitute or be deemed to constitute a
representation that any one or all of the Debtors is subject to or liable for any Claims against or Interests in any other
Debtor. A Claim against or Interest in multiple Debtors will be treated as a separate Claim against or Interest in each
applicable Debtor’s Estate for all purposes, including voting and distribution; provided, however, that no Claim will
receive value in excess of one hundred percent (100.0%) of the Allowed amount of such Claim (inclusive of
postpetition interest, if applicable and if owed under this Plan) under the Plan for all such Debtors.

K.       Controversy Concerning Impairment.

         If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired
or is properly classified under the Plan, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

L.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under this Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510 of the Bankruptcy Code, or
otherwise. Any such contractual, legal, or equitable subordination rights shall be settled, compromised, and released
pursuant to this Plan.

                                           ARTICLE IV.
                              MEANS FOR IMPLEMENTATION OF THIS PLAN

A.       General Settlement of Claims and Interests.

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under this Plan, upon the Effective Date, the provisions of this Plan shall constitute a good
faith compromise and settlement of all Claims and Interests and controversies resolved pursuant to this Plan, including
all General Unsecured Claims and GPX Claims, and any challenge to the amount, validity, perfection, enforceability,
priority, or extent of the Prepetition Credit Facility Claims, whether under any provision of chapter 5 of the Bankruptcy
Code, based on any equitable theory, or otherwise. This Plan shall be deemed a motion to approve the good faith
compromise and settlement of all Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry
of the Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and settlement under
section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that
such settlement and compromise is fair, equitable, reasonable, and in the best interests of the Debtors and their Estates.
Subject to Article VI hereof, all distributions made to Holders of Allowed Claims in any Class are intended to be and
shall be final.

B.       GPX Settlement.

         The terms of the GPX Settlement, as approved by the GPX Final Settlement Order, are incorporated into,
and are an integral part of, this Plan. Nothing herein modifies the terms of the GPX Settlement or the rights,
obligations, and interests of the GPX Settlement Parties under the GPX Settlement Documents. For the avoidance of
doubt, the GPX Settlement Parties, as applicable, shall comply with the terms of the GPX Final Settlement Order
through and following the Effective Date. Notwithstanding anything to the contrary herein, including Article VIII


                                                           20
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 112 of 154



hereof, the terms of the GPX Settlement and the GPX Final Settlement Order remain binding on the GPX Settlement
Parties and, as applicable, the A&R Credit Facility Agent and A&R Credit Facility Lenders. In the event of any
inconsistency between the Plan and the GPX Settlement Documents with respect to the terms of the GPX Settlement,
the GPX Settlement Documents shall control.

          For the avoidance of doubt, Golden Pass is a Released Party as set forth in this Plan and shall be entitled to
the protections of this Plan’s release and injunction provisions, including the Third-Party Release, to the fullest extent
provided herein and under applicable law. Further, and for the avoidance of doubt, Golden Pass and any property
interest of Golden Pass shall be entitled to the protections of this Plan’s release and injunction provisions with respect
to all Claims that constitute GPX Claims that are satisfied, discharged, and/or released in connection with the GPX
Settlement and this Plan, and no Holder of a satisfied GPX Claim shall have any recourse against any Entity, including
Golden Pass and its property, on account of such satisfied GPX Claim regardless of whether such Holder is a Releasing
Party under this Plan.

          In addition, notwithstanding anything to the contrary in this Plan, neither this Plan nor any Restructuring
Transaction contemplated herein shall impair Golden Pass’s right to make the GPX L/C Permitted Draws, pursuant to
the terms of the GPX Settlement and GPX Excess Claims Stipulation. However, pursuant to the GPX Excess Claims
Stipulation, the Debtors may wire Cash to Golden Pass in the amount of each Scheduled Draw on or before the date
each Scheduled Draw is due under the GPX Settlement, in lieu of Golden Pass making each Scheduled Draw against
the GPX L/C. If the Debtors fail to make such Cash payments when due, Golden Pass may make the corresponding
Scheduled Draw(s) against the GPX L/C, as contemplated under the GPX Settlement. Upon Golden Pass’s receipt of
the final GPX L/C Permitted Draw (or the corresponding Cash amounts from the Debtors pursuant to this section),
the remaining GPX L/C shall be deemed cancelled, null, and void, without any further notice to or action, order, or
approval of the Bankruptcy Court, consistent with the GPX Settlement; Golden Pass shall not be permitted to request
any other or additional draws thereunder; and Golden Pass shall be deemed to release, waive, and discharge any and
all rights it has or may have in respect of the GPX L/C, the GPX L/C Issuer, and the GPX Parent Guarantee. Until
Golden Pass receives the final GPX L/C Permitted Draw (or the corresponding Cash amounts from the Debtors), the
Debtors, GPX L/C Issuer, and A&R Credit Facility Lenders, as applicable, shall renew the GPX L/C as necessary,
and shall not take any action that would impair, affect, or prejudice Golden Pass’s rights to the GPX L/C Permitted
Draws. The A&R Credit Facility Agent and A&R Credit Facility Lenders have consented to the GPX L/C Permitted
Draws in accordance with the GPX Settlement; the Debtors and/or Reorganized Debtors, the A&R Credit Facility
Agent, and the A&R Credit Facility Lenders further have waived, released, and extinguished any claims, defenses, or
disputes with respect to the GPX L/C Permitted Draws, and stipulate and agree that all conditions and prerequisites
for the GPX L/C Permitted Draws in accordance with the GPX L/C have been met, provided that, for each GPX L/C
Permitted Draw actually drawn by Golden Pass against the GPX L/C, Golden Pass shall notify the A&R Credit Facility
Agent of the GPX L/C Permitted Draw in the manner set forth in Annex A to the GPX L/C, as amended by the parties
pursuant to the GPX Settlement.

C.       Restructuring Transactions.

           Before, on, and after the Effective Date, the Debtors, the Reorganized Debtors, the GUC Note Administrative
Agent, or the GUC Note Collateral Agent, as applicable, shall consummate the Restructuring Transactions and may
take all actions as may be necessary or appropriate to effect any transaction described in, approved by, contemplated
by, or necessary to effectuate this Plan that are consistent with and pursuant to the terms and conditions of this Plan,
including: (1) the execution and delivery of any appropriate agreements or other documents of merger, consolidation,
restructuring, conversion, disposition, transfer, formation, organization, dissolution, or liquidation containing terms
that are consistent with the terms of this Plan, the Plan Supplement, and the Confirmation Order; (2) the execution
and delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, debt, or obligation on terms consistent with the terms of this Plan, the Plan Supplement, and the Confirmation
Order, and having other terms to which the applicable Entities may agree; (3) the execution, delivery, and filing, if
applicable, of appropriate certificates or articles of incorporation, formation, reincorporation, merger, consolidation,
conversion, or dissolution pursuant to applicable state law; (4) the execution and/or delivery of the A&R Credit
Facility Documents and effectiveness of the A&R Credit Facility; (5) the execution and delivery of the GUC Note
Documents; (6) the issuance of the GUC Promissory Notes on account of Allowed General Unsecured Claims; (7) the
issuance of the Sunbelt Promissory Note; (8) the execution of the Exit Intercreditor Agreement; (9) the Parent Capital
Contribution; (10) such other transactions that are required to effectuate the Restructuring Transactions; and (11) all


                                                           21
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 113 of 154



other actions that the applicable Entities determine to be necessary or appropriate, including making filings or
recordings that may be required by applicable law.

         The Confirmation Order shall and shall be deemed to, pursuant to sections 363, 1123, and 1142 of the
Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to effect any
transaction described in, approved by, contemplated by, or necessary to effectuate this Plan.

D.       The Reorganized Debtors.

          Except as otherwise provided herein or as may be provided in the Plan Supplement or the Confirmation
Order, each of the Reorganized Debtors shall continue its existence as a separate Entity after the Effective Date, with
all the powers thereof, pursuant to the applicable law in the jurisdiction in which each Reorganized Debtor is
incorporated and pursuant to the Organizational Documents. On the Effective Date, all Zachry Interests shall be
Reinstated and the Reorganized Debtors shall be deemed to adopt and re-affirm the Organizational Documents without
any further action, notice, or approval. The Reorganized Debtors shall be authorized to adopt any agreements,
documents, and instruments, and to take any other action contemplated under this Plan as necessary to consummate
this Plan.

E.       Vesting of Assets in the Reorganized Debtors.

         Except as otherwise provided in this Plan or any agreement, instrument, or other document incorporated
herein, on the Effective Date, all property in each Estate, including all Causes of Action and any property acquired by
any of the Debtors pursuant to this Plan, shall vest in each respective Reorganized Debtor, free and clear of all Liens,
Claims, charges, Causes of Action, or other encumbrances. On and after the Effective Date, except as otherwise
provided in this Plan, each Reorganized Debtor may operate its business and may use, acquire, or dispose of property
and compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy
Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

F.       Sunbelt Promissory Note.

          On the Effective Date, all of the Liens and security interests to be granted in accordance with the Sunbelt
Promissory Note shall: (a) be deemed to be granted; (b) be legal, binding, and enforceable Liens on, and security
interests in, the collateral granted thereunder in accordance with the terms of the Sunbelt Promissory Note and the
Exit Intercreditor Agreement; (c) be deemed automatically perfected on the Effective Date, subject only to such Liens
and security interests as may be permitted under the Sunbelt Promissory Note; and (d) not be subject to
recharacterization or equitable subordination for any purposes whatsoever and shall not constitute preferential
transfers or fraudulent conveyances under the Bankruptcy Code or any applicable non-bankruptcy law. The
Reorganized Debtors, Sunbelt and the Persons and Entities granted such Liens and security interests shall be
authorized to make all filings and recordings, and to obtain all governmental approvals and consents necessary to
establish and perfect such Liens and security interests under the provisions of the applicable state, federal, or other
law that would be applicable in the absence of this Plan and the Confirmation Order (it being understood that perfection
shall occur automatically by virtue of the entry of the Confirmation Order and any such filings, recordings, approvals,
and consents shall not be required), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third parties.

G.       GUC Promissory Notes.

         On or prior to the Effective Date, the Debtors and the GUC Note Administrative Agent shall execute the
GUC Note Documents and the Debtors shall take all steps necessary to issue the GUC Promissory Notes in accordance
with the Plan and the GUC Note Documents. If any General Unsecured Claims are Allowed after the Effective Date,
within ten (10) Business Days of such Allowance, the Reorganized Debtors shall issue additional GUC Promissory
Notes in the amount of such Allowed Claims to ensure that each Holder of an Allowed General Unsecured Claim
receives the treatment specified in Article III.C.6 of this Plan. If any General Unsecured Claims Allowed as of the
Effective Date are, after the Effective Date, Allowed in a different amount, Disallowed, reclassified, withdrawn, or
otherwise altered, the GUC Note Administrative Agent shall update the debt register maintained pursuant to the GUC



                                                           22
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 114 of 154



Note Documents to account for any such changes to any such General Unsecured Claim, and any GUC Promissory
Notes issued on account of a General Unsecured Claim that is subsequently Disallowed, reclassified, or withdrawn
shall be deemed cancelled. As set forth in Article VII.A of the Plan, the Reorganized Debtors shall retain sole
authority to reconcile and object to Claims after the Effective Date.

         Confirmation of the Plan and execution of the GUC Note Documents by the GUC Note Administrative Agent
and/or GUC Note Collateral Agent shall be deemed to bind all Holders of Allowed General Unsecured Claims
receiving the GUC Promissory Notes under the Plan as if each such party had executed the GUC Note Documents
with appropriate authorization.

          On the Effective Date, all of the Liens and security interests to be granted in accordance with the GUC Note
Documents shall: (a) be deemed to be granted; (b) be legal, binding, and enforceable Liens on, and security interests
in, the collateral granted thereunder in accordance with the terms of the GUC Promissory Notes; (c) be deemed
automatically perfected on the Effective Date, subject only to such Liens and security interests as may be permitted
under the GUC Note Documents and the Exit Intercreditor Agreement; and (d) not be subject to recharacterization or
equitable subordination for any purposes whatsoever and shall not constitute preferential transfers or fraudulent
conveyances under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors, the GUC
Note Administrative Agent, the GUC Note Collateral Agent, and the Persons and Entities granted such Liens and
security interests shall be authorized to make all filings and recordings, and to obtain all governmental approvals and
consents necessary to establish and perfect such Liens and security interests under the provisions of the applicable
state, federal, or other law that would be applicable in the absence of this Plan and the Confirmation Order (it being
understood that perfection shall occur automatically by virtue of the entry of the Confirmation Order and any such
filings, recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of such Liens and security
interests to third parties.

H.       Sources of Consideration for Plan Distributions.

          Each distribution and issuance referred to in Article VI of this Plan shall be governed by the terms and
conditions set forth in this Plan applicable to such distribution or issuance and by the terms and conditions of the
instruments or other documents evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance. The Debtors and the Reorganized Debtors, as
applicable, shall fund distributions under this Plan with (a) Cash on hand; (b) proceeds from the A&R Credit Facility;
(c) the issuance of the Sunbelt Promissory Note; (d) the issuance of the GUC Promissory Notes; and (e) proceeds from
the Parent Capital Contribution.

         1.       Use of Cash.

          The Debtors, Reorganized Debtors, and Distribution Agent, as applicable, shall use Cash on hand for working
capital purposes and to fund distributions to certain Holders of Allowed Claims, consistent with the terms of this Plan.
The Debtors and Reorganized Debtors will be entitled to transfer funds between and among themselves as they
determine to be necessary or appropriate to enable the Debtors or Reorganized Debtors to satisfy their obligations
under the Plan. Except as set forth herein, any changes in intercompany account balances resulting from such transfers
will be accounted for and settled in accordance with the Debtors’ historical intercompany account settlement practices
and will not violate the terms of the Plan.

         2.       A&R Credit Facility.

         On the Effective Date, the Reorganized Debtors shall enter into the A&R Credit Facility, the terms of which
will be set forth in the A&R Credit Facility Documents. Confirmation of this Plan shall be deemed final approval of
the A&R Credit Facility, the A&R Credit Facility Documents, all transactions contemplated thereby, and all actions
to be taken, undertakings to be made, and obligations to be incurred by the Reorganized Debtors in connection
therewith, including the payment of all fees, indemnities, expenses, and other payments provided for therein and
authorization for the Reorganized Debtors to enter into and execute the A&R Credit Facility Documents and such
other documents as may be required to effectuate the financings and treatment provided by this Plan.



                                                            23
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 115 of 154



         Confirmation of this Plan, and the occurrence of the Effective Date, shall bind each A&R Credit Facility
Lender to the A&R Credit Facility Documents as if each such party had executed the A&R Credit Facility Documents
with appropriate authorization.

          On the Effective Date, all of the Liens and security interests to be granted in accordance with the A&R Credit
Facility Documents shall: (a) be deemed to be granted; (b) be legal, binding, and enforceable Liens on, and security
interests in, the collateral granted thereunder in accordance with the terms of the A&R Credit Facility Documents;
(c) be deemed automatically perfected on the Effective Date, subject only to such Liens and security interests as may
be permitted under the A&R Credit Facility Documents; and (d) not be subject to recharacterization or equitable
subordination for any purposes whatsoever and shall not constitute preferential transfers or fraudulent conveyances
under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the Persons and
Entities granted such Liens and security interests shall be authorized to make all filings and recordings, and to obtain
all governmental approvals and consents necessary to establish and perfect such Liens and security interests under the
provisions of the applicable state, federal, or other law that would be applicable in the absence of this Plan and the
Confirmation Order (it being understood that perfection shall occur automatically by virtue of the entry of the
Confirmation Order and any such filings, recordings, approvals, and consents shall not be required), and will thereafter
cooperate to make all other filings and recordings that otherwise would be necessary under applicable law to give
notice of such Liens and security interests to third parties.

         3.       Sunbelt Promissory Note.

          On the Effective Date, the Reorganized Debtors shall issue the Sunbelt Promissory Note on the terms set
forth in the Sunbelt Term Sheet. The issuance of the Sunbelt Promissory Note under the Plan is duly authorized
without the need for any further action, authorization, or consent by the Debtors, the Reorganized Debtors, or any
other Entity. The Sunbelt Promissory Note issued pursuant to the Plan shall be duly authorized, validly issued, and
non-assessable.

         4.       GUC Promissory Notes.

         On the Effective Date, and from time to time thereafter in accordance with Article IV.G of this Plan, the
Reorganized Debtors shall issue the GUC Promissory Notes as set forth in the GUC Note Documents and the GUC
Promissory Notes shall vest in the GUC Note Administrative Agent for distribution to Holders of Allowed General
Unsecured Claims. The issuance of the GUC Promissory Notes under the Plan is duly authorized without the need
for any further action, authorization, or consent by the Debtors, the Reorganized Debtors, the GUC Note
Administrative Agent, or any other Entity. Confirmation of this Plan shall be deemed final approval of each of the
GUC Promissory Notes, the GUC Note Purchase Agreement, the GUC Note Documents, all transactions contemplated
thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred by the Reorganized
Debtors in connection therewith, including the payment of all fees, indemnities, expenses, and other payments
provided for therein and authorization for the Reorganized Debtors to enter into and execute the GUC Note
Documents, and such other documents as may be required to effectuate the GUC Promissory Notes. The GUC
Promissory Notes issued pursuant to the Plan shall be duly authorized, validly issued, and non-assessable.

         5.       Parent Capital Contribution.

         On or prior to the Effective Date, the Parent Capital Contribution shall be contributed to ZHI. The Debtors,
Reorganized Debtors, and the Distribution Agent, as applicable, shall use the Cash proceeds from the Parent Capital
Contribution for working capital purposes and to fund distributions to certain Holders of Allowed Claims, consistent
with the terms of this Plan.

I.       Cancellation of Existing Agreements and Interests.

         On the Effective Date, except with respect to the A&R Credit Facility, the Sunbelt Promissory Note, the
GUC Promissory Notes, the Parent Capital Contribution, the Zachry Interests, the Prepetition Intercreditor Agreement,
the GPX Settlement Documents, the GPX L/C (subject to Article IV.B hereof), the GPX Parent Guarantee (subject
to Article IV.B hereof), all Employee Obligations (including the Deferred Compensation Plan) assumed pursuant to
Article IV.K hereof, all Indemnification Obligations assumed pursuant to Article IV.L hereof, and all Executory


                                                          24
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 116 of 154



Contracts and Unexpired Leases assumed pursuant to Article V.A hereof, or to the extent otherwise provided in this
Plan or the Confirmation Order, all notes, instruments, certificates, and other documents evidencing Claims or
Interests, including credit agreements and indentures, shall be canceled and the obligations of the Debtors and any
non-Debtor Affiliate thereunder or in any way related thereto shall be deemed satisfied in full, cancelled, discharged,
and of no force or effect. Holders of, or parties to, such cancelled instruments, securities, and other documentation
will have no rights arising from or relating to such instruments, securities, and other documentation, or the cancellation
thereof, except the rights, distributions, and treatment provided for pursuant to this Plan.

J.       Corporate Action.

         On the Effective Date, the matters under the Plan involving or requiring corporate action of the Debtors,
including, but not limited to, actions requiring a vote of the boards of directors or shareholders and execution of all
documentation incident to the Plan, shall be deemed to have been authorized by the Confirmation Order and to have
occurred and be in effect from and after the Effective Date without any further action by the officers or directors of
the Debtors, any Governing Body, or the Bankruptcy Court.

K.       Directors and Officers of the Reorganized Debtors.

         On the Effective Date, the directors and officers of each Reorganized Debtor shall consist of the current
directors and officers of each respective Debtor.

L.       Deferred Compensation Plan and Other Employee Obligations.

          All written employment, confidentiality, non-competition agreements, bonus, gainshare and incentive
programs, discretionary bonus plans or variable incentive plans regarding payment of a percentage of annual salary
based on performance goals and financial targets for certain employees, vacation, holiday pay, severance, retirement,
retention, supplemental retirement, executive retirement, pension, deferred compensation (including the Deferred
Compensation Plan), indemnification, other similar employee-related agreements or arrangements, retirement income
plans, medical, dental, vision, life and disability insurance, flexible spending account, and other health and welfare
benefit plans, programs, and arrangements, and collective bargaining agreements that are in effect immediately prior
to the Effective Date with the Debtors, shall be assumed by the Debtors and shall remain in place as of the Effective
Date, and the Reorganized Debtors will continue to honor such agreements, arrangements, programs, and plans as of
the Effective Date, unless otherwise provided herein or in the Confirmation Order, specifically rejected pursuant to a
separate order of the Bankruptcy Court, specifically designated as a contract or lease to be rejected on the Rejection
List, or specifically identified in a separate rejection motion Filed by the Debtors. For the avoidance of doubt, the
Debtors’ assumption of all obligations related to the Deferred Compensation Plan shall include any amounts due and
owing to participants that have accrued under the Deferred Compensation Plan following the Petition Date.

          The Debtors’ assumption of such compensation and benefits plans, including the Deferred Compensation
Plan, pursuant to the terms of this Plan shall be deemed not to trigger any applicable change of control, immediate
vesting, termination, or similar provisions in any applicable plan or program, or an event of “Good Reason” (or a term
of like import), in each case as a result of the consummation of the Restructuring Transactions. No counterparty shall
have rights under a compensation and benefit plan or program, including the Deferred Compensation Plan, assumed
pursuant to the Plan other than those applicable immediately prior to such assumption.

         Nothing in this Plan shall limit, diminish, or otherwise alter the Reorganized Debtors’ defenses, claims,
Causes of Action, or other rights with respect to any such contracts, agreements, policies, programs, and plans. For
the avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy Code, as of the Effective Date, all retiree
benefits (as such term is defined in section 1114 of the Bankruptcy Code), if any, shall continue to be paid in
accordance with applicable orders of the Bankruptcy Court and applicable law.

M.       Indemnification Obligations.

        All indemnification provisions in place as of the Effective Date (whether in the bylaws, certificates of
incorporation or formation, limited liability company agreements, limited partnership agreements, other organizational



                                                           25
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 117 of 154



documents, board resolutions, indemnification agreements, employment contracts, or otherwise) for (each in their
capacities as such) the current and former members of any Governing Body, directors, officers, managers, employees,
attorneys, accountants, investment bankers, financial advisors, restructuring advisors, consultants, other professionals
of, or acting on behalf of, the Debtors, and the Sureties, as applicable, shall be reinstated and remain intact, irrevocable,
and shall survive the Effective Date on terms no less favorable to such current members of any Governing Body,
directors, officers, managers, employees, attorneys, accountants, investment bankers, other professionals of, or acting
on behalf of, the Debtors, and the Sureties, as provided under the indemnification obligations in place prior to the
Effective Date; provided, however, nothing herein shall expand any of the Debtors’ indemnification obligations in
place as of the Petition Date.

N.       Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, the
Reorganized Debtors shall retain and may enforce all rights to commence and pursue, as appropriate, any and all
Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions specifically
enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to commence,
prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date,
other than the Causes of Action released by the Debtors pursuant to the GPX Final Settlement Order and the releases
and exculpations contained in this Plan, including in Article VIII.

          The Reorganized Debtors may pursue such Causes of Action, as appropriate, in accordance with the best
interests of the Reorganized Debtors. No Entity may rely on the absence of a specific reference in this Plan, the
Plan Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that the
Debtors or the Reorganized Debtors, as applicable, will not pursue any and all available Causes of Action
against it. The Debtors and the Reorganized Debtors expressly reserve all rights to prosecute any and all
Causes of Action against any Entity, except as otherwise expressly provided in the GPX Final Settlement Order
and this Plan, including Article VIII of this Plan. Unless any Causes of Action against an Entity are expressly
waived, relinquished, exculpated, released, compromised, or settled in this Plan or a Bankruptcy Court order, the
Reorganized Debtors expressly reserve all Causes of Action for later adjudication, and, therefore, no preclusion
doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel
(judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of
Confirmation, Consummation, or the occurrence of the Effective Date.

         The Reorganized Debtors reserve and shall retain such Causes of Action notwithstanding the rejection or
repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to this Plan. In
accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold against any
Entity shall vest in the corresponding Reorganized Debtor, except as otherwise expressly provided in the GPX Final
Settlement Order and this Plan, including Article VIII of this Plan. The Reorganized Debtors, through their
authorized agents or representatives, shall retain and may exclusively enforce any and all such Causes of Action. The
Reorganized Debtors shall have the exclusive right, authority, and discretion to determine and to initiate, file,
prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action
and to decline to do any of the foregoing without the consent or approval of any third party or further notice to or
action, order, or approval of the Bankruptcy Court.

O.       Effectuating Documents; Further Transactions.

          On and after the Effective Date, the Reorganized Debtors, and their respective officers and boards of directors
and managers, are authorized to and may issue, execute, deliver, file, or record such contracts, Securities, instruments,
notes, releases, and other agreements or documents and take such actions as may be necessary to effectuate,
implement, and further evidence the terms and conditions of this Plan in the name of and on behalf of the Reorganized
Debtors without the need for any approvals, authorization, or consents except for those expressly required pursuant to
this Plan.




                                                             26
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 118 of 154



P.       Certain Securities Law Matters.

          No registration statement will be filed under the Securities Act, or pursuant to any state securities laws, with
respect to the offer and distribution of any Securities under the Plan. The offering, issuance, and distribution of any
Securities pursuant to the Plan, including the Sunbelt Promissory Note and the GUC Promissory Notes to the extent
considered to be Securities, will be exempt from the registration requirements of section 5 of the Securities Act or any
similar federal, state, or local law in reliance on section 1145 of the Bankruptcy Code.

         Specifically, the offer, sale, issuance, and distribution of the GUC Promissory Notes will be exempt, pursuant
to section 1145 of the Bankruptcy Code, from registration under the Securities Act and the Notes will be freely
transferable and resaleable by non-affiliates of the Debtors and Reorganized Debtors, subject to any contractual
limitations or restrictions under U.S. securities laws, if applicable. The Debtors and Reorganized Debtors shall
cooperate with each of the holders in determining the status of any holder as an “affiliate” of the Reorganized Debtors.

          The Debtors and the Committee will negotiate in good faith to implement a structure that will provide for the
transferability of the GUC Promissory Notes through the GUC Note Administrative Agent, including, but not limited
to, structures that would assist any Holder of an Allowed General Unsecured Claim receiving a GUC Promissory Note
from being deemed an “affiliate” of the Company or any of its subsidiaries, as such term is defined under the Securities
Act.

Q.       Transferability of GUC Promissory Notes.

         Holders of Allowed General Unsecured Claims receiving a GUC Promissory Note may freely assign their
GUC Promissory Note, without the consent of the Reorganized Debtors but after providing notice to the GUC Note
Administrative Agent, to any (i) existing holder of GUC Promissory Notes, (ii) financial institution (including hedge
funds) or (iii) to any Person following and during the continuation of a Breach (as defined in the GUC Note Term
Sheet), provided, however, that any transfer or assignment of any GUC Promissory Note to any of the Reorganized
Debtors’ competitors or vendors (or affiliates of such competitors or vendors) shall require the prior written consent
of the Reorganized Debtors in their sole discretion. The GUC Note Administrative Agent shall not provide
confidential information concerning the Reorganized Debtors or their subsidiaries to any assignee or potential assignee
except pursuant to a non-disclosure agreement (in a form reasonably acceptable to the Reorganized Debtors and
naming the Reorganized Debtors and their subsidiaries as express third-party beneficiaries), between the GUC Note
Administrative Agent and such assignee or potential assignee.

R.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under this Plan or pursuant to: (1) the issuance,
reinstatement, distribution, transfer, or exchange of any debt, Equity Security, or other interest in the Debtors or the
Reorganized Debtors; (2) the Restructuring Transactions; (3) the creation, modification, consolidation, termination,
refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means; (4) the making, assignment, or recording of any lease or sublease; (5) the grant
of collateral as security for any or all of the A&R Credit Facility; (6) the issuance of the GUC Promissory Notes; (7)
the issuance of the Sunbelt Promissory Note; or (8) the making, delivery, or recording of any deed or other instrument
of transfer under, in furtherance of, or in connection with, this Plan, including any deeds, bills of sale, assignments, or
other instrument of transfer executed in connection with any transaction arising out of, contemplated by, or in any
way related to this Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or
recording fee, regulatory filing or recording fee, or other similar tax or governmental assessment, and upon entry of
the Confirmation Order, the appropriate state or local governmental officials or agents shall forego the collection of
any such tax or governmental assessment and accept for filing and recordation any of the foregoing instruments or
other documents without the payment of any such tax, recordation fee, or governmental assessment. All filing or
recording officers (or any other Person with authority over any of the foregoing), wherever located and by whomever
appointed, shall comply with the requirements of section 1146(c) of the Bankruptcy Code, shall forego the collection
of any such tax or governmental assessment, and shall accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax or governmental assessment.


                                                            27
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 119 of 154



S.       Dissolution of Certain Debtors.

          On or after the Effective Date, certain of the Debtors may be dissolved without further action under applicable
law, regulation, Order, or rule, including any action by the stockholders, members, the board of directors, or similar
Governing Body of the Debtors or the Reorganized Debtors; provided, however, subject in all respects to the terms of
this Plan, the Reorganized Debtors shall have the power and authority to take any action necessary to wind down and
dissolve the foregoing Debtors, and may, to the extent applicable: (1) file a certificate of dissolution for such Debtors,
together with all other necessary corporate and company documents, to effect such Debtors’ dissolution under the
applicable laws of their states of formation; (2) complete and file all final or otherwise required federal, state, and
local tax returns and pay taxes required to be paid for such Debtors, and pursuant to section 505(b) of the Bankruptcy
Code, request an expedited determination of any unpaid tax liability of any such Debtors or their Estates, as determined
under applicable tax laws; and (3) represent the interests of the Debtors or their Estates before any taxing authority in
all tax matters, including any action, proceeding, or audit.

                                      ARTICLE V.
                 TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

         On the Effective Date, all Executory Contracts and Unexpired Leases not otherwise assumed or rejected will
be deemed assumed by the applicable Debtor in accordance with sections 365 and 1123 of the Bankruptcy Code, other
than any Executory Contract or Unexpired Lease that: (1) is identified on the Rejection List; (2) previously expired or
terminated pursuant to its own terms; (3) was previously assumed or rejected by the Debtors, including pursuant to
the GPX Settlement; (4) is the subject of a motion or notice to reject pending as of the Effective Date; or (5) has an
effective date of rejection that is after the Effective Date. The assumption of Executory Contracts and Unexpired
Leases hereunder may include the assignment of certain of such contracts to Affiliates of the Debtors or Reorganized
Debtors.

          Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
assumptions, assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set forth
in the Plan, the Assumption List, and the Rejection List, pursuant to sections 365(a) and 1123 of the Bankruptcy Code.
Except as otherwise specifically set forth herein, assumptions or rejections of Executory Contracts and Unexpired
Leases pursuant to the Plan are effective as of the Effective Date. Each Executory Contract and Unexpired Lease
assumed pursuant to the Plan or by Bankruptcy Court order, and not assigned to a third party on or prior to the Effective
Date, shall revest in and be fully enforceable by the applicable Reorganized Debtor in accordance with its terms,
except as such terms may have been modified by this Plan or order of the Bankruptcy Court.

          To the maximum extent permitted by law, to the extent any provision in any Executory Contract or Unexpired
Lease assumed pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or deemed
breached by, the assumption of such Executory Contract or Unexpired Lease or the execution of any other
Restructuring Transaction (including any “change of control” provision), then such provision shall be deemed
modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate
such Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto. For
the avoidance of doubt, consummation of the Restructuring Transactions shall not be deemed an assignment of any
Executory Contract or Unexpired Lease of the Debtors, notwithstanding any change in name, organizational form, or
jurisdiction of organization of any Debtor in connection with the occurrence of the Effective Date.

         Except as otherwise provided herein or agreed to by the Debtors and the applicable counterparty, each
assumed Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
restatements, or other agreements related thereto, and all rights related thereto, if any, including all easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests. Modifications,
amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired Leases that have been
executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the prepetition nature of the
Executory Contract or Unexpired Lease or the validity, priority, or amount of any Claims that may arise in connection
therewith, unless otherwise ordered by the Bankruptcy Court.



                                                             28
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 120 of 154



          Notwithstanding anything to the contrary in the Plan, the Debtors or Reorganized Debtors, as applicable,
reserve the right to amend or supplement the Assumption List and Rejection List in their discretion prior to the
Effective Date (or such later date as may be permitted by this Article V); provided, however, the Debtors shall give
prompt notice of any such amendment or supplement to any affected counterparty and such counterparty shall have
no less than seven (7) days to object thereto on any grounds.

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

         Entry of the Confirmation Order shall constitute a Bankruptcy Court order approving the rejections, if any,
of any Executory Contracts or Unexpired Leases as provided for in this Plan or the Rejection List, as applicable.
Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to Claims arising
from the rejection of Executory Contracts or Unexpired Leases, pursuant to this Plan or the Confirmation Order, if
any, must be Filed with the Claims and Noticing Agent at the address specified in any notice of entry of the
Confirmation Order and served on the Reorganized Debtors no later than thirty (30) days after the effective date of
such rejection. Any Proofs of Claim arising from the rejection of an Executory Contract or Unexpired Lease
not timely Filed with the Claims and Noticing Agent shall be automatically Disallowed without further order
of the Bankruptcy Court, forever barred from assertion, and shall not be enforceable against the Debtors, the
Reorganized Debtors, the Estates, or their respective property, without the need for any objection by the
Debtors or Reorganized Debtors, or further notice to, action, order, or approval of the Bankruptcy Court or
any other Entity, and any Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall
be deemed fully satisfied, released, and discharged, and be subject to the permanent injunction set forth in
Article VIII.F of this Plan, notwithstanding anything in a Proof of Claim to the contrary. All Claims arising
from the rejection by any Debtor of any Executory Contract or Unexpired Lease pursuant to section 365 of the
Bankruptcy Code shall be treated as a General Unsecured Claim, as applicable, pursuant to Article III.C of this Plan
and may be objected to in accordance with the provisions of Article VII of this Plan and the applicable provisions of
the Bankruptcy Code and Bankruptcy Rules. In such a scenario, the GUC Note Administrative Agent in coordination
with the Reorganized Debtors shall issue a GUC Promissory Note to each Holder of an Allowed General Unsecured
Claim for rejection damages, as if the GUC Promissory Note was issued on the Effective Date. Notwithstanding
anything to the contrary in this Plan, the Debtors or the Reorganized Debtors, as applicable, reserve the right to alter,
amend, modify, or supplement the Rejection List at any time through and including thirty days after the Effective
Date.

C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

          The Debtors or the Reorganized Debtors, as applicable, shall pay Cure Claims, if any, on the Effective Date
or as soon as reasonably practicable thereafter. Unless otherwise agreed upon in writing by the parties to the applicable
Executory Contract or Unexpired Lease, all requests for payment of Cure Claims that differ from the amounts paid or
proposed to be paid by the Debtors or the Reorganized Debtors to a counterparty must be Filed with the Bankruptcy
Court on or before thirty (30) days after the Effective Date. Any such request that is not timely Filed shall be
Disallowed and forever barred, estopped, and enjoined from assertion, and shall not be enforceable against any
Reorganized Debtor, without the need for any objection by the Reorganized Debtors or any other party in interest or
any further notice to or action, order, or approval of the Bankruptcy Court; provided, however, nothing herein shall
prevent the Reorganized Debtors, in their sole discretion, from paying any Cure Claim despite the failure of the
relevant counterparty to File such request for payment of such Cure Claim. Any Cure Claim shall be deemed fully
satisfied, released, and discharged upon payment by the Debtors or the Reorganized Debtors of the Cure Claim. The
Reorganized Debtors also may settle any Cure Claim without any further notice to or action, order, or approval of the
Bankruptcy Court. In addition, any objection to the assumption of an Executory Contract or Unexpired Lease under
the Plan must be Filed with the Bankruptcy Court on or before thirty (30) days after the Effective Date. Any such
objection will be scheduled to be heard by the Bankruptcy Court at the Debtors’ or Reorganized Debtors’, as
applicable, first scheduled omnibus hearing, or such other setting as requested by the Debtors or Reorganized Debtors,
for which such objection is timely Filed. Any counterparty to an Executory Contract or Unexpired Lease that fails to
timely object to the proposed assumption of any Executory Contract or Unexpired Lease will be deemed to have
consented to such assumption.

         Notwithstanding anything to the contrary herein, if there is any dispute regarding any Cure Claim, the ability
of the Reorganized Debtors or any assignee to provide “adequate assurance of future performance” within the meaning


                                                           29
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 121 of 154



of section 365 of the Bankruptcy Code, or any other matter pertaining to assumption, and if such dispute is not resolved
in a manner acceptable to the Reorganized Debtors in their sole discretion, the Reorganized Debtors shall have the
right to add the applicable Executory Contract or Unexpired Lease to the Rejection List, in which case such Executory
Contract or Unexpired Lease shall be deemed rejected as of the Effective Date and no Cure Claim shall be owed in
respect of such Executory Contract or Unexpired Lease. The Reorganized Debtors may determine to add an Executory
Contract or Unexpired Lease to the Rejection List pursuant to this paragraph before or after the Bankruptcy Court
rules on any dispute regarding any Cure Claim, the ability of the Reorganized Debtors or any assignee to provide
“adequate assurance of future performance” within the meaning of section 365 of the Bankruptcy Code, or any other
matter pertaining to assumption. Following the resolution of any dispute regarding any Cure Claim, provided that the
Reorganized Debtors do not elect to add the applicable Executory Contract or Unexpired Lease to the Rejection List,
payment of the Cure Claim shall occur as soon as reasonably practicable after entry of a Final Order resolving such
dispute or as may be agreed upon by the Reorganized Debtors and the counterparty to the Executory Contract or
Unexpired Lease.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and full
payment of any applicable Cure Claim pursuant to this Article V.C shall result in the full release and satisfaction of
any Cure Claims, Claims, or defaults, whether monetary or nonmonetary, including defaults of provisions restricting
the change in control or ownership interest composition or other bankruptcy-related defaults, arising under any
assumed Executory Contract or Unexpired Lease at any time prior to the effective date of assumption. Any and all
Proofs of Claim based upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter
11 Cases, including pursuant to the Confirmation Order, and for which any Cure Claim has been fully paid
pursuant to this Article V.C, shall be deemed Disallowed and expunged as of the Effective Date without the
need for any objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not constitute
a termination of preexisting obligations owed to the Debtors or to the Reorganized Debtors, as applicable, under such
Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the
Reorganized Debtors expressly reserve and do not waive any right to receive, or any continuing obligation of a
counterparty to provide, warranties or continued maintenance obligations with respect to goods previously purchased
by the Debtors pursuant to any rejected Executory Contracts or Unexpired Leases.

E.       Insurance Policies.

          Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto, are
treated as Executory Contracts under this Plan. Unless otherwise provided in this Plan or listed on the Rejection List,
on the Effective Date: (a) the Debtors shall be deemed to have assumed all insurance policies and any agreements,
documents, and instruments relating to coverage of all insured Claims and (b) such insurance policies and any
agreements, documents, or instruments relating thereto shall revest in the Reorganized Debtors.

F.       Workers’ Compensation Program.

         As of the Effective Date, the Debtors and Reorganized Debtors shall continue to honor their obligations
under: (a) all applicable workers’ compensation laws in all applicable states and (b) the Workers’ Compensation
Program. All Proofs of Claim on account of workers’ compensation, including the Workers’ Compensation
Program, shall be deemed withdrawn and expunged without any further notice to or action, order, or approval
of the Bankruptcy Court; provided, however, that nothing in the Plan shall limit, diminish, or otherwise alter the
Debtors’ or Reorganized Debtors’ defenses, Causes of Action, or other rights under applicable non-bankruptcy law
with respect to the Workers’ Compensation Program, and nothing herein shall be deemed to impose any obligations
on the Debtors or their insurers in addition to what is provided for under the terms of the Workers’ Compensation
Program and applicable state law.




                                                          30
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 122 of 154



G.       Reservation of Rights.

         Nothing contained in this Plan shall constitute an admission by the Debtors that any contract or lease is in
fact an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability thereunder. If there
is a dispute regarding whether a contract or lease is or was executory or unexpired at the time of assumption, the
Debtors or Reorganized Debtors, as applicable, shall have thirty (30) days following entry of a Final Order resolving
such dispute to alter their treatment of such contract or lease. If there is a dispute regarding a Debtor’s or Reorganized
Debtor’s liability under an assumed Executory Contract or Unexpired Lease, the Reorganized Debtors shall be
authorized to move to have such dispute heard by the Bankruptcy Court pursuant to Article XI of this Plan.

H.       Contracts and Leases Entered Into After the Petition Date.

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors liable thereunder in the ordinary course of their business. Accordingly, such contracts and leases (including
any assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the
Confirmation Order.

                                              ARTICLE VI.
                                  PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          The Distribution Agent and the GUC Note Administrative Agent, as applicable, shall make distributions
under the Plan on account of each Allowed Claim in the full amount of the distributions that the Plan provides for
Allowed Claims in the applicable Class. Unless the Bankruptcy Court orders otherwise, if, after an initial distribution
in respect of a Claim, additional amounts are Allowed in respect of such Claim, the Distribution Agent and GUC Note
Administrative Agent, as applicable, shall make distributions in respect of such additional Allowed amounts no later
than thirty (30) days after such additional amounts are Allowed; provided, however, for General Unsecured Claims
that are Disputed as of the Effective Date and become Allowed after the Effective Date, the Reorganized Debtors shall
issue a GUC Promissory Note to the GUC Note Administrative Agent within ten (10) Business Days after any such
Allowance to provide the Holder of such Claim the treatment provided in Article III.C.6 of this Plan. In the event
that any payment or act under the Plan is required to be made or performed on a date that is not a Business Day, then
the making of such payment or the performance of such act may be completed on the next succeeding Business Day,
but shall be deemed to have been completed as of the required date.

B.       Distributions to Holders of Disputed Claims and Interests.

         Except as otherwise set forth in the Plan or as otherwise deemed appropriate by the Debtors or the
Reorganized Debtors (in each of their sole discretion): (i) no partial payments and no partial distributions shall be
made with respect to a Disputed Claim until all such disputes in connection with such Disputed Claim have been
resolved as set forth in Article VII hereof; and (ii) any Entity that holds both an Allowed Claim and a Disputed Claim
shall not receive any distribution on account of the Allowed Claim unless and until all objections to the Disputed
Claim have been resolved as set forth in Article VII hereof or the Disputed Claim has been Allowed or expunged.

C.       Distribution Agent.

         1.       Powers of the Distribution Agent.

         Except with respect to General Unsecured Claims, all distributions under this Plan shall be made by the
Distribution Agent. The Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under this Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such
other powers as may be vested in the Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or
as deemed by the Distribution Agent to be necessary and proper to implement the provisions hereof. The Distribution



                                                           31
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 123 of 154



Agent shall not be required to give any bond or surety or other security for the performance of its duties unless
otherwise ordered by the Bankruptcy Court.

         2.       Expenses Incurred On or After the Effective Date.

         Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Distribution Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement obligation (including reasonable attorneys’ fees and expenses) shall be paid in Cash by
the Reorganized Debtors.

D.       GUC Note Administrative Agent and GUC Note Collateral Agent.

         1.       Powers of the GUC Note Administrative Agent.

         All distributions under this Plan to General Unsecured Claims shall be made by the GUC Note Administrative
Agent. The GUC Note Administrative Agent and GUC Note Collateral Agent shall be empowered to take all actions
pursuant to the GUC Note Documents.

E.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.       Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be deemed closed and the Distribution Agent
shall be authorized and entitled, but not required, to recognize only those record Holders listed on the Claims Register
as of the close of business on the Distribution Record Date. If a Claim is transferred twenty (20) or fewer days before
the Distribution Record Date, the Distribution Agent shall make distributions to the transferee only to the extent
practical and, in any event, only if the relevant transfer form contains an unconditional and explicit certification and
waiver of any objection to the transfer by the transferor.

         2.       Delivery of Distributions in General.

         Except as otherwise provided herein, the Distribution Agent shall make distributions to Holders of Allowed
Claims at the address for each such Holder as indicated in the Debtors’ records (including the address set forth in a
Filed Proof of Claim, a written notice of address change delivered to the Reorganized Debtors, or the Debtors’
Schedules) as of the date of any such distribution.

         3.       Manner of Payment.

         At the option of the Distribution Agent, any Cash distribution to be made hereunder may be made by check,
wire transfer, automated clearing house, or credit card, or as otherwise required or provided in any applicable
agreements.

         4.       Minimum Distributions.

        No Cash payment of less than $100.00 in the aggregate shall be made to a Holder of an Allowed Claim on
account of such Allowed Claim.

         5.       Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any Holder of Allowed Claims is returned as undeliverable, no
distribution to such Holder shall be made unless and until the Distribution Agent has determined the then-current
address of such Holder, at which time such distribution shall be made to such Holder; provided, however, that such
distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of
one year from the Effective Date. After such date, all unclaimed property or interests in property shall revert to the
Reorganized Debtors automatically and without need for a further order by the Bankruptcy Court (notwithstanding



                                                          32
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 124 of 154



any applicable federal, provincial, or state escheat, abandoned, or unclaimed property laws to the contrary), and the
Claim of any Holder of Claims to such property shall be discharged and forever barred. The Reorganized Debtors,
and the Distribution Agent, as applicable, shall have no obligation to attempt to locate any Holder of an Allowed
Claim other than by reviewing the Debtors’ books and records and the Bankruptcy Court’s filings, including reviewing
any Filed Proof of Claim, written notice of address change delivered to the Reorganized Debtors, or the Debtors’
Schedules.

          A distribution shall be deemed unclaimed if a Holder has not: (i) accepted a particular distribution or, in the
case of distributions made by check, negotiated such check; (ii) given notice to the Reorganized Debtors or
Distribution Agent, as applicable, of an intent to accept a particular distribution; (iii) responded to the Reorganized
Debtors’ or Distribution Agent’s, as applicable, requests for information necessary to facilitate a particular
distribution; or (iv) taken any other action necessary to facilitate such distribution.

F.       Compliance with Tax Requirements.

           In connection with this Plan, to the extent applicable, the Debtors, Reorganized Debtors, Distribution Agent,
GUC Note Administrative Agent, and any applicable withholding agent shall comply with all tax withholding and
reporting requirements imposed on them by any Governmental Unit, and all distributions made pursuant to this Plan
shall be subject to such withholding and reporting requirements. Notwithstanding any provision in this Plan to the
contrary, such parties shall be authorized to take all actions necessary or appropriate to comply with such withholding
and reporting requirements, including liquidating a portion of the distribution to be made under this Plan to generate
sufficient funds to pay applicable withholding taxes, withholding distributions pending receipt of information
necessary to facilitate such distributions, or establishing any other mechanisms they believe are reasonable and
appropriate. The Debtors, Reorganized Debtors, and Distribution Agent, as applicable, reserve the right to allocate
all distributions made under this Plan in compliance with all applicable wage garnishments, alimony, child support,
and similar spousal awards, Liens, and encumbrances.

         The Distribution Agent may require, as a condition to receipt of a distribution, that the Holder of an Allowed
Claim provide any information necessary to allow the Distribution Agent to comply with any such withholding and
reporting requirements imposed by any federal, state, local, or foreign taxing authority. If the Distribution Agent
makes such a request and the Holder fails to comply before the date that is one hundred and eighty (180) days after
the request is made, the amount of such distribution shall irrevocably revert to the applicable Reorganized Debtor and
any Claim in respect of such distribution shall be discharged and forever barred from assertion against such
Reorganized Debtor or its respective property.

G.       No Postpetition or Default Interest on Claims.

          Except as specified in Article III.C.6 of this Plan or as otherwise specifically provided for in this Plan, the
Cash Collateral Order, the Confirmation Order, the Plan Supplement, or applicable bankruptcy or non-bankruptcy
law, postpetition and default interest shall not accrue or be paid on any prepetition Claims against the Debtors, and no
Holder of a prepetition Claim against the Debtors shall be entitled to non-default or default interest accruing on or
after the Petition Date on any such prepetition Claim.

H.       Allocations.

         To the extent this Plan, the Cash Collateral Order, the Confirmation Order, or applicable bankruptcy or non-
bankruptcy law requires the payment of accrued but unpaid interest on prepetition Allowed Claims, distributions in
respect of such Claims shall be allocated first to the principal amount of such Claims (as determined for U.S. federal
income tax purposes) and then, to the extent the consideration exceeds the principal amount of the Claims, to any
portion of such Claims for accrued but unpaid interest.

I.       Foreign Currency Exchange Rate.

         Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the



                                                           33
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 125 of 154



exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the Effective
Date.

J.       Setoffs and Recoupment.

          Except as otherwise provided herein, each Reorganized Debtor pursuant to the Bankruptcy Code (including
section 553 of the Bankruptcy Code), applicable law, or as may be agreed to by the Holder of an Allowed Claim, may
set off or recoup against any Allowed Claim and the distributions to be made pursuant to this Plan on account of such
Allowed Claim, any Claims, rights, and Causes of Action of any nature that the applicable Debtor or Reorganized
Debtor may hold against the Holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action
have not been otherwise compromised, settled, or assigned on or before the Effective Date (whether pursuant to this
Plan, a Final Order, or otherwise); provided, however, that neither the failure to effect such a set off or recoupment
nor the allowance of any Claim pursuant to this Plan shall constitute a waiver or release by such Reorganized Debtor
of any such Claims, rights, and Causes of Action.

          In no event shall any Holder of Claims be entitled to set off any such Claim against any claim, right, or Cause
of Action of the Debtor or Reorganized Debtor (as applicable), unless (i) the Debtors have consented; and (ii) such
Holder has Filed a motion with the Bankruptcy Court requesting the authority to perform such setoff on or before the
Confirmation Date, and notwithstanding any indication in any Proof of Claim or otherwise that such Holder asserts,
has, or intends to preserve any right of setoff pursuant to section 553 of the Bankruptcy Code or otherwise.

K.       Claims Paid or Payable by Third Parties.

         1.       Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
Disallowed without a Claim objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor, a Reorganized Debtor, the Distribution Agent, or the GUC Note Administrative
Agent, as applicable. To the extent a Holder of a Claim receives a distribution on account of such Claim and receives
payment from a party that is not a Debtor, a Reorganized Debtor, the Distribution Agent, or the GUC Note
Administrative Agent, as applicable, on account of such Claim, such Holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the Holder’s total recovery
on account of such Claim from the third party and under this Plan exceeds the amount of such Allowed Claim as of
the date of any such distribution under this Plan. The failure of such Holder to timely repay or return such distribution
shall result in the Holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate
on such amount owed for each Business Day after the fourteen (14) day grace period specified above until the amount
is repaid.

         2.       GPX Claims.

         Nothing herein modifies the obligations of Golden Pass and the Debtors under the GPX Settlement
Documents with respect to the payment of GPX Claims. To the extent not satisfied prior to the Effective Date, Golden
Pass and the Reorganized Debtors shall pay Allowed Claims that constitute GPX Claims, if any, pursuant to the terms
of the GPX Settlement Documents and this Plan. Such valid Claims that constitute GPX Claims and that are satisfied
by Golden Pass in accordance with the GPX Settlement Documents and this Plan shall not be the obligation of the
Debtors, the Estates, the Reorganized Debtors, the Distribution Agent, or any of their Related Parties, subject to the
terms of the GPX Settlement Documents and this Plan.

         Any dispute between Golden Pass and the Debtors and/or Reorganized Debtors regarding whether any Claim,
including any Administrative Claim, constitutes a valid GPX Claim subject to payment by Golden Pass under the
GPX Settlement Documents shall be determined by the Bankruptcy Court.

       Notwithstanding anything to the contrary herein, to the extent Golden Pass pays a transferee that has acquired
a GPX Claim from the original Holder, such payments shall count against the GPX Direct Payment Cap to the extent



                                                           34
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 126 of 154



set forth in the GPX Settlement Documents, and the Debtors, the Reorganized Debtors, and Golden Pass shall have
no obligations to the original Holder. To the extent Golden Pass paid an original Holder of a GPX Claim prior to any
transfer of such Claim becoming effective, such payments shall count against the GPX Direct Payment Cap to the
extent set forth in the GPX Settlement Documents, and the Debtors, the Estates, the Reorganized Debtors, the
Distribution Agent, Golden Pass, and any of their Related Parties shall have no obligations to the transferee.

        For the avoidance of doubt, Golden Pass shall have no obligation to pay any Disputed Claim or otherwise
pay any GPX Claim inconsistent with the terms of the GPX Settlement Documents.

         3.       Claims Payable by Insurers.

          No distributions under this Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with respect
to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such insurers’
agreement, the applicable portion of such Claim shall be Disallowed and expunged without a Claim objection having
to be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

         To the extent that applicable insurance coverage is insufficient to provide the treatment to an Allowed Claim
required by Article III of this Plan, the Holder of such Allowed Claim shall have an Allowed General Unsecured
Claim against the applicable Debtor’s Estate for the deficiency. To the extent that any insurer reduces the amount
payable to the Holder of an Allowed Claim on account of a SIR or deductible under any applicable insurance policy,
such Holder shall have an Allowed General Unsecured Claim against the applicable Debtor’s Estate equal to the
amount of such reduction.

          Nothing in this Plan shall be construed to limit, extinguish, or diminish the insurance coverage that may exist
or shall be construed as a finding liquidating any Claim payable pursuant to an insurance policy.

         4.       Applicability of Insurance Policies.

         Except as otherwise provided in this Plan, distributions to Holders of Allowed Claims shall be in accordance
with the provisions of any applicable insurance policy. Nothing contained in this Plan shall constitute or be deemed
a waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity, including insurers
under any policies of insurance, nor shall anything contained herein constitute or be deemed a waiver by such insurers
of any defenses, including coverage defenses, held by such insurers.

                                  ARTICLE VII.
     PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Claims Administration Responsibilities.

         After the Effective Date, the Reorganized Debtors shall have the sole authority (i) to File, withdraw, or litigate
to judgment objections to Claims; (ii) to settle or compromise any Disputed Claim without any further notice to or
action, order, or approval by the Bankruptcy Court; and (iii) to administer and adjust the Claims Register to reflect
any such settlements or compromises without any further notice to or action, order, or approval by the Bankruptcy
Court. For the avoidance of doubt, after the Effective Date, each of the Reorganized Debtors shall have the right to
object to Claims and shall retain any and all rights and defenses that the Debtors had with respect to any Claim
immediately before the Effective Date, including the Causes of Action retained pursuant to Article IV.L of this Plan.

        Any objections to, or requests for estimation of, General Unsecured Claims (excluding General
Unsecured Claims that are contingent or unliquidated) must be Filed on or before the Claims Objection
Deadline. If an objection or request for estimation is not Filed with respect to a General Unsecured Claim by
the Claims Objection Deadline, such Claim shall be deemed Allowed, unless (i) such Claim is otherwise
Disputed or Disallowed under this Plan or Final Order; (ii) such Claim is contingent or unliquidated as of the
Claims Objection Deadline; or (iii) the Claims Objection Deadline is extended with respect to specific Claims



                                                            35
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 127 of 154



by the Bankruptcy Court for good cause shown by the Debtors. If the Bankruptcy Court orders the Claim
Objection Deadline extended with respect to specific Claims and an objection or request for estimation is not
Filed with respect to any such specific Claim by the extended Claims Objection Deadline, such Claim shall be
deemed Allowed, unless (i) such Claim is otherwise Disputed or Disallowed under this Plan or Final Order or
(ii) such Claim is contingent or unliquidated as of the extended Claims Objection Deadline.

         Any Holder of a General Unsecured Claim that is contingent or unliquidated as of the Claims
Objection Deadline shall provide prompt notice to the Reorganized Debtors if such Claim later becomes non-
contingent and liquidated. The Reorganized Debtors may object to, or request estimation of, such Claim by no
later than one hundred and eighty (180) days after receiving such notice and may withhold any distributions
on such Claim until the expiration of such 180-day period or the resolution of any objection or request for
estimation, whether by Final Order or agreement between the Reorganized Debtor and the Holder of such
Claim. The Reorganized Debtors may seek an extension of the deadline to object to, or request estimation of,
such Claim for good cause shown.

         Notwithstanding anything to the contrary herein, if any General Unsecured Claim is Allowed after the GUC
Promissory Notes are satisfied and discharged, the Reorganized Debtors, the Distribution Agent, the GUC Note
Administrative Agent, or their successors, as applicable, shall distribute to the Holder of such General Unsecured
Claim Cash in an amount equal to the value of the property such Holder is otherwise entitled to receive under Article
III.C.6 of this Plan on the Effective Date, inclusive of any interest such Holder would have received under the GUC
Promissory Notes from the Effective Date through Maturity (as defined in the GUC Note Term Sheet).

B.       Allowance of Claims.

         Except as expressly provided in the Plan or in any Order entered in the Chapter 11 Cases before the Effective
Date (including the Confirmation Order), no Claim shall become an Allowed Claim unless and until such Claim is
deemed Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a Final Order, including
the Confirmation Order (when it becomes a Final Order), in the Chapter 11 Cases allowing such Claim. The Debtors
or Reorganized Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the same extent such
Claims would be allowed under applicable non-bankruptcy law.

C.       Estimation of Claims.

          Before, on, or after the Effective Date, the Debtors and the Reorganized Debtors, as applicable, may at any
time request that the Bankruptcy Court estimate any Disputed Claim that is contingent or unliquidated pursuant to
section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party in interest previously has
objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court
shall retain jurisdiction to estimate any such Claim, including during the litigation of any objection to any Claim or
during the appeal relating to such objection. A Claim that has been expunged from the Claims Register, but that either
is subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless
otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or
unliquidated Claim, that estimated amount shall constitute a maximum limitation on such Claim for all purposes under
the Plan (including for purposes of distributions), and the Debtors or the Reorganized Debtors, as applicable, may
elect to pursue any supplemental proceedings to object to any ultimate distribution on such Claim; provided, however,
such limitation shall not apply to Claims against any of the Debtors requested by the Debtors to be estimated for voting
purposes only.

         Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any Holder of a Claim that has
been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be entitled to seek reconsideration of
such estimation unless such Holder has Filed a motion requesting the right to seek such reconsideration on or before
fourteen (14) calendar days after the date on which such Claim is estimated. All of the Claims and objection,
estimation, and resolution procedures set forth in this Plan are cumulative and not exclusive of one another. Claims
may be estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
Bankruptcy Court.




                                                           36
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 128 of 154



D.       Adjustment to Claims Register Without Objection.

          Any duplicate Claim, any Claim (filed or scheduled) that has been paid or satisfied, or any Claim that has
been amended or superseded, cancelled, or otherwise expunged (including pursuant to the Plan or the Confirmation
Order), may be adjusted or expunged (including on the Claims Register, to the extent applicable) by the Debtors or
the Reorganized Debtors, as applicable, upon stipulation or any agreement in writing, including, without limitation,
email correspondence, between the Debtors and the Holder of the applicable Claim without a Claim objection having
to be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

E.       Disallowance of Claims or Interests.

        Except as otherwise agreed to by the Debtors or the Reorganized Debtors, as applicable, any and all
Proofs of Claim filed after the Bar Date shall be deemed Disallowed and expunged as of the Effective Date
without any further notice to or action, Order, or approval of the Bankruptcy Court, and Holders of such
Claims may not receive any distributions on account of such Claims, unless the Bankruptcy Court shall have
determined by a Final Order, on or before the Confirmation Hearing, that cause exists to extend the Claims
Bar Date as to such Proof of Claim on the basis of excusable neglect.

          All Claims Filed on account of an Indemnification Obligation shall be deemed satisfied and expunged from
the Claims Register as of the Effective Date to the extent such Indemnification Obligation is assumed by the
Reorganized Debtors, or honored or reaffirmed, as the case may be, pursuant to this Plan, without any further notice
to or action, order, or approval of the Bankruptcy Court.

          All Proofs of Claim Filed on account of an Employee Obligation shall be deemed satisfied and expunged
from the Claims Register as of the Effective Date to the extent the Reorganized Debtors elect to honor such Obligation,
without any further notice to or action, order, or approval of the Bankruptcy Court. For the avoidance of doubt, in
exchange for the Debtors’ assumption of all obligations under the Deferred Compensation Plan and the Reinstatement
of all Deferred Compensation Plan Claims pursuant to Article III.C.4 of this Plan, any and all Proofs of Claim
asserting Deferred Compensation Plan Claims shall be deemed satisfied and expunged as of the Effective Date without
the need for any objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court. The
rights of the Debtors, the Reorganized Debtors, and the Holders of Deferred Compensation Plan Claims with respect
to such Deferred Compensation Plan Claims shall be fully reserved, and any disputes relating to amounts owed in
connection with such Deferred Compensation Plan Claims shall be resolved by the Reorganized Debtors and the
applicable Holder(s) in the ordinary course of business after the Effective Date.

F.       Reimbursement or Contribution.

           If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent such Claim is contingent as of the time of allowance
or disallowance, such Claim shall be forever Disallowed and expunged notwithstanding section 502(j) of the
Bankruptcy Code, unless before the Confirmation Date: (i) such Claim has been adjudicated as non-contingent; or
(ii) the relevant Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered before the Confirmation Date determining such Claim is no longer contingent.

G.       Amendments to Proofs of Claim.

         On or after the Effective Date, except as provided in the Plan or the Confirmation Order, a Claim or Proof of
Claim may not be Filed or amended without the prior authorization of the Bankruptcy Court or the Reorganized
Debtors, and any such new or amended Claim or Proof of Claim Filed after the Effective Date shall be deemed
Disallowed in full and expunged without any further action or notice to the Bankruptcy Court; provided, however, the
filing of an unauthorized amendment shall not affect the underlying Claim or Proof of Claim. Nothing in this
paragraph shall impair any claimant’s ability to seek leave from the Bankruptcy Court to amend a Claim or Proof of
Claim.




                                                          37
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 129 of 154



H.       No Distributions Pending Allowance.

        Notwithstanding any other provision of this Plan, if any portion of a Claim is a Disputed Claim, as applicable,
no payment or distribution provided hereunder shall be made on account of such Claim or Interest unless and until
such Disputed Claim becomes an Allowed Claim.

I.       Distributions After Allowance.

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any) shall be
made to the Holder of such Allowed Claim in accordance with Article VI of this Plan.

J.       Single Satisfaction of Claims.

         In no case shall the aggregate value of all property received or retained under the Plan on account of any
Allowed Claim or Interest exceed 100 percent of the underlying Allowed Claim or Interest plus applicable interest
required to be paid under this Plan, if any, and the Allowed amount of any Claim or Interest shall be automatically
reduced dollar-for-dollar on account of any payments made by any third parties on account of such Claim or Interest
(including as set forth in Article VI.J of this Plan).

                                       ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in this
Plan, the Confirmation Order, or in any contract, instrument, or other agreement or document created or entered into
pursuant to this Plan, the distributions, rights, and treatment that are provided in this Plan shall be in complete
satisfaction, discharge, and release, effective as of the Effective Date, of Claims (including any Intercompany Claims
resolved or compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any
nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date, whether
known or unknown, against, liabilities of, Liens on, obligations of, rights against, and Interests in, the Debtors or any
of their assets or properties, regardless of whether any property shall have been distributed or retained pursuant to this
Plan on account of such Claims or Interests, and GPX or any of its assets or properties with respect to any Claims that
constitute GPX Claims, including demands, liabilities, and Causes of Action that arose before the Effective Date, any
liability (including withdrawal liability) to the extent such Claims or Interests relate to services performed by
employees of the Debtors prior to the Effective Date and that arise from a termination of employment, any contingent
or non-contingent liability on account of representations or warranties issued on or before the Effective Date, and all
debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not:
(1) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to section 501 of the Bankruptcy
Code; (2) a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502 of the
Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted this Plan. The Confirmation Order shall
be a judicial determination of the discharge of all Claims and Interests subject to the occurrence of the Effective Date.
For the avoidance of doubt, the discharge provided herein shall discharge, release, and extinguish any right of any
Holder of any Claim to file, assert, levy, or attach any Liens or initiate any claim against any bonds or the Sureties on
account of any Claims against any of the Debtors that are discharged, satisfied, or released pursuant to this Plan,
including on account of General Unsecured Claims that are satisfied in full under this Plan, or otherwise enforce,
collect, or recover on account of any such Claims other than as expressly permitted under this Plan. Further, and for
the avoidance of doubt, the discharge provided herein shall discharge, release, and extinguish any right of any Holder
of any GPX Claim to file, assert, levy, or attach any Liens against property of Golden Pass on account of any GPX
Claims against any of the Debtors that are discharged, satisfied, or released pursuant to this Plan, or otherwise enforce,
collect, or recover on account of any such GPX Claims against Golden Pass or any property interest of Golden Pass.

B.       Release of Liens.

        Except as otherwise provided in this Plan, the Confirmation Order, the Plan Supplement, or any
contract, instrument, release, or other agreement or document created pursuant to this Plan, on the Effective


                                                           38
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 130 of 154



Date and concurrently with the applicable distributions made pursuant to this Plan and, in the case of a Secured
Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date, except
for Other Secured Claims that the Debtors elect to Reinstate in accordance with Article III.C hereof, all
mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the Estates,
including any bonds related to the Debtors, shall be fully released and discharged, and all of the right, title, and
interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall revert
to the Reorganized Debtors and their successors and assigns. Any Holder of such Secured Claim (and the
applicable agents for such Holder) shall be authorized and directed, at the sole cost and expense of the
Reorganized Debtors, to release any collateral or other property of any Debtor (including any Cash Collateral
and possessory collateral) held by such Holder (and the applicable agents for such Holder), and to take such
actions as may be reasonably requested by the Reorganized Debtors to evidence the release of such Lien,
including the execution, delivery, and filing or recording of such releases. The foregoing direction to release
Liens shall be considered a direction in accordance with, as applicable, the Prepetition Credit Agreement, as if
such direction included the signatures of the necessary lenders thereunder to direct the applicable agent to take
the actions contemplated thereby. The presentation or filing of the Confirmation Order to or with any federal,
state, provincial, or local agency or department shall constitute good and sufficient evidence of, but shall not
be required to effect, the termination of such Liens.

         To the extent that any Holder of a Secured Claim that has been satisfied or discharged pursuant to the
Plan, or any agent for such Holder, has filed or recorded publicly any Liens and/or security interests to secure
such Holder’s Secured Claim, including with respect to any bonds related to the Debtors, then as soon as
practicable on or after the Effective Date, such Holder (or the agent for such Holder) shall take any and all
steps requested by the Debtors or the Reorganized Debtors that are necessary or desirable to record or
effectuate the cancellation and/or extinguishment of such Liens and/or security interests, including the making
of any applicable filings or recordings, and the Reorganized Debtors shall be entitled to make any such filings
or recordings on such Holder’s behalf.

C.      Releases by the Debtors.

         As of the Effective Date, except for the rights that remain in effect from and after the Effective Date to
enforce this Plan, and the obligations contemplated by the Restructuring Transactions or as otherwise provided
in any order of the Bankruptcy Court, and except as expressly provided in this Plan, the Schedule of Retained
Causes of Action, or the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code, on and after
the Effective Date, the Released Parties shall be deemed conclusively, absolutely, unconditionally, irrevocably,
and forever released and discharged, by and on behalf of each Debtor and its Estate, in each case on behalf of
itself and its respective successors, assigns, and representatives and any and all other Persons that may purport
to assert any Cause of Action derivatively, by or through the foregoing Persons, from any and all claims and
Causes of Action whatsoever (including any derivative claims, asserted or assertable on behalf of the Debtors
or the Estates), whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising,
whether in law or equity, whether sounding in tort or contract, whether arising under federal or state statutory
or common law, or any other applicable international, foreign, or domestic law, rule, statute, regulation, treaty,
right, duty, requirement or otherwise, that the Debtors, the Estates, or their Affiliates, heirs, executors,
administrators, successors, assigns, managers, accountants, attorneys, representatives, consultants, agents, and
any other Persons claiming under or through them would have been legally entitled to assert in their own right
(whether individually or collectively) or on behalf of the Holder of any Claim or Interest or other Person, based
on or relating to, or in any manner arising from, in whole or in part, the Debtors or the Estates, the Chapter 11
Cases, the Restructuring Transactions, the GPX Settlement, the purchase, sale, or rescission of the purchase or
sale of any security of the Debtors, the subject matter of, or the transactions or events giving rise to, any Claim
or Interest that is treated under this Plan, the business or contractual arrangements or interactions between
any Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, intercompany
transactions between or among a Debtor or an Affiliate of a Debtor and another Debtor or an Affiliate of a
Debtor, the Released Avoidance Actions, the restructuring of any Claim or Interest before or during the
Chapter 11 Cases, the negotiation, formulation, preparation, Filing, or consummation of the Plan, the Plan
Supplement, the Confirmation Order, the Restructuring Transactions, the A&R Credit Facility, the Sunbelt
Promissory Note, the GUC Promissory Notes, the GUC Note Documents, the Parent Capital Contribution, the


                                                        39
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 131 of 154



GPX Settlement Documents, the Cash Collateral Order, the Disclosure Statement, and all related agreements,
instruments, and other documents, and the solicitation of votes with respect to this Plan, in all cases based upon
any act or omission, transaction, agreement, event, or other occurrence taking place on or before the Effective
Date.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth in the preceding
paragraph shall not release any Released Party from any Claim or Cause of Action arising from an act or
omission that is determined by a Final Order to have constituted fraud, willful misconduct, or gross negligence.

         Notwithstanding anything to the contrary in this Article VIII.C, the Debtors shall maintain all rights
to object to Filed Claims and shall not release any claims or Causes of Action (i) identified in the Schedule of
Retained Causes of Action, or (ii) related to the GPX Settlement that are preserved by the GPX Settlement
Documents, the GPX Settlement Dispute Opinion, or the GPX Settlement Dispute Order. Any and all such
rights, claims, and Causes of Action set forth in this paragraph shall be fully preserved and revest in the
Reorganized Debtors pursuant to this Plan and the Confirmation Order.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the foregoing Debtor Release, which includes by reference each of the related
provisions and definitions contained in this Plan, and, further, shall constitute the Bankruptcy Court’s finding
that the Debtor Release is: (1) essential to Confirmation of this Plan; (2) in exchange for the good and valuable
consideration provided by the Released Parties, including, without limitation, the Released Parties’
contributions to facilitating the Restructuring Transactions and implementing this Plan; (3) a good faith
settlement and compromise of the Claims released by the Debtor Release; (4) in the best interests of the Debtors
and all Holders of Claims and Interests; (5) fair, equitable, and reasonable; (6) given and made after due notice
and opportunity for hearing; and (7) a bar to any of the Debtors, the Reorganized Debtors, or the Debtors’
Estates asserting any Claim or Cause of Action released pursuant to the Debtor Release.

D.      Releases by Third Parties.

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, and except for the
rights that remain in effect from and after the Effective Date to enforce this Plan, and the obligations
contemplated by the Restructuring Transactions or as otherwise provided in any order of the Bankruptcy
Court, on and after the Effective Date, the Released Parties shall be deemed conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged, by each Releasing Party, in each case on
behalf of itself and its respective successors, assigns, and representatives and any and all other Persons that
may purport to assert any Cause of Action derivatively, by or through the foregoing Persons, in each case solely
to the extent of the Releasing Parties’ authority to bind any of the foregoing, including pursuant to agreement
or applicable non-bankruptcy law, from any and all claims and Causes of Action whatsoever (including any
derivative claims, asserted or assertable on behalf of the Debtors or the Estates), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen, asserted
or unasserted, accrued or unaccrued, existing or hereinafter arising, whether in law or equity, whether
sounding in tort or contract, whether arising under federal or state statutory or common law, or any other
applicable international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or
otherwise, that such Holders or their estates, Affiliates, heirs, executors, administrators, successors, assigns,
managers, accountants, attorneys, representatives, consultants, agents, and any other Persons claiming under
or through them would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the Holder of any Claim or Interest or other Person, based on or relating to, or in
any manner arising from, in whole or in part, the Debtors or the Estates, the Chapter 11 Cases, the
Restructuring Transactions, the GPX Settlement, the purchase, sale, or rescission of the purchase or sale of
any security of the Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated under this Plan, the business or contractual arrangements or interactions between any
Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, intercompany
transactions between or among a Debtor or an Affiliate of a Debtor and another Debtor or an Affiliate of a
Debtor, the restructuring of any Claim or Interest before or during the Chapter 11 Cases, the negotiation,
formulation, preparation, Filing, or consummation of the Plan, the Plan Supplement, the Confirmation Order,
the Restructuring Transactions, the A&R Credit Facility, the Sunbelt Promissory Note, the GUC Promissory


                                                       40
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 132 of 154



Notes, the GUC Note Documents, the Parent Capital Contribution, the GPX Settlement Documents, the Cash
Collateral Order, the Disclosure Statement, and all related agreements, instruments, and other documents, and
the solicitation of votes with respect to this Plan, in all cases based upon any act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date.

         Notwithstanding anything to the contrary in the foregoing, the releases set forth in the preceding
paragraph shall not release any Released Party (other than a Released Party that is a Reorganized Debtor,
Debtor, or a director, officer, or employee of any Debtor as of the Petition Date), from any claim or Cause of
Action arising from an act or omission that is determined by a Final Order to have constituted actual fraud,
willful misconduct, or gross negligence.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the foregoing Third-Party Release, which includes by reference each of the related
provisions and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that
the Third-Party Release is: (1) consensual; (2) essential to the confirmation of this Plan; (3) given in exchange
for the good and valuable consideration provided by the Released Parties; (4) a good faith settlement and
compromise of the Claims released by the Third-Party Release; (5) in the best interests of the Debtors and their
Estates; (6) fair, equitable, and reasonable; (7) given and made after due notice and opportunity for hearing;
and (8) a bar to any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the
Third-Party Release.

E.      Exculpation.

         Except as otherwise specifically provided in this Plan, no Exculpated Party shall have or incur liability
for, and each Exculpated Party is hereby released and exculpated from, any Cause of Action or Claim whether
direct or derivative related to any act or omission in connection with, relating to, or arising out of the
Chapter 11 Cases from the Petition Date to the Effective Date, the negotiation, formulation, preparation, Filing,
or consummation of the Plan, the Plan Supplement, the Confirmation Order, the Restructuring Transactions,
the A&R Credit Facility, the Sunbelt Promissory Note, the GUC Promissory Notes, the GUC Note Documents,
the Parent Capital Contribution, the GPX Settlement Documents, the Cash Collateral Order, the Disclosure
Statement, all related agreements, instruments, and other documents, or any transaction related to the
Restructuring Transactions, any contract, instrument, release, or other agreement or document created or
entered into before or during the Chapter 11 Cases in connection with the Restructuring Transactions, any
preference, fraudulent transfer, or other avoidance Claim arising pursuant to chapter 5 of the Bankruptcy
Code or other applicable law, the Filing of the Chapter 11 Cases, the solicitation of votes for the Plan, the
pursuit of Confirmation, the pursuit of Consummation, the administration and implementation of this Plan, or
the distribution of property under this Plan or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date related or
relating to any of the foregoing, except for Claims related to any act or omission that is determined in a Final
Order to have constituted willful misconduct, gross negligence, or actual fraud, but in all respects such
Exculpated Parties shall be entitled to reasonably rely upon the advice of counsel with respect to their duties
and responsibilities pursuant to this Plan and the Confirmation Order.

         The Exculpated Parties set forth above have, and upon Confirmation of this Plan shall be deemed to
have, participated in good faith and in compliance with applicable law with respect to the solicitation of votes
and distribution of consideration pursuant to this Plan and, therefore, are not and shall not be liable at any
time for the violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
rejections of this Plan or such distributions made pursuant to this Plan.

F.      Injunction.

         Upon entry of the Confirmation Order, all Holders of Claims and Interests and other parties in
interest, along with their respective present or former employees, agents, officers, directors, principals, and
Affiliates, and each of their successors and assigns, shall be enjoined from taking any actions to interfere with
the implementation or Consummation of this Plan in relation to any Claim or Interest that is extinguished,
discharged, satisfied, or released pursuant to this Plan.


                                                       41
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 133 of 154



         Except as otherwise expressly provided in this Plan or the Confirmation Order, or for obligations
issued or required to be paid pursuant to this Plan or the Confirmation Order, all Entities who have held, hold,
or may hold Claims, Interests, or Causes of Action that have been extinguished, discharged, satisfied, released,
or are subject to exculpation pursuant to Article VIII, are permanently enjoined, from and after the Effective
Date, from taking any of the following actions against, as applicable, the Exculpated Parties and/or the Released
Parties:

             1.   commencing, conducting, or continuing in any manner any action or other proceeding of any
                  kind on account of or in connection with or with respect to any such Claims, Interests, or
                  Causes of Action;

             2.   enforcing, levying, attaching, collecting, or recovering by any manner or means any judgment,
                  award, decree, or Order against such Entities on account of or in connection with or with
                  respect to any such Claims, Interests, or Causes of Action;

             3.   creating, perfecting, or enforcing any Lien or encumbrance of any kind against such Entities
                  or the property or the Estates of such Entities on account of or in connection with or with
                  respect to any such Claims, Interests, or Causes of Action;

             4.   filing, asserting, levying, or attaching any Liens against any property of the Debtors or
                  Reorganized Debtors on account of any Claims arising under or related to Executory
                  Contracts or Unexpired Leases that are assumed and cured pursuant to this Plan;

             5.   filing, asserting, levying, or attaching any Liens against any bonds or the Sureties on account
                  of any Claims against any of the Debtors that are discharged, satisfied, or released pursuant
                  to this Plan, including on account of General Unsecured Claims that are satisfied in full under
                  this Plan, and enforcing, collecting, or recovering on account of any such Liens;

             6.   filing, asserting, levying, or attaching any Liens against any property of Golden Pass on
                  account of any GPX Claims against any of the Debtors that are discharged, satisfied, or
                  released pursuant to the Plan, and enforcing, collecting, or recovering on account of any such
                  Liens, or otherwise enforcing, collecting, or recovering on account of any such GPX Claims
                  against Golden Pass;

             7.   filing, asserting, levying, or attaching any Claims or Liens on account of GPX Claims satisfied
                  (or to be satisfied) by Golden Pass under the GPX Settlement, whether against the Released
                  Parties, Exculpated Parties, Golden Pass, Chiyoda, CB&I, or CCZJV-GPX;

             8.   except as otherwise provided under this Plan, asserting any right of setoff, subrogation, or
                  recoupment of any kind against any obligation due from such Entities or against the property
                  of such Entities on account of or in connection with or with respect to any such Claims,
                  Interests, or Causes of Action unless such Holder has Filed a motion requesting the right to
                  perform such setoff on or before the Effective Date, and notwithstanding an indication of a
                  Claim or Interest or otherwise that such Holder asserts, has, or intends to preserve any right
                  of setoff pursuant to applicable law or otherwise; and

             9.   commencing or continuing in any manner any action or other proceeding of any kind on
                  account of or in connection with or with respect to any such Claims, Interests, or Causes of
                  Action released or settled pursuant to this Plan or the Confirmation Order.

        No Person or Entity may commence or pursue a Claim or Cause of Action of any kind against the
Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released Parties that relates to or is
reasonably likely to relate to any act or omission in connection with, relating to, or arising out of a Claim or
Cause of Action related to the Chapter 11 Cases prior to the Effective Date, the negotiation, formulation,
preparation, Filing, or consummation of the Plan, the Plan Supplement, the Confirmation Order, the



                                                       42
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 134 of 154



Restructuring Transactions, the A&R Credit Facility, the Sunbelt Promissory Note, the GUC Promissory
Notes, the GUC Note Documents, the Parent Capital Contribution, the GPX Settlement Documents, the Cash
Collateral Order, the Disclosure Statement, the solicitation of votes with respect to this Plan, or any transaction
related to the Restructuring, any contract, instrument, release, or other agreement or document created or
entered into before or during the Chapter 11 Cases in connection with the Restructuring Transactions, any
preference, fraudulent transfer, or other avoidance Claim arising pursuant to chapter 5 of the Bankruptcy
Code or other applicable law, the Filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of this Plan, or the distribution of property under this
Plan or any other related agreement, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date related or relating to any of the foregoing, without
regard to whether such Person or Entity is a Releasing Party, without the Bankruptcy Court (1) first
determining, after notice and a hearing, that such Claim or Cause of Action represents a colorable Claim of
any kind and (2) specifically authorizing such Person or Entity to bring such Claim or Cause of Action against
any such Debtor, Reorganized Debtor, Exculpated Party, or Released Party.

        The Bankruptcy Court will have sole and exclusive jurisdiction to adjudicate the underlying colorable
Claim or Causes of Action. The injunction in this Plan shall extend to any successors and assigns of the Debtors
and the Reorganized Debtors and their respective property and interests in property.

        Notwithstanding anything to the contrary in the foregoing, the injunction does not enjoin any party
under this Plan, the Confirmation Order, or other document, instrument, or agreement (including those
attached to the Disclosure Statement or included in the Plan Supplement) executed to implement this Plan and
the Confirmation Order from bringing an action to enforce the terms of this Plan, the Confirmation Order, or
such document, instrument, or agreement (including those attached to the Disclosure Statement or included in
the Plan Supplement) executed to implement this Plan and the Confirmation Order.

G.      Limitation of Liability of Officers, Directors, and Agents.

         The provisions of section 1125(e) of the Bankruptcy Code govern the protection from liability with
respect to all matters governed by section 1125(e). The Debtors and their successors (and the officers, directors
or agents of the Debtors or their successors) have no liability for conduct that was authorized by an order of
the Bankruptcy Court. With respect to conduct during the period from the Petition Date through the Effective
Date, the Debtors and their successors (and the officers, directors or agents of the Debtors or their successors)
may be subject to liability only for conduct that constituted actual fraud, gross negligence, or willful
misconduct, provided that such limitations on liability exist under applicable non-bankruptcy law.
Notwithstanding the foregoing, this Plan does not limit liability for conduct for which the Bankruptcy Court’s
approval was required by applicable law, but for which approval was not granted.

H.      Waiver of Statutory Limitations on Releases.

          Each Releasing Party in each of the releases contained in this Plan expressly acknowledges that
although ordinarily a general release may not extend to Claims that the Releasing Party does not know or
suspect to exist in its favor, which if known by it may have materially affected its settlement with the party
released, each Releasing Party has carefully considered and taken into account in determining to enter into the
above releases the possible existence of such unknown losses or Claims. Without limiting the generality of the
foregoing, each Releasing Party expressly waives any and all rights conferred upon it by any statute or rule of
law that provides that a release does not extend to Claims that the claimant does not know or suspect to exist
in its favor at the time of executing the release, which if known by it may have materially affected its settlement
with the Released Party. The releases contained in this Plan are effective regardless of whether those released
matters are presently known, unknown, suspected or unsuspected, foreseen or unforeseen.

I.      Special Provision Regarding the United States Government.

       Nothing in the Confirmation Order or the Plan shall effect a release of any Claim by the United States
government or any of its agencies or any state and local authority whatsoever, including without limitation any
Claim arising under the Internal Revenue Code, the environmental laws or any criminal laws of the United


                                                         43
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 135 of 154



States or any state and local authority against any party or person, nor shall anything in the Confirmation
Order or the Plan enjoin the United States or any state or local authority from bringing any Claim, suit, action,
or other proceedings against any party or person for any liability of such persons whatever, including without
limitation any Claim, suit or action arising under the Internal Revenue Code, the environmental laws or any
criminal laws of the United States or any state and local authority against such persons, nor shall anything in
the Confirmation Order or the Plan exculpate any party or person from any liability to the United States
government or any of its agencies or any state and local authority whatsoever, including any liabilities arising
under the Internal Revenue Code, the environmental laws or any criminal laws of the United States or any
state and local authority against any party or person.

J.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

K.       Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policies, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

                                        ARTICLE IX.
                     CONDITIONS PRECEDENT TO CONSUMMATION OF THIS PLAN

A.       Conditions Precedent to the Effective Date.

        It shall be a condition to the Effective Date of this Plan that the following conditions shall have been satisfied
or waived pursuant to the provisions of Article IX.B hereof:

              1.   The Bankruptcy Court shall have entered the Confirmation Order which shall be in form and
                   substance reasonably satisfactory to the Debtors and the Committee and consistent in all material
                   respects with the terms and conditions of the Plan;

              2.   The Confirmation Order shall be in full force and effect;

              3.   The settlements embodied in the Plan shall have been approved by the Bankruptcy Court and
                   incorporated in the Confirmation Order;

              4.   The A&R Credit Facility Documents, in form and substance consistent with the A&R Credit Facility
                   Term Sheet, shall have been executed and delivered by the Debtors and the A&R Credit Facility
                   Agent;

              5.   The Sunbelt Promissory Note, in form and substance consistent with the Sunbelt Term Sheet, shall
                   have been executed and delivered by the Debtors and Sunbelt;

              6.   The Debtors and the GUC Note Administrative Agent shall have executed the GUC Promissory
                   Notes, and the GUC Promissory Notes shall have vested in the GUC Note Administrative Agent,
                   for the benefit of, and distributions to, Holders of Allowed General Unsecured Claims;




                                                           44
        Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 136 of 154



              7.   The Parent Capital Contribution shall have been contributed to, and vested in, ZHI;

              8.   The Exit Intercreditor Agreement shall be executed in form and substance consistent with the Plan;
                   and

              9.   The Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, actions,
                   documents, and other agreements that are necessary to implement and effectuate the Plan and each
                   of the other Restructuring Transactions.

B.        Waiver of Conditions.

        The conditions to the Effective Date set forth in this Article IX may be waived, in whole or in part, by the
Debtors without notice, leave, or order of the Bankruptcy Court or any formal action other than proceedings to confirm
or consummate this Plan; provided, however, the Debtors shall obtain the consent of the Prepetition Credit Facility
Agent with respect to any waiver (in whole or in part) of the condition set forth in Article IX.A.4, and the consent of
the Committee with respect to any waiver (in whole or in part) of the condition set forth in Article IX.A.6.

C.        Substantial Consummation.

          Consummation of this Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the Effective
Date.

D.        Effect of Failure of Conditions.

          If Consummation does not occur, this Plan shall be null and void in all respects and nothing contained in this
Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by the Debtors, Claims, or
Interests; (2) prejudice in any manner the rights of the Debtors, any Holders of Claims or Interests, or any other Entity;
or (3) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders of Claims or
Interests, or any other Entity, respectively.

                                        ARTICLE X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS PLAN

A.        Modification and Amendments.

          Except as otherwise specifically provided in this Plan, subject to certain restrictions and requirements set
forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 (as well as those restrictions on modifications
set forth in the Plan), the Debtors reserve the right to modify this Plan without additional disclosure pursuant to
section 1125 of the Bankruptcy Code prior to the Confirmation Date and seek Confirmation consistent with the
Bankruptcy Code and, as appropriate, not re-solicit votes on such modified Plan; provided, however, that the Debtors
shall obtain the consent of the Committee (which consent shall not be unreasonably withheld) for any alterations,
amendments, supplements, or modifications to the Plan impacting the treatment of Holders of General Unsecured
Claims under the Plan. After the Confirmation Date and before substantial consummation of the Plan, the Debtors
may initiate proceedings in the Bankruptcy Court pursuant to section 1127(b) of the Bankruptcy Code to remedy any
defect or omission or reconcile any inconsistencies in the Plan, the Plan Supplement, the Disclosure Statement, or the
Confirmation Order, relating to such matters as may be necessary to carry out the purposes and intent of the Plan.

         After the Confirmation Date, but before the Effective Date, the Debtors may make appropriate technical
adjustments and modifications to the Plan (including the Plan Supplement) without further order or approval of the
Bankruptcy Court; provided, however, that such adjustments and modifications do not materially and adversely affect
the treatment of Holders of Claims or Interests.




                                                           45
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 137 of 154



B.       Effect of Confirmation on Modifications.

          Entry of a Confirmation Order shall mean that all modifications or amendments to this Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

          The Debtors reserve the right to revoke or withdraw this Plan prior to the Confirmation Date and to File
subsequent plans of reorganization. If the Debtors revoke or withdraw this Plan, or if Confirmation or Consummation
does not occur, then: (1) this Plan shall be null and void in all respects; (2) any settlement or compromise embodied
in this Plan (including the fixing or limiting to an amount certain of any Claim or Interest or Class of Claims or
Interests), assumption or rejection of Executory Contracts or Unexpired Leases effected under this Plan, and any
document or agreement executed pursuant to this Plan, shall be deemed null and void; and (3) nothing contained in
this Plan shall: (a) constitute a waiver or release of any Claims or Interests; (b) prejudice in any manner the rights of
such Debtor or any other Entity; or (c) constitute an admission, acknowledgement, offer, or undertaking of any sort
by such Debtor or any other Entity.

                                               ARTICLE XI.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain jurisdiction over the Chapter 11 Cases and all matters arising out
of, or relating to, the Chapter 11 Cases, the Confirmation Order, and this Plan pursuant to sections 105(a) and 1142 of
the Bankruptcy Code, including jurisdiction to:

        1.        Allow, Disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the secured or unsecured status, priority, amount,
or Allowance of Claims or Interests;

         2.        decide and resolve all matters related to the granting and denying, in whole or in part, of any
applications for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to the
Bankruptcy Code, the Confirmation Order, or this Plan;

         3.        resolve any matters related to: (i) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is a party or with respect to which a Debtor may be liable
in any manner and to hear, determine, and, if necessary, liquidate any Claims arising therefrom, including Cure
Claims; (ii) any dispute regarding whether a contract or lease is or was executory, expired, or terminated; (iii) any
potential contractual obligation under any Executory Contract or Unexpired Lease that is assumed; (iv) any other issue
related to any Executory Contracts and Unexpired Leases; or (v) any dispute regarding whether the Plan or any
Restructuring Transactions trigger any cross-default or change of control provision in any contract or agreement;

         4.      ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the provisions
of this Plan and adjudicate any and all disputes arising from or relating to distributions under this Plan or the
Confirmation Order;

        5.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters,
and any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective
Date;

        6.        adjudicate, decide, or resolve any and all matters related to Causes of Action that may arise from or
in connection with the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred
in connection with the Plan;




                                                           46
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 138 of 154



         7.       adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

         8.        enter and implement such orders as may be necessary to execute, implement, or consummate the
provisions of this Plan and all contracts, instruments, releases, indentures, and other agreements or documents created
in connection with this Plan, the Confirmation Order, or the Disclosure Statement;

        9.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
Bankruptcy Code;

          10.      resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection
with the Consummation, interpretation, or enforcement of this Plan or any Entity’s obligations incurred in connection
with this Plan or the Confirmation Order and the administration of the Estates;

        11.      hear and determine disputes arising in connection with the interpretation, implementation, effect, or
enforcement of this Plan or the Plan Supplement, including disputes arising under agreements, documents, or
instruments executed in connection with the Plan;

          12.       issue injunctions, enter and implement other orders, or take such other actions as may be necessary
to restrain interference by any Entity with Consummation or enforcement of this Plan or the Confirmation Order;

          13.      adjudicate, decide, or resolve any cases, controversies, suits, disputes, or Causes of Action with
respect to the releases, injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such
orders as may be necessary or appropriate to implement such releases, injunctions, exculpations, and other provisions;

         14.      adjudicate, decide, or resolve any cases, controversies, suits, disputes, or Causes of Action with
respect to the repayment or return of distributions and the recovery of additional amounts owed by the Holder of a
Claim or Interest for amounts not timely repaid pursuant to Article VI hereof;

        15.       enter and implement such orders as are necessary if the Confirmation Order is for any reason
modified, stayed, reversed, revoked, or vacated;

        16.      determine any other matters that may arise in connection with or relate to this Plan, the Disclosure
Statement, the Confirmation Order, the Plan Supplement, or any contract, instrument, release, indenture, or other
agreement or document created in connection with this Plan, the Plan Supplement, or the Disclosure Statement;

         17.      enter an order concluding or closing the Chapter 11 Cases;

         18.      consider any modifications of this Plan to cure any defect or omission or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        19.     determine requests for the payment of Claims entitled to priority pursuant to section 507 of the
Bankruptcy Code;

         20.      adjudicate, decide, or resolve disputes as to the ownership of any Claim or Interest;

         21.      adjudicate, decide, or resolve all matters related to any subordinated Claim;

        22.      hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan or the Confirmation Order, including disputes arising under agreements, documents, or
instruments executed in connection with this Plan;

         23.      adjudicate, decide, or resolve matters concerning state, local, and U.S. federal taxes in accordance
with sections 346, 505, and 1146 of the Bankruptcy Code;




                                                          47
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 139 of 154



         24.      grant any consensual request to extend the deadline for assuming or rejecting Unexpired Leases
pursuant to section 365(d)(4) of the Bankruptcy Code;

         25.      hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions, and releases granted in this Plan, including under Article VIII hereof;

        26.       hear and determine all disputes involving the obligations under, or the terms of, the GPX Final
Settlement Order;

         27.      enforce all orders previously entered by the Bankruptcy Court in connection with the Chapter 11
Cases;

         28.      hear any other matter not inconsistent with the Bankruptcy Code; and

         29.      enforce all orders, judgments, injunctions, releases, exculpations, indemnifications, and rulings
entered in connection with the Chapter 11 Cases with respect to any Person or Entity, and resolve any cases,
controversies, suits, or disputes that may arise in connection with any Person or Entity’s rights arising from or
obligations incurred in connection with the Plan.

         Nothing herein limits the jurisdiction of the Bankruptcy Court to interpret and enforce the Plan and all
contracts, instruments, releases, indentures, and other agreements or documents created in connection with the Plan,
the Plan Supplement, or the Disclosure Statement, without regard to whether the controversy with respect to which
such interpretation or enforcement relates may be pending in any state or other federal court of competent jurisdiction.

          If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise without
jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases, including the matters set forth
in this Article XI, the provisions of this Article XI shall have no effect on and shall not control, limit, or prohibit the
exercise of jurisdiction by any other court having competent jurisdiction with respect to such matter.

         Unless otherwise specifically provided herein or in a prior Order of the Bankruptcy Court, the Bankruptcy
Court shall have exclusive jurisdiction to hear and determine disputes concerning Claims against or Interests in the
Debtors that arose prior to the Effective Date.

          As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the A&R Credit Facility
Documents shall be governed by the jurisdictional provisions therein and the Bankruptcy Court shall not retain any
jurisdiction with respect thereto.

                                                ARTICLE XII.
                                         MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
otherwise, upon the occurrence of the Effective Date, the terms of this Plan (including, for the avoidance of doubt, the
Plan Supplement) shall be immediately effective and enforceable and deemed binding upon the Debtors, the
Reorganized Debtors, and any and all Holders of Claims or Interests (irrespective of whether such Claims or Interests
are deemed to have accepted or rejected this Plan), all Entities that are parties to or are subject to the settlements,
compromises, releases, discharges, and injunctions described in this Plan or the Confirmation Order, each Entity
acquiring property under this Plan or the Confirmation Order, and any and all non-Debtor parties to Executory
Contracts and Unexpired Leases with the Debtors. All Claims and Interests shall be as fixed, adjusted, or
compromised, as applicable, pursuant to this Plan and the Confirmation Order, regardless of whether any such Holder
of a Claim or Interest has voted on this Plan.




                                                            48
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 140 of 154



B.       Waiver of Stay.

         The requirement under Bankruptcy Rule 3020(e) that an order confirming a plan is stayed until the expiration
of fourteen (14) days after entry of the order shall be waived by the Confirmation Order. The Confirmation Order
shall take effect immediately and shall not be stayed pursuant to the Bankruptcy Code, Bankruptcy Rules 3020(e),
6004(h), 6006(d), or 7062 or otherwise.

C.       Additional Documents.

          On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and other
documents as may be necessary to effectuate and further evidence the terms and conditions of this Plan or the
Confirmation Order. The Debtors, the Reorganized Debtors, the GUC Note Administrative Agent, or the GUC Note
Collateral Agent, as applicable, and all Holders of Claims receiving distributions pursuant to this Plan and all other
parties in interest, shall, from time to time, prepare, execute, and deliver any agreements or documents and take any
other actions as may be necessary or advisable to effectuate the provisions and intent of this Plan and the Confirmation
Order.

D.       Payment of Statutory Fees.

         All fees payable pursuant to section 1930(a) of the Judicial Code shall be paid by each of the Debtors or the
Reorganized Debtors (or the Distribution Agent on behalf of each of the Reorganized Debtors), as applicable, for each
quarter (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed, whichever
occurs first.

         The Debtors shall file all quarterly reports due prior to the Effective Date when they become due, in a form
reasonably acceptable to the U.S. Trustee. After the Effective Date, the Reorganized Debtors shall file with the
Bankruptcy Court quarterly reports in a form reasonably acceptable to the U.S. Trustee, which reports shall include a
separate schedule of disbursements made during the applicable period, attested to by the Reorganized Debtors. The
obligation to file quarterly reports shall continue until the earliest of the Debtors’ cases being closed, dismissed, or
converted to a case under Chapter 7 of the Bankruptcy Code.

E.       Statutory Committee and Cessation of Fee and Expense Payment.

          On the Effective Date, the Committee shall dissolve automatically and members thereof shall be released and
discharged from all rights and duties from or related to the Chapter 11 Cases, except with respect to (i) final fee
applications of the Professionals asserting Professional Fee Claims, including any appeals in connection therewith, or
(ii) for purposes of participating in any appeals of the Confirmation Order. The Reorganized Debtors shall no longer
be responsible for paying any fees or expenses incurred after the Effective Date by the members of or advisors to the
Committee, other than such fees and expenses incurred in connection with any appeals of the Confirmation Order.
Any reasonable and documented fees or expenses of the Committee or its advisors incurred between the Confirmation
Date and the Effective Date (or after the Effective Date with respect to any appeals of the Confirmation Order) shall
be paid by the Debtors or Reorganized Debtors, as applicable, without the necessity of the filing of a fee application
for such fees and expenses.

F.       Reservation of Rights.

         Except as expressly set forth in this Plan, this Plan shall have no force or effect unless the Bankruptcy Court
enters the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does not
occur. None of the Filing of this Plan, any statement or provision contained in this Plan, or the taking of any action
by any Debtor with respect to this Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor or any Entity unless and until the Effective Date occurs.




                                                          49
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 141 of 154



G.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in this Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

H.       Notices.

         To be effective, all notices, requests, and demands to or upon the Debtors to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been
duly given or made when actually delivered or, in the case of notice by facsimile transmission, when received and
telephonically confirmed, addressed as follows:

         1.         if to the Debtors or the Reorganized Debtors, to:
                    Zachry Holdings, Inc.
                    P.O. Box 240130
                    San Antonio, TX 78224
                    Attention: Jay Old

                    with copies (which shall not constitute notice) to:

                    White & Case LLP
                    609 Main Street, Suite 2900
                    Houston, Texas 77002
                    Attention: Charles R. Koster
                    Email:     charles.koster@whitecase.com

                    -and-

                    White & Case LLP
                    111 South Wacker Drive
                    Chicago, IL 60606
                    Attention: Bojan Guzina, Andrew F. O’Neill, William A. Guerrieri, Adam T. Swingle
                    Email:     bojan.guzina@whitecase.com;
                               aoneill@whitecase.com;
                               william.guerrieri@whitecase.com;
                               adam.swingle@whitecase.com

         2.         if to the Committee, to:
                    Jason Brookner
                    Gray Reed LLP
                    1300 Post Oak Blvd., Suite 2000
                    Houston, TX 77056
                    Attention: Jason S. Brookner
                    Email:      jbrookner@grayreed.com

                    -and-

                    Ehud Barak
                    Daniel Desatnik
                    Proskauer LLP
                    Eleven Times Square
                    New York, NY 10036-8299
                    Attention: Ehud Barak, Daniel Desatnik
                    Email:     ebarak@proskauer.com;
                               ddesatnik@proskauer.com


                                                            50
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 142 of 154




                  Paul V. Possinger
                  Proskauer LLP
                  Three First National Plaza
                  70 West Madison, Suite 3800
                  Chicago, IL 60602-4342
                  Attention: Paul V. Possinger
                  Email:     ppossinger@proskauer.com

         3.       if to the Prepetition Credit Facility Agent, to:
                  Bank of America, N.A.
                  Agency Management
                  900 W. Trade St.
                  Gateway Village – 900 Building
                  NC1-026-06-03
                  Charlotte, NC 28255
                  Attention: Dianna (Dottie) Benner

                  with copies (which shall not constitute notice) to:

                  McGuireWoods LLP
                  845 Texas Ave., 24th Floor
                  Houston, TX 77002
                  Attention: Demetra Liggins, Andrew C. Papa
                  Email:     dliggins@mcguirewoods.com;
                             apapa@mcguirewoods.com

                  -and-

                  McGuireWoods LLP
                  1251 Avenue of Americas, 20th Floor
                  New York, New York 10020-1104
                  Attention: Shawn R. Fox
                  Email:     sfox@mcguirewoods.com

         After the Effective Date, the Debtors have authority to send a notice to Entities receiving documents pursuant
to Bankruptcy Rule 2002 that such Entities must File a renewed request to receive documents pursuant to Bankruptcy
Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of Entities receiving documents
pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

I.       Term of Injunctions or Stays.

         Unless otherwise provided in this Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in this Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in this Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

J.       Entire Agreement.

         Except as otherwise indicated, and without limiting the effectiveness of this Plan (including, for the avoidance
of doubt, the Plan Supplement), the Confirmation Order supersedes all previous and contemporaneous negotiations,
promises, covenants, agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into this Plan, the Confirmation Order, the Plan Supplement, and the documents related thereto.




                                                           51
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 143 of 154



K.       Exhibits.

         All exhibits and documents included in this Plan, the Confirmation Order, and the Plan Supplement are
incorporated into and are a part of this Plan as if set forth in full in this Plan. After the exhibits and documents are
Filed, copies of such exhibits and documents shall be available upon written request to the Debtors’ counsel at the
address above or by downloading such exhibits and documents from the Debtors’ restructuring website at
www.veritaglobal.net/ZHI or the Bankruptcy Court’s website at http://www.txs.uscourts.gov/.

L.       Deemed Acts.

         Subject to and conditioned on the occurrence of the Effective Date, whenever an act or event is expressed
under this Plan to have been deemed done or to have occurred, it shall be deemed to have been done or to have
occurred without any further act by any party by virtue of this Plan and the Confirmation Order.

M.       Nonseverability of Plan Provisions.

          If, prior to Confirmation, any term or provision of this Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court, at the request of the Debtors, shall have the power to alter and interpret
such term or provision to make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of
the terms and provisions of this Plan will remain in full force and effect and will in no way be affected, impaired, or
invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of this Plan, as it may have been altered or interpreted
in accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to this Plan and may
not be deleted or modified without the Debtors’ or Reorganized Debtors’ consent, as applicable; and (3) non-severable
and mutually dependent.

N.       Votes Solicited in Good Faith.

          Upon entry of the Confirmation Order, each of the Released Parties and Exculpated Parties will be deemed
to have acted in “good faith” within the meaning of section 1125(e) of the Bankruptcy Code and in compliance with
the applicable provisions of the Bankruptcy Code and in a manner consistent with the Disclosure Statement, the Plan,
the Bankruptcy Code, the Bankruptcy Rules, and all other applicable rules, laws, and regulations in connection with
all of their respective activities relating to support and consummation of the Plan and are entitled to the protections of
section 1125(e) of the Bankruptcy Code and all other applicable protections and rights provided in the Plan. Without
limiting the generality of the foregoing, upon entry of the Confirmation Order, the Debtors will be deemed to have
solicited votes on this Plan in good faith and in compliance with the Bankruptcy Code and other applicable law.

O.       Request for Expedited Determination of Taxes.

         The Debtors and Reorganized Debtors shall have the right to request an expedited determination under
section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable periods
ending after the Petition Date through the Effective Date.

P.       Closing of Chapter 11 Cases.

         Upon the occurrence of the Effective Date, the Reorganized Debtors shall be permitted to (1) close all of the
Chapter 11 Cases except for one of the Chapter 11 Cases as determined by the Reorganized Debtors, and all contested
matters relating to each of the Debtors, including objections to Claims, and enforcement of this Plan shall be
administered and heard in such Chapter 11 Case and (2) change the name of the remaining Debtor and case caption
of the remaining open Chapter 11 Case as desired, in the Reorganized Debtors’ sole discretion.

          The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, including full
satisfaction of all obligations of the Reorganized Debtors under this Plan, File with the Bankruptcy Court all



                                                           52
     Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 144 of 154



documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter
11 Cases.

Q.       Waiver or Estoppel.

          Upon the Effective Date, each Holder of a Claim or Interest shall be deemed to have waived any right to
assert any argument, including the right to argue that its Claim or Interest should be Allowed in a certain amount, in
a certain priority, secured, or not subordinated by virtue of an agreement made with the Debtors or their counsel, or
any other Entity, if such agreement was not disclosed in this Plan, the Disclosure Statement, or papers Filed with the
Bankruptcy Court prior to the Confirmation Date.

R.       Creditor Default.

          An act or omission by a Holder of a Claim in contravention of the provisions of this Plan shall be deemed an
event of default under this Plan. Upon an event of default, the Reorganized Debtors may seek to hold the defaulting
party in contempt of the Confirmation Order and shall be entitled to reasonable attorneys’ fees and costs of the
Reorganized Debtors in remedying such default. Upon the finding of such a default by a creditor, the Bankruptcy
Court may: (a) designate a party to appear, sign and/or accept the documents required under the Plan on behalf of the
defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by order of specific performance;
(c) award judgment against such defaulting creditor in favor of the Reorganized Debtors in an amount, including
interest, to compensate the Reorganized Debtors for the damages caused by such default; and (d) make such other
order as may be equitable that does not materially alter the terms of this Plan.




                                   [Remainder of Page Intentionally Left Blank]




                                                         53
   Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 145 of 154



Dated: February 23, 2025                ZACHRY HOLDINGS, INC.
                                        (for itself and on behalf of each of the other Debtors
                                        and Debtors in Possession)

                                  By:   /s/ Mohsin Y. Meghji
                                        Name: Mohsin Y. Meghji
                                        Title: Chief Restructuring Officer
Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 146 of 154




                              Exhibit B

                         Exit ICA Term Sheet
    Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 147 of 154




                                   INTERCREDITOR AGREEMENT

                                   Summary of Terms and Conditions


         Reference is made to (i) that certain amended and restated credit agreement, to be entered into by
and among Zachry Holdings, Inc., a Delaware corporation (the “Company”), Zachry EPC Holdings, LLC,
a Texas limited liability company and Zachry Plant Services Holdings, Inc., a Texas corporation
(collectively, the “Borrowers” and, each individually, a “Borrower”), the Company, as holdings, the several
lenders from time to time parties thereto (the “First Lien Lenders”), Bank of America, N.A., as
administrative agent and collateral agent (the “First Lien Agent”) and each other party thereto, (ii) that
certain second lien secured promissory note(the “Sunbelt Note”) to be entered into by and among the
Company and Sunbelt Rentals, Inc. (the “Second Lien Holder”) and (iii) that certain third lien secured
promissory note (the “GUC Promissory Note”) to be entered into by and among the Company, Holders of
General Unsecured Claims (the “Third Lien Holders”) and the administrative agent under the GUC
Promissory Note (the “Third Lien Agent”). The relative rights of the First Lien Lenders, the Second Lien
Holder and the Third Lien Holders in the Loan Party Collateral (as defined in the A&R Credit Facility Term
Sheet) will be governed by an intercreditor agreement to be entered into by and between the First Lien
Agent, the Second Lien Holder and the Third Lien Agent on the terms set forth below and otherwise on
terms and conditions mutually agreed to by the First Lien Agent, the Second Lien Holder and the Third
Lien Agent. Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
Modified First Amended Joint Chapter 11 Plan of Reorganization of Zachry Holdings, Inc. and Its Debtor
Affiliates [Docket No. 1978].



 SUBORDINATION
 Priority of Liens:                      The priority of liens on the Collateral is in the following order:
                                             (1) Liens securing all obligations outstanding under the
                                                 A&R Credit Facility Documents, certain hedging
                                                 agreements or cash management agreements, and
                                                 documentation      (the    “Additional      First    Lien
                                                 Documentation”) with respect to any other indebtedness
                                                 issued or guaranteed by any Loan Party which are
                                                 secured by any or all of the Collateral on a basis that is
                                                 senior to the Second Lien Obligations (as defined
                                                 below), including all interest, fees, costs and expenses
                                                 accrued or accruing (or which would, absent
                                                 commencement of an insolvency proceeding, accrue)
                                                 after commencement of an insolvency proceeding (the
                                                 “First Lien Obligations”);
                                             (2) Liens securing all obligations outstanding under the
                                                 Sunbelt Note, including all interest, fees, costs and
                                                 expenses accrued or accruing (or which would, absent
                                                 commencement of an insolvency proceeding, accrue)
                                                 after commencement of an insolvency proceeding (the
                                                 “Second Lien Obligations”); and




150897447v9
   Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 148 of 154



                                 (3) Liens securing all obligations outstanding under the
                                     GUC Promissory Note, including all interest, fees, costs
                                     and expenses accrued or accruing (or which would,
                                     absent commencement of an insolvency proceeding,
                                     accrue) after commencement of an insolvency
                                     proceeding (the “Third Lien Obligations”).
                             There will be no cap on the maximum principal amount of loans
                             and commitments under the First Lien Documentation and
                             under the Additional First Lien Documentation. The amount of
                             Second Lien Obligations shall be capped at an amount to be
                             agreed between the Second Lien Holder and the Third Lien
                             Agent. The amount of Second Lien Obligations and Third Lien
                             Obligations shall be capped at an amount set forth in the A&R
                             Credit Facility Documents.

                             The Collateral granted to the First Lien Agent on behalf of the
                             First Lien Holders, the Second Lien Holder and the Third Lien
                             Agent on behalf of the Third Lien Holders shall not include any
                             assets that are not Collateral granted to each of such other
                             persons. No person shall guaranty any of the First Lien
                             Obligations, Second Lien Obligations or Third Lien Obligations
                             that is not a guarantor or borrower, as applicable, of the First
                             Lien Obligations, the Second Lien Obligations and the Third
                             Lien Obligations.

                             The priority of liens shall remain in full force and effect
                             irrespective of the time, manner, or order of the grant,
                             attachment, or perfection of a lien.


Application of Payments:     Until (a) the payment in full in cash of the principal of, interest
                             on (including postpetition interest, fees, expenses and costs),
                             and other outstanding amounts of First Lien Obligations,
                             termination of all commitments constituting First Lien
                             Obligations, termination/cash collateralization of all letters of
                             credits issued and constituting First Lien Obligations, and
                             termination/cash collateralization of any applicable hedging
                             agreements or cash management agreements (the “Discharge of
                             First Lien Obligations”), (b) the payment in full in cash of the
                             principal of, interest on (including postpetition interest, fees,
                             expenses and costs), and other outstanding amounts of Second
                             Lien Obligations (the “Discharge of Second Lien Obligations”)
                             and (c) the payment in full in cash of the principal of, interest
                             on (including postpetition interest, fees, expenses and costs),
                             and other outstanding amounts of Third Lien Obligations (the
                             “Discharge of Third Lien Obligations”), Collateral, proceeds or
                             other distributions with respect to the Collateral received in
                             connection with an enforcement action as a secured creditor




                                       II-2
   Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 149 of 154



                             pertaining to the Collateral (an “Enforcement Action”) or an
                             insolvency proceeding will be applied:
                                 (a) first, to the First Lien Obligations (including permanent
                                     reduction of Exit Revolving Commitments under the
                                     Exit Revolving Facility);
                                 (b) second, upon the Discharge of First Lien Obligations, to
                                     the Second Lien Obligations;
                                 (c) third, upon the Discharge of First Lien Obligations and
                                     the Discharge of Second Lien Obligations, to the Third
                                     Lien Obligations; and
                                 (d) fourth, upon the Discharge of First Lien Obligations, the
                                     Discharge of Second Lien Obligations and the
                                     Discharge of Third Lien Obligations, to the applicable
                                     ZHI Entity Guarantor (as defined in the A&R Credit
                                     Facility Term Sheet) or as otherwise required by law.
Payment Turnover:            Until the Discharge of First Lien Obligations has occurred,
                             Collateral or proceeds thereof received by either (i) an agent or
                             trustee with respect to the Second Lien Obligations or any other
                             holders of the Second Lien Obligations (a “Second Lien
                             Claimholder”) or (ii) an agent or trustee with respect to the Third
                             Lien Obligations or any other holders of the Third Lien
                             Obligations (a “Third Lien Claimholder”), in each case in
                             connection with an Enforcement Action, otherwise in
                             contravention of the Intercreditor Agreement, or in connection
                             with an insolvency proceeding will be paid over to a designated
                             First Lien Claimholder (as defined below).
                             Following the Discharge of First Lien Obligations and until the
                             Discharge of Second Lien Obligations, Collateral or proceeds
                             thereof received by an agent or trustee with respect to First Lien
                             Obligations or the Third Lien Obligations or any other holders
                             of the First Lien Obligations (a “First Lien Claimholder”) or any
                             Third Lien Claimholder in connection with an Enforcement
                             Action, otherwise in contravention of the Intercreditor
                             Agreement, or in connection with an insolvency proceeding will
                             be paid over to a designated Second Lien Claimholder.
                             Following the Discharge of First Lien Obligations and the
                             Discharge of Second Lien Obligations and until the Discharge
                             of Third Lien Obligations, Collateral or proceeds thereof
                             received by an agent or trustee with respect to the First Lien
                             Obligations or the Second Lien Obligations or any First Lien
                             Claimholder or Second Lien Claimholders in connection with
                             an Enforcement Action, otherwise in contravention of the
                             Intercreditor Agreement, or in connection with an insolvency
                             proceeding will be paid over to a designated Third Lien
                             Claimholder.


                                       II-3
   Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 150 of 154



Standstill Period:           Second Lien Claimholders may commence an Enforcement
                             Action with respect to the Collateral or otherwise exercise rights
                             under applicable law if (a) the Discharge of First Lien
                             Obligations has occurred, or (b) a 180 day standstill period has
                             elapsed, and no First Lien Claimholder is then diligently pursing
                             an Enforcement Action against any Collateral or diligently
                             attempting to vacate any stay against such exercise, or any Loan
                             Party is subject of an insolvency proceeding; provided that the
                             Second Lien Holder shall give the First Lien Agent at least 15
                             days prior written notice prior to taking any Enforcement Action
                             (which notice may be given during the standstill period). The
                             standstill period may be triggered by the Second Lien
                             Claimholders providing written notice to a designated
                             representative of the First Lien Claimholders upon (i) any
                             payment default under the First Lien Documentation (as in
                             effect on the effective date thereof or from time to time and
                             irrespective of any waiver thereof), (ii) any payment default
                             under the Second Lien Documentation or (iii) a breach of the
                             restricted payments covenant under the Second Lien
                             Documentation. Notwithstanding the foregoing, Second Lien
                             Claimholders shall have all rights as an unsecured creditor and
                             may exercise all rights and remedies available thereto to the
                             extent not specifically waived, provided, that if any Second Lien
                             Claimholder becomes a judgment lien creditor in respect of
                             Collateral as a result of enforcement thereof, such judgment lien
                             shall be subordinated to liens securing First Lien Obligations.
                             Third Lien Claimholders may commence an Enforcement
                             Action with respect to the Collateral or otherwise exercise rights
                             under applicable law if (a) the Discharge of First Lien
                             Obligations and Discharge of Second Lien Obligations has
                             occurred, or (b) a 270 day standstill period (or, after the
                             Discharge of First Lien Obligations, a 90-day standstill period)
                             and no First Lien Claimholder or Second Lien Claimholder is
                             then diligently pursing an Enforcement Action against any
                             Collateral or diligently attempting to vacate any stay against
                             such exercise, or any Loan Party is subject of an insolvency
                             proceeding. The standstill period may be triggered by the Third
                             Lien Claimholders providing written notice to a designated
                             representative of the First Lien Claimholders and Second Lien
                             Claimholders upon (i) any payment default under the First Lien
                             Documentation (as in effect on the effective date thereof or from
                             time to time and irrespective of any waiver thereof), (ii) any
                             payment default under the Third Lien Documentation or (iii) a
                             breach of the restricted payments covenant under the Third Lien
                             Documentation. Notwithstanding the foregoing, Third Lien
                             Claimholders shall have all rights as an unsecured creditor and
                             may exercise all rights and remedies available thereto to the
                             extent not specifically waived, provided, that if any Third Lien
                             Claimholder becomes a judgment lien creditor in respect of
                             Collateral as a result of enforcement thereof, such judgment lien

                                       II-4
   Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 151 of 154



                             shall be subordinated to liens securing First Lien Obligations
                             and Second Lien Obligations.
Release of Liens:            If in connection with (1) a First Lien Claimholder’s
                             Enforcement Action in respect of the Collateral or (2) a
                             disposition of Collateral not prohibited by the terms of the First
                             Lien Documentation from time to time in effect, the First Lien
                             Claimholders release any liens on any part of the Collateral or
                             release any Guarantor from its obligations under its guaranty of
                             the First Lien Obligations, then the liens of the Second Lien
                             Claimholders and the Third Lien Claimholders on such
                             Collateral and the obligations of such Guarantor under its
                             guaranty of the Second Lien Obligations and the Third Lien
                             Obligations, shall in each case be automatically released to the
                             same extent as the liens of such First Lien Claimholders, or the
                             obligations of such Guarantor under its guaranty of the First
                             Lien Obligations, as applicable, are released (but shall apply to
                             any remaining proceeds of such disposition of Collateral that are
                             not otherwise utilized to repay the First Lien Obligations).

                             If in connection with (1) a Second Lien Claimholder’s
                             Enforcement Action in respect of the Collateral or (2) a
                             disposition of Collateral not prohibited by the terms of the First
                             Lien Documentation, not prohibited by the terms of the Second
                             Lien Documentation and not prohibited by the terms of the Third
                             Lien Documentation, the Second Lien Claimholders release any
                             liens on any part of the Collateral or release any Guarantor from
                             its obligations under its guaranty of the Second Lien
                             Obligations, then the liens of the Third Lien Claimholders on
                             such Collateral and the obligations of such Guarantor under its
                             guaranty of the Third Lien Obligations, shall in each case be
                             automatically released to the same extent as the liens of such
                             Second Lien Claimholders, or the obligations of such Guarantor
                             under its guaranty of the Second Lien Obligations, as applicable,
                             are released (but shall apply to any remaining proceeds of such
                             disposition of Collateral that are not otherwise utilized to repay
                             the Second Lien Obligations).

                             The First Lien Agent and the First Lien Claimholders shall have
                             the sole and exclusive right, subject to the rights of Grantors
                             under the First Lien Documents, to adjust and settle any claim
                             under any insurance policy covering the Collateral in the event
                             of any loss thereunder and to approve any award granted in any
                             condemnation or similar proceeding (or any deed in lieu of
                             condemnation) affecting the Collateral. All proceeds of any
                             such insurance policy and any such award (or any payments with
                             respect to a deed in lieu of condemnation) shall be paid, subject
                             to the rights of Grantors under the First Lien Documents and the
                             Second Lien Documents, first to the First Lien Claimholders,
                             then to Second Lien Claimholders and finally to the Third Lien


                                       II-5
   Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 152 of 154



                                   Claimholders in accordance with the priorities set forth herein,
                                   or as a court of competent jurisdiction may otherwise direct.



INSOLVENCY PROCEEDINGS
DIP Financing / Cash Collateral:   Until the Discharge of First Lien Obligations, the Second Lien
                                   Claimholders and the Third Lien Claimholders will not contest
                                   any debtor-in-possession financing (“DIP Financing”) or the use
                                   of cash collateral if the designated First Lien Claimholder
                                   consents thereto; provided that (i) the aggregate principal
                                   amount of such DIP Financing, together with the aggregate
                                   outstanding First Lien Obligations (including any roll-up), does
                                   not exceed the DIP Cap, (ii) such DIP Financing or cash
                                   collateral order (A) does not compel any Grantor to seek
                                   confirmation of a specific plan of reorganization for which all
                                   or substantially all of the material terms are set forth in such DIP
                                   Financing documentation or the DIP Financing order or
                                   (B) does not require the sale or other liquidation of a material
                                   portion of the Collateral prior to a default under such DIP
                                   Financing documentation or cash collateral order (but may
                                   include sale or plan milestones providing for the sale or
                                   reorganization of each Grantor’s business as a going concern
                                   that are intended to cause the applicable Grantor to consummate
                                   such sale or reorganization as soon as practicable after the
                                   commencement of an insolvency proceeding), and (iii) the liens
                                   securing such DIP Financing shall be senior to or pari passu with
                                   the liens of the First Lien Claimholder on the Collateral securing
                                   the then outstanding First Lien Obligations (collectively, the
                                   “DIP Financing Conditions”).
                                   “DIP Cap” shall mean 130% of the aggregate principal amount
                                   of First Lien Obligations outstanding at any time.
Sale of Collateral:                Second Lien Claimholders and Third Lien Claimholders will not
                                   object in such capacities, and will be deemed to have consented
                                   to a 363 sale of Collateral to which the designated First Lien
                                   Claimholder consents in writing if (a) the liens of the Second
                                   Lien Claimholders attach to the net proceeds with the same
                                   priority as their liens on the Collateral which liens are subject to
                                   the Intercreditor Agreement, (b) the liens of the Third Lien
                                   Claimholders attach to the net proceeds with the same priority
                                   as their liens on the Collateral which liens are subject to the
                                   Intercreditor Agreement and (c) the net proceeds are distributed
                                   in accordance with the application of payments under the
                                   Intercreditor Agreement; provided that the Second Lien
                                   Claimholders and the Third Lien Claim Holders will not be
                                   limited from exercising rights available to general unsecured
                                   creditors to object to such a proposed sale of Collateral. The
                                   Second Lien Claimholders and the Third Lien Claimholders will


                                             II-6
   Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 153 of 154



                             not object in such capacities to the right of the First Lien
                             Claimholders to credit bid First Lien Obligations.
Adequate Protection:         Second Lien Claimholders and Third Lien Claimholders shall
                             not contest any request by the First Lien Claimholders for
                             adequate protection, postpetition interest or relief from the
                             automatic stay.
                             To the extent that adequate protection is requested by and
                             granted to the First Lien Claimholders in the form of payment
                             of postpetition interest as adequate protection, additional or
                             replacement liens or superpriority claims, the Second Lien
                             Claimholders and Third Lien Claimholders may also seek
                             payment of postpetition interest as adequate protection,
                             additional or replacement liens or superpriority claims; provided
                             that (i) if the Second Lien Claimholders receive adequate
                             protection in the form of additional or replacement liens or
                             superpriority claims, such liens and claims will be subordinate
                             to the liens and claims of the First Lien Claimholders, (ii) if the
                             Third Lien Claimholders receive adequate protection in the form
                             of additional or replacement liens or superpriority liens, such
                             liens and claims will subordinate to the liens and claims of the
                             First Lien Claimholders and the Second Lien Claimholders, (iii)
                             the Second Lien Claimholders may seek the payment of
                             postpetition interest as adequate protection subject to the First
                             Lien Claimholders’ right to object to the reasonableness of such
                             payments and (iv) the Third Lien Claimholders may seek the
                             payment of postpetition interest as adequate protection subject
                             to the First Lien Claimholders’ and the Second Lien
                             Claimholders’ right to object to the reasonableness of such
                             payments.

Waiver of Claims:            Second Lien Claimholders and Third Lien Claimholders waive
                             any right to assert or enforce any claim under section 506(c) or
                             552 of the Bankruptcy Code as against any First Lien
                             Claimholders or any of the Collateral.
                             Third Lien Claimholders waive any right to assert or enforce any
                             claim under section 506(c) or 552 of the Bankruptcy Code as
                             against any Second Lien Claimholders or any of the Collateral.
Plan Voting:                 Second Lien Claimholders and Third Lien Claimholders shall
                             have the right to vote any claim in any insolvency proceeding;
                             provided, the Second Lien Claimholders and the Third Lien
                             Claimholders in such capacities shall not vote in favor of any
                             chapter 11 plan that is in violation of the Intercreditor
                             Agreement.

OTHER PROVISIONS
Purchase Rights:             None.



                                       II-7
   Case 24-90377 Document 2425 Filed in TXSB on 02/26/25 Page 154 of 154




Amendment of Loan Documents:   The First Lien Claimholders have consent rights with respect to
                               amendments to Second Lien Documentation that (i) are in
                               violation of the Intercreditor Agreement, (ii) restrict the
                               Borrowers’ ability to make required payments with respect to
                               the First Lien Obligations, or (iii) shortens the maturity or
                               weighted average life to maturity of the Second Lien
                               Obligations, require that any payment on the Second Lien
                               Obligations be made earlier than originally scheduled or add or
                               make more restrictive any mandatory payment, prepayment,
                               redemption, repurchase, sinking fund or similar requirement
                               except for periods beyond the latest maturity date under the First
                               Lien Documentation.

                               The First Lien Claimholders have consent rights with respect to
                               amendments to Third Lien Documentation that (i) are in
                               violation of the Intercreditor Agreement, (ii) restrict the
                               Borrowers’ ability to make required payments with respect to
                               the First Lien Obligations, or (iii) shortens the maturity or
                               weighted average life to maturity of the Third Lien Obligations,
                               require that any payment on the Third Lien Obligations be made
                               earlier than originally scheduled or add or make more restrictive
                               any mandatory payment, prepayment, redemption, repurchase,
                               sinking fund or similar requirement except for periods beyond
                               the latest maturity date under the First Lien Documentation.

                               The Second Lien Claimholders have consent rights with respect
                               to amendments to First Lien Documentation that are in violation
                               of the Intercreditor Agreement.

                               The Third Lien Claimholders have consent rights with respect
                               to amendments to First Lien Documentation and Second Lien
                               Documentation that are in violation with the Intercreditor
                               Agreement.




                                         II-8
